Case 2:20-cv-09091-PA-AS Document 174-2 Filed 10/26/21 Page 1 of 139 Page ID
                                  #:8735




      TRIAL EXHIBIT NO. 333
                   Case 2:20-cv-09091-PA-AS Document 174-2 Filed 10/26/21 Page 2 of 139 Page ID
                                                     #:8736

Global Format; No Form Number
Approved for use through 10/31/2021. OMB 0651-0050
U.S. Patent and Trademark Office; U.S. DEPARTMENT OF COMMERCE
Under the Paperwork Reduction Act of 1995, no persons are required to respond to a collection of information unless it contains a valid OMB control number


                                                                    Surrender of Registration for Cancellation


                                                                               The table below presents the data as entered.

                                         Input Field                                                                                                         Entered
 SERIAL NUMBER                                                                                           86593949
 REGISTRATION NUMBER                                                                                     4858655
 MARK SECTION
 MARK                                                                                                    https://tmng-al.uspto.gov/resting2/api/img/86593949/large
 LITERAL ELEMENT                                                                                         DON'T JUST SURVIVE...THRIVE
 STANDARD CHARACTERS                                                                                     YES
 USPTO-GENERATED IMAGE                                                                                   YES
                                                                                                         The mark consists of standard characters, without claim to any particular font style,
 MARK STATEMENT
                                                                                                         size or color.
 FORM TEXT
 Registrant i25x, LLC, having an address at 625 Bakers Bridge Avenue Franklin Tennessee US 37067, hereby surrenders Registration No. 4,858,655 for DON'T JUST
 SURVIVE...THRIVE in its entirety for all classes.

 Correspondent for Registrant, Jacob W Neu, may be contacted at 615-252-4639, by email at jneu@bradley.com, or by mail at 1600 Division Street, Suite 700, Nashville, TN
 37205.

 OWNER SECTION (Current)
 NAME                                                                                                    i25x, LLC

 INTERNAL ADDRESS                                                                                        Suite 105

 MAILING ADDRESS                                                                                         625 Bakers Bridge

 CITY                                                                                                    Franklin

 STATE                                                                                                   Tennessee

 COUNTRY/REGION/JURISDICTION/U.S. TERRITORY                                                              United States

 ZIP/POSTAL CODE                                                                                         37067

 EMAIL                                                                                                   XXXX

 OWNER SECTION (Proposed)
 NAME                                                                                                    i25x, LLC

 INTERNAL ADDRESS                                                                                        Suite 105

 MAILING ADDRESS                                                                                         625 Bakers Bridge

 CITY                                                                                                    Franklin

 STATE                                                                                                   Tennessee

 COUNTRY/REGION/JURISDICTION/U.S. TERRITORY                                                              United States

 ZIP/POSTAL CODE                                                                                         37067

 EMAIL                                                                                                   XXXX

 ATTORNEY INFORMATION (current)
 NAME                                                                                                    Jacob W Neu




                                                                                                                                                                       TNC00933
             Case 2:20-cv-09091-PA-AS Document 174-2 Filed 10/26/21 Page 3 of 139 Page ID
                                               #:8737
'                                                   '
    ATTORNEY BAR MEMBERSHIP NUMBER                      XXX
    YEAR OF ADMISSION                                   XXXX
    U.S. STATE/ COMMONWEALTH/ TERRITORY                 XX
    FIRM NAME                                           Bradley Arant Boult Cummings Llp
    INTERNAL ADDRESS                                    1600 Division Street
    STREET                                              Suite 700
    CITY                                                Nashville
    STATE                                               Tennessee
    POSTAL CODE                                         37203
    COUNTRY/REGION/JURISDICTION/U.S. TERRITORY          United States
    PHONE                                               6152524639
    FAX                                                 6152524707
    EMAIL                                               nashvilleipdocketing@bradley.com
    DOCKET/REFERENCE NUMBER                             206446301008
    ATTORNEY INFORMATION (proposed)
    NAME                                                Jacob W Neu
    ATTORNEY BAR MEMBERSHIP NUMBER                      XXX
    YEAR OF ADMISSION                                   XXXX
    U.S. STATE/ COMMONWEALTH/ TERRITORY                 XX
    FIRM NAME                                           Bradley Arant Boult Cummings Llp
    INTERNAL ADDRESS                                    1600 Division Street
    STREET                                              Suite 700
    CITY                                                Nashville
    STATE                                               Tennessee
    POSTAL CODE                                         37203
    COUNTRY/REGION/JURISDICTION/U.S. TERRITORY          United States
    PHONE                                               6152524639
    FAX                                                 6152524707
    EMAIL                                               nashvilleipdocketing@bradley.com
    DOCKET/REFERENCE NUMBER                             206446301008
    CORRESPONDENCE INFORMATION (current)
    NAME                                                Jacob W Neu
    PRIMARY EMAIL ADDRESS FOR CORRESPONDENCE            nashvilleipdocketing@bradley.com
    SECONDARY EMAIL ADDRESS(ES) (COURTESY COPIES)       jneu@bradley.com
    DOCKET/REFERENCE NUMBER                             206446301008
    CORRESPONDENCE INFORMATION (proposed)
    NAME                                                Jacob W Neu
                                                    I


                                                                                           TNC00934
                   Case 2:20-cv-09091-PA-AS Document 174-2 Filed 10/26/21 Page 4 of 139 Page ID
                                                     #:8738

 PRIMARY EMAIL ADDRESS FOR CORRESPONDENCE                                                                nashvilleipdocketing@bradley.com
 SECONDARY EMAIL ADDRESS(ES) (COURTESY COPIES)                                                           jneu@bradley.com
 DOCKET/REFERENCE NUMBER                                                                                 206446301008
 SIGNATURE SECTION
 SUBMISSION SIGNATURE                                                                                    /jacobwneu/
 SIGNATORY'S NAME                                                                                        Jacob W Neu
 SIGNATORY'S POSITION                                                                                    Attorney of Record, Tennessee bar member
 SIGNATORY'S PHONE NUMBER                                                                                6152524639
 DATE SIGNED                                                                                             02/24/2021
 ROLE OF AUTHORIZED SIGNATORY                                                                            Authorized U.S.-Licensed Attorney
 SIGNATURE METHOD                                                                                        Signed directly within the form
 FILING INFORMATION SECTION
 SUBMIT DATE                                                                                             Wed Feb 24 14:51:50 ET 2021
                                                                                                         USPTO/S7S-XXXX:XXXX:XXXX:
                                                                                                         XXXX:XX:XXXX:XXX:XXXX-202
 TEAS STAMP                                                                                              10224145150182639-4858655
                                                                                                         -20210224144940141170-N/A
                                                                                                         -N/A-20210224144940141170




Global Format; No Form Number
Approved for use through 10/31/2021. OMB 0651-0050
U.S. Patent and Trademark Office; U.S. DEPARTMENT OF COMMERCE
Under the Paperwork Reduction Act of 1995, no persons are required to respond to a collection of information unless it contains a valid OMB control number




                                Surrender of Registration for Cancellation
To the Commissioner for Trademarks:



The following is submitted for registration number: 4858655

FORM TEXT:

Registrant i25x, LLC, having an address at 625 Bakers Bridge Avenue Franklin Tennessee US 37067, hereby surrenders Registration No. 4,858,655 for DON'T JUST
SURVIVE...THRIVE in its entirety for all classes.

Correspondent for Registrant, Jacob W Neu, may be contacted at 615-252-4639, by email at jneu@bradley.com, or by mail at 1600 Division Street, Suite 700, Nashville, TN
37205.



The owner proposes to amend the following:
Current: i25x, LLC, having an address of
   Suite 105
   625 Bakers Bridge
   Franklin, Tennessee 37067
   United States
   Email Address: XXXX

Proposed: i25x, LLC, having an address of
   Suite 105
   625 Bakers Bridge




                                                                                                                                                             TNC00935
          Case 2:20-cv-09091-PA-AS Document 174-2 Filed 10/26/21 Page 5 of 139 Page ID
                                            #:8739

   Franklin, Tennessee 37067
   United States
   Email Address: XXXX

The owner's/holder's current attorney information: Jacob W Neu. Jacob W Neu of Bradley Arant Boult Cummings Llp, is a member of the XX
bar, admitted to the bar in XXXX, bar membership no. XXX, is located at

   1600 Division Street
   Suite 700
   Nashville, Tennessee 37203
   United States
The docket/reference number is 206446301008.

The phone number is 6152524639.

The fax number is 6152524707.

The email address is nashvilleipdocketing@bradley.com

The owner's/holder's proposed attorney information: Jacob W Neu. Jacob W Neu of Bradley Arant Boult Cummings Llp, is a member of the XX
bar, admitted to the bar in XXXX, bar membership no. XXX, is located at

   1600 Division Street
   Suite 700
   Nashville, Tennessee 37203
   United States
The docket/reference number is 206446301008.

The phone number is 6152524639.

The fax number is 6152524707.

The email address is nashvilleipdocketing@bradley.com

Correspondence Information (current):
   Jacob W Neu
   PRIMARY EMAIL FOR CORRESPONDENCE: nashvilleipdocketing@bradley.com
   SECONDARY EMAIL ADDRESS(ES) (COURTESY COPIES): jneu@bradley.com

The docket/reference number is 206446301008.

Correspondence Information (proposed):
   Jacob W Neu
   PRIMARY EMAIL FOR CORRESPONDENCE: nashvilleipdocketing@bradley.com
   SECONDARY EMAIL ADDRESS(ES) (COURTESY COPIES): jneu@bradley.com

The docket/reference number is 206446301008.

Requirement for Email and Electronic Filing: I understand that a valid email address must be maintained by the applicant owner/holder and
the applicant owner's/holder's attorney, if appointed, and that all official trademark correspondence must be submitted via the Trademark
Electronic Application System (TEAS).

SIGNATURE(S)
Submission Signature
Signature: /jacobwneu/ Date: 02/24/2021
Signatory's Name: Jacob W Neu
Signatory's Position: Attorney of Record, Tennessee bar member
Signatory's Phone Number: 6152524639
Signature method: Signed directly within the form

The signatory has confirmed that he/she is a U.S.-licensed attorney who is an active member in good standing of the bar of the highest court of a




                                                                                                                        TNC00936
           Case 2:20-cv-09091-PA-AS Document 174-2 Filed 10/26/21 Page 6 of 139 Page ID
                                             #:8740

U.S. state (including the District of Columbia and any U.S. Commonwealth or territory); and he/she is currently the owner's/holder's attorney or
an associate thereof; and to the best of his/her knowledge, if prior to his/her appointment another U.S.-licensed attorney not currently associated
with his/her company/firm previously represented the owner/holder in this matter: the owner/holder has revoked their power of attorney by a
signed revocation or substitute power of attorney with the USPTO; the USPTO has granted that attorney's withdrawal request; the owner/holder
has filed a power of attorney appointing him/her in this matter; or the owner's/holder's appointed U.S.-licensed attorney has filed a power of
attorney appointing him/her as an associate attorney in this matter.

Mailing Address: Jacob W Neu
 Bradley Arant Boult Cummings Llp
 1600 Division Street
 Suite 700
 Nashville, Tennessee 37203
Mailing Address: Jacob W Neu
 Bradley Arant Boult Cummings Llp
 1600 Division Street
 Suite 700
 Nashville, Tennessee 37203

Serial Number: 86593949
Internet Transmission Date: Wed Feb 24 14:51:50 ET 2021
TEAS Stamp: USPTO/S7S-XXXX:XXXX:XXXX:XXXX:XX:XXXX:XX
X:XXXX-20210224145150182639-4858655-2021
0224144940141170-N/A-N/A-202102241449401
41170




                                                                                                                          TNC00937
Case 2:20-cv-09091-PA-AS Document 174-2 Filed 10/26/21 Page 7 of 139 Page ID
                                  #:8741




      TRIAL EXHIBIT NO. 334
                   Case 2:20-cv-09091-PA-AS Document 174-2 Filed 10/26/21 Page 8 of 139 Page ID
                                                     #:8742

Global Format; No Form Number
Approved for use through 10/31/2021. OMB 0651-0050
U.S. Patent and Trademark Office; U.S. DEPARTMENT OF COMMERCE
Under the Paperwork Reduction Act of 1995, no persons are required to respond to a collection of information unless it contains a valid OMB control number


                                                                    Surrender of Registration for Cancellation


                                                                               The table below presents the data as entered.

                                         Input Field                                                                                                         Entered
 SERIAL NUMBER                                                                                           85593865
 REGISTRATION NUMBER                                                                                     4841662
 MARK SECTION
 MARK                                                                                                    https://tmng-al.uspto.gov/resting2/api/img/85593865/large
 LITERAL ELEMENT                                                                                         ENTHRIVE
 STANDARD CHARACTERS                                                                                     YES
 USPTO-GENERATED IMAGE                                                                                   YES
                                                                                                         The mark consists of standard characters, without claim to any particular font style,
 MARK STATEMENT
                                                                                                         size or color.
 FORM TEXT
 1) Hatchbeauty Agency, LLC, the owner of U.S. Trademark Registration no. 4,841,662 for ENTHRIVE, voluntarily surrenders this registration in its
 entirety.

 2) The current contact information for the correspondent is: Stacie K. Smith, Fennemore Craig, P.C., 2394 East Camelback Road, Suite 600,
 Phoenix, Arizona 85016-3429; telephone number: 602-916-5451; and email: ip@fclaw.com.


 OWNER SECTION (Current)
 NAME                                                                                                    Hatchbeauty Agency, LLC

 MAILING ADDRESS                                                                                         10951 Pico Boulevard, Suite 300

 CITY                                                                                                    Los Angeles

 STATE                                                                                                   California

 COUNTRY/REGION/JURISDICTION/U.S. TERRITORY                                                              United States

 ZIP/POSTAL CODE                                                                                         90064

 PHONE                                                                                                   3103967070

 FAX                                                                                                     3103963610

 EMAIL                                                                                                   XXXX

 OWNER SECTION (Proposed)
 NAME                                                                                                    Hatchbeauty Agency, LLC

 MAILING ADDRESS                                                                                         10951 Pico Boulevard, Suite 300

 CITY                                                                                                    Los Angeles

 STATE                                                                                                   California

 COUNTRY/REGION/JURISDICTION/U.S. TERRITORY                                                              United States

 ZIP/POSTAL CODE                                                                                         90064

 EMAIL                                                                                                   XXXX

 ATTORNEY INFORMATION (current)




                                                                                                                                                                       TNC00943
         Case 2:20-cv-09091-PA-AS Document 174-2 Filed 10/26/21 Page 9 of 139 Page ID
                                           #:8743

NAME                                                Stacie K. Smith
ATTORNEY BAR MEMBERSHIP NUMBER                      XXX
YEAR OF ADMISSION                                   XXXX
U.S. STATE/ COMMONWEALTH/ TERRITORY                 XX
FIRM NAME                                           Fennemore Craig, P.C.
INTERNAL ADDRESS                                    Suite 600
STREET                                              2394 East Camelback Road
CITY                                                Phoenix
STATE                                               Arizona
POSTAL CODE                                         85016-3429
COUNTRY/REGION/JURISDICTION/U.S. TERRITORY          United States
PHONE                                               602-916-5451
FAX                                                 602-916-5651
EMAIL                                               ip@fclaw.com
DOCKET/REFERENCE NUMBER                             045793.0014
ATTORNEY INFORMATION (proposed)
NAME                                                Stacie K. Smith
ATTORNEY BAR MEMBERSHIP NUMBER                      XXX
YEAR OF ADMISSION                                   XXXX
U.S. STATE/ COMMONWEALTH/ TERRITORY                 XX
FIRM NAME                                           Fennemore Craig, P.C.
INTERNAL ADDRESS                                    Suite 600
STREET                                              2394 East Camelback Road
CITY                                                Phoenix
STATE                                               Arizona
POSTAL CODE                                         85016-3429
COUNTRY/REGION/JURISDICTION/U.S. TERRITORY          United States
PHONE                                               602-916-5451
FAX                                                 602-916-5651
EMAIL                                               ip@fclaw.com
DOCKET/REFERENCE NUMBER                             045793.0014
CORRESPONDENCE INFORMATION (current)
NAME                                                Stacie K. Smith
PRIMARY EMAIL ADDRESS FOR CORRESPONDENCE            ip@fclaw.com
SECONDARY EMAIL ADDRESS(ES) (COURTESY COPIES)       NOT PROVIDED
DOCKET/REFERENCE NUMBER                             045793.0014
CORRESPONDENCE INFORMATION (proposed)
                                                I


                                                                               TNC00944
                 Case 2:20-cv-09091-PA-AS Document 174-2 Filed 10/26/21 Page 10 of 139 Page ID
                                                    #:8744

 NAME                                                                                                    Stacie K. Smith
 PRIMARY EMAIL ADDRESS FOR CORRESPONDENCE                                                                ip@fclaw.com
 SECONDARY EMAIL ADDRESS(ES) (COURTESY COPIES)                                                           NOT PROVIDED
 DOCKET/REFERENCE NUMBER                                                                                 045793.0014
 SIGNATURE SECTION
 SUBMISSION SIGNATURE                                                                                    /Stacie K Smith/
 SIGNATORY'S NAME                                                                                        Stacie K. Smith
 SIGNATORY'S POSITION                                                                                    Attorney of record, Arizona bar member
 SIGNATORY'S PHONE NUMBER                                                                                602-916-5451
 DATE SIGNED                                                                                             01/22/2021
 ROLE OF AUTHORIZED SIGNATORY                                                                            Authorized U.S.-Licensed Attorney
 SIGNATURE METHOD                                                                                        Sent to third party for signature
 FILING INFORMATION SECTION
 SUBMIT DATE                                                                                             Fri Jan 22 14:38:01 ET 2021
                                                                                                         USPTO/S7S-XX.XXX.XX.XXX-2
                                                                                                         0210122143801874540-48416
 TEAS STAMP                                                                                              62-20210122133823951900-N
                                                                                                         /A-N/A-202101221338239519
                                                                                                         00




Global Format; No Form Number
Approved for use through 10/31/2021. OMB 0651-0050
U.S. Patent and Trademark Office; U.S. DEPARTMENT OF COMMERCE
Under the Paperwork Reduction Act of 1995, no persons are required to respond to a collection of information unless it contains a valid OMB control number




                                Surrender of Registration for Cancellation
To the Commissioner for Trademarks:



The following is submitted for registration number: 4841662

FORM TEXT:


1) Hatchbeauty Agency, LLC, the owner of U.S. Trademark Registration no. 4,841,662 for ENTHRIVE, voluntarily surrenders this registration in its
entirety.

2) The current contact information for the correspondent is: Stacie K. Smith, Fennemore Craig, P.C., 2394 East Camelback Road, Suite 600, Phoenix,
Arizona 85016-3429; telephone number: 602-916-5451; and email: ip@fclaw.com.




The owner proposes to amend the following:
Current: Hatchbeauty Agency, LLC, having an address of
   10951 Pico Boulevard, Suite 300
   Los Angeles, California 90064
   United States
   Phone: 3103967070




                                                                                                                                                             TNC00945
         Case 2:20-cv-09091-PA-AS Document 174-2 Filed 10/26/21 Page 11 of 139 Page ID
                                            #:8745

   Fax: 3103963610
   Email Address: XXXX

Proposed: Hatchbeauty Agency, LLC, having an address of
   10951 Pico Boulevard, Suite 300
   Los Angeles, California 90064
   United States
   Email Address: XXXX

The owner's/holder's current attorney information: Stacie K. Smith. Stacie K. Smith of Fennemore Craig, P.C., is a member of the XX bar,
admitted to the bar in XXXX, bar membership no. XXX, is located at

   Suite 600
   2394 East Camelback Road
   Phoenix, Arizona 85016-3429
   United States
The docket/reference number is 045793.0014.

The phone number is 602-916-5451.

The fax number is 602-916-5651.

The email address is ip@fclaw.com

The owner's/holder's proposed attorney information: Stacie K. Smith. Stacie K. Smith of Fennemore Craig, P.C., is a member of the XX bar,
admitted to the bar in XXXX, bar membership no. XXX, is located at

   Suite 600
   2394 East Camelback Road
   Phoenix, Arizona 85016-3429
   United States
The docket/reference number is 045793.0014.

The phone number is 602-916-5451.

The fax number is 602-916-5651.

The email address is ip@fclaw.com

Correspondence Information (current):
   Stacie K. Smith
   PRIMARY EMAIL FOR CORRESPONDENCE: ip@fclaw.com
   SECONDARY EMAIL ADDRESS(ES) (COURTESY COPIES): NOT PROVIDED

The docket/reference number is 045793.0014.

Correspondence Information (proposed):
   Stacie K. Smith
   PRIMARY EMAIL FOR CORRESPONDENCE: ip@fclaw.com
   SECONDARY EMAIL ADDRESS(ES) (COURTESY COPIES): NOT PROVIDED

The docket/reference number is 045793.0014.

Requirement for Email and Electronic Filing: I understand that a valid email address must be maintained by the applicant owner/holder and
the applicant owner's/holder's attorney, if appointed, and that all official trademark correspondence must be submitted via the Trademark
Electronic Application System (TEAS).

SIGNATURE(S)
Submission Signature
Signature: /Stacie K Smith/ Date: 01/22/2021
Signatory's Name: Stacie K. Smith




                                                                                                                     TNC00946
          Case 2:20-cv-09091-PA-AS Document 174-2 Filed 10/26/21 Page 12 of 139 Page ID
                                             #:8746

Signatory's Position: Attorney of record, Arizona bar member
Signatory's Phone Number: 602-916-5451
Signature method: Sent to third party for signature

The signatory has confirmed that he/she is a U.S.-licensed attorney who is an active member in good standing of the bar of the highest court of a
U.S. state (including the District of Columbia and any U.S. Commonwealth or territory); and he/she is currently the owner's/holder's attorney or
an associate thereof; and to the best of his/her knowledge, if prior to his/her appointment another U.S.-licensed attorney not currently associated
with his/her company/firm previously represented the owner/holder in this matter: the owner/holder has revoked their power of attorney by a
signed revocation or substitute power of attorney with the USPTO; the USPTO has granted that attorney's withdrawal request; the owner/holder
has filed a power of attorney appointing him/her in this matter; or the owner's/holder's appointed U.S.-licensed attorney has filed a power of
attorney appointing him/her as an associate attorney in this matter.

Mailing Address: Stacie K. Smith
 Fennemore Craig, P.C.
 Suite 600
 2394 East Camelback Road
 Phoenix, Arizona 85016-3429
Mailing Address: Stacie K. Smith
 Fennemore Craig, P.C.
 Suite 600
 2394 East Camelback Road
 Phoenix, Arizona 85016-3429

Serial Number: 85593865
Internet Transmission Date: Fri Jan 22 14:38:01 ET 2021
TEAS Stamp: USPTO/S7S-XX.XXX.XX.XXX-2021012214380187
4540-4841662-20210122133823951900-N/A-N/
A-20210122133823951900




                                                                                                                          TNC00947
Case 2:20-cv-09091-PA-AS Document 174-2 Filed 10/26/21 Page 13 of 139 Page ID
                                   #:8747




      TRIAL EXHIBIT NO. 335
                 Case 2:20-cv-09091-PA-AS Document 174-2 Filed 10/26/21 Page 14 of 139 Page ID
                                                    #:8748

Global Format; No Form Number
Approved for use through 10/31/2021. OMB 0651-0050
U.S. Patent and Trademark Office; U.S. DEPARTMENT OF COMMERCE
Under the Paperwork Reduction Act of 1995, no persons are required to respond to a collection of information unless it contains a valid OMB control number


                                                                    Surrender of Registration for Cancellation


                                                                               The table below presents the data as entered.

                         Input Field                                                                                                                         Entered
 SERIAL NUMBER                                                            88659035
 REGISTRATION NUMBER                                                      6037264
 MARK SECTION
 MARK                                                                     https://tmng-al.uspto.gov/resting2/api/img/88659035/large
 LITERAL ELEMENT                                                          NOURISH YOUR SKIN, AND THE REST WILL THRIVE
 STANDARD CHARACTERS                                                      YES
 USPTO-GENERATED IMAGE                                                    YES
 MARK STATEMENT                                                           The mark consists of standard characters, without claim to any particular font style, size or color.
         ATTACHMENT(S)

        ORIGINAL PDF FILE                                                 STATEMENT_FOR_SURRENDER_OF_TRADEMARK_6037264_SIGNED_202102161359187.pdf
        CONVERTED PDF FILE(S)
                                                                          \\TICRS\EXPORT18\IMAGEOUT18\886\590\88659035\xml1\S7S0002.jpg
        (1 page)

 OWNER SECTION (Current)
 NAME                                                                     Walker Botanicals, LLC

 MAILING ADDRESS                                                          1460 Contra Costa Blvd. Apt. 211

 CITY                                                                     Pleasant Hill

 STATE                                                                    California

 COUNTRY/REGION/JURISDICTION/U.S.
                                  United States
 TERRITORY

 ZIP/POSTAL CODE                                                          94523

 EMAIL                                                                    XXXX

 OWNER SECTION (Proposed)
 NAME                                                                     Walker Botanicals, LLC

 INTERNAL ADDRESS                                                         Suite D7

 MAILING ADDRESS                                                          2744 East 11th Street

 CITY                                                                     Oakland

 STATE                                                                    California

 COUNTRY/REGION/JURISDICTION/U.S.
                                  United States
 TERRITORY

 ZIP/POSTAL CODE                                                          94601

 EMAIL                                                                    XXXX

 ATTORNEY INFORMATION (current)
 NAME                                                                     Jordan Reis Cohen
 ATTORNEY BAR MEMBERSHIP




                                                                                                                                                                       TNC00974
         Case 2:20-cv-09091-PA-AS Document 174-2 Filed 10/26/21 Page 15 of 139 Page ID
                                            #:8749

NUMBER
                                    XXX

YEAR OF ADMISSION                   XXXX
U.S. STATE/ COMMONWEALTH/
                                    XX
TERRITORY

FIRM NAME                           BRICK & MORTAR LEGAL PC
STREET                              584 CASTRO STREET #121
CITY                                SAN FRANCISCO
STATE                               California
POSTAL CODE                         94114
COUNTRY/REGION/JURISDICTION/U.S.
                                    United States
TERRITORY

PHONE                               415-894-5436
EMAIL                               jordan@brickandmortarlegal.com
ATTORNEY INFORMATION (proposed)
NAME                                Jordan Reis Cohen
ATTORNEY BAR MEMBERSHIP
                                    XXX
NUMBER

YEAR OF ADMISSION                   XXXX
U.S. STATE/ COMMONWEALTH/
                                    XX
TERRITORY

FIRM NAME                           BRICK & MORTAR LEGAL PC
STREET                              584 CASTRO STREET #121
CITY                                SAN FRANCISCO
STATE                               California
POSTAL CODE                         94114
COUNTRY/REGION/JURISDICTION/U.S.
                                    United States
TERRITORY

PHONE                               415-894-5436
EMAIL                               jordan@brickandmortarlegal.com
CORRESPONDENCE INFORMATION (current)
NAME                                JORDAN REIS COHEN
PRIMARY EMAIL ADDRESS FOR
                                    jordan@brickandmortarlegal.com
CORRESPONDENCE

SECONDARY EMAIL ADDRESS(ES)
                                    NOT PROVIDED
(COURTESY COPIES)

CORRESPONDENCE INFORMATION (proposed)
NAME                                Jordan Reis Cohen
PRIMARY EMAIL ADDRESS FOR
                                    jordan@brickandmortarlegal.com
CORRESPONDENCE

SECONDARY EMAIL ADDRESS(ES)
                                    NOT PROVIDED
(COURTESY COPIES)

SIGNATURE SECTION
SUBMISSION SIGNATURE
                                   I/jordanreiscohen/


                                                                            TNC00975
                 Case 2:20-cv-09091-PA-AS Document 174-2 Filed 10/26/21 Page 16 of 139 Page ID
                                                    #:8750

 SIGNATORY'S NAME                                                         Jordan Reis Cohen
 SIGNATORY'S POSITION                                                     Attorney of record
 SIGNATORY'S PHONE NUMBER                                                 4158945436
 DATE SIGNED                                                              01/21/2021
 ROLE OF AUTHORIZED SIGNATORY                                             Authorized U.S.-Licensed Attorney
 SIGNATURE METHOD                                                         Signed directly within the form
 FILING INFORMATION SECTION
 SUBMIT DATE                                                              Thu Jan 21 18:23:26 ET 2021
                                                                          USPTO/S7S-XXX.XXX.XXX.XX-
                                                                          20210121182326754287-6037
 TEAS STAMP                                                               264-20210121181152780405-
                                                                          N/A-N/A-20210121181152780
                                                                          405




Global Format; No Form Number
Approved for use through 10/31/2021. OMB 0651-0050
U.S. Patent and Trademark Office; U.S. DEPARTMENT OF COMMERCE
Under the Paperwork Reduction Act of 1995, no persons are required to respond to a collection of information unless it contains a valid OMB control number




                                Surrender of Registration for Cancellation
To the Commissioner for Trademarks:



The following is submitted for registration number: 6037264

FORM FILE NAME(S):

Original PDF file:
STATEMENT_FOR_SURRENDER_OF_TRADEMARK_6037264_SIGNED_202102161359187.pdf
Converted PDF file(s) (1 page)
Attachments-1

The owner proposes to amend the following:
Current: Walker Botanicals, LLC, having an address of
   1460 Contra Costa Blvd. Apt. 211
   Pleasant Hill, California 94523
   United States
   Email Address: XXXX

Proposed: Walker Botanicals, LLC, having an address of
   Suite D7
   2744 East 11th Street
   Oakland, California 94601
   United States
   Email Address: XXXX

The owner's/holder's current attorney information: Jordan Reis Cohen. Jordan Reis Cohen of BRICK & MORTAR LEGAL PC, is a member of
the XX bar, admitted to the bar in XXXX, bar membership no. XXX, is located at

      584 CASTRO STREET #121
      SAN FRANCISCO, California 94114




                                                                                                                                                             TNC00976
          Case 2:20-cv-09091-PA-AS Document 174-2 Filed 10/26/21 Page 17 of 139 Page ID
                                             #:8751

   United States

The phone number is 415-894-5436.

The email address is jordan@brickandmortarlegal.com

The owner's/holder's proposed attorney information: Jordan Reis Cohen. Jordan Reis Cohen of BRICK & MORTAR LEGAL PC, is a member of
the XX bar, admitted to the bar in XXXX, bar membership no. XXX, is located at

   584 CASTRO STREET #121
   SAN FRANCISCO, California 94114
   United States

The phone number is 415-894-5436.

The email address is jordan@brickandmortarlegal.com

Correspondence Information (current):
   JORDAN REIS COHEN
   PRIMARY EMAIL FOR CORRESPONDENCE: jordan@brickandmortarlegal.com
   SECONDARY EMAIL ADDRESS(ES) (COURTESY COPIES): NOT PROVIDED

Correspondence Information (proposed):
   Jordan Reis Cohen
   PRIMARY EMAIL FOR CORRESPONDENCE: jordan@brickandmortarlegal.com
   SECONDARY EMAIL ADDRESS(ES) (COURTESY COPIES): NOT PROVIDED

Requirement for Email and Electronic Filing: I understand that a valid email address must be maintained by the applicant owner/holder and
the applicant owner's/holder's attorney, if appointed, and that all official trademark correspondence must be submitted via the Trademark
Electronic Application System (TEAS).

SIGNATURE(S)
Submission Signature
Signature: /jordanreiscohen/ Date: 01/21/2021
Signatory's Name: Jordan Reis Cohen
Signatory's Position: Attorney of record
Signatory's Phone Number: 4158945436
Signature method: Signed directly within the form

The signatory has confirmed that he/she is a U.S.-licensed attorney who is an active member in good standing of the bar of the highest court of a
U.S. state (including the District of Columbia and any U.S. Commonwealth or territory); and he/she is currently the owner's/holder's attorney or
an associate thereof; and to the best of his/her knowledge, if prior to his/her appointment another U.S.-licensed attorney not currently associated
with his/her company/firm previously represented the owner/holder in this matter: the owner/holder has revoked their power of attorney by a
signed revocation or substitute power of attorney with the USPTO; the USPTO has granted that attorney's withdrawal request; the owner/holder
has filed a power of attorney appointing him/her in this matter; or the owner's/holder's appointed U.S.-licensed attorney has filed a power of
attorney appointing him/her as an associate attorney in this matter.

Mailing Address: JORDAN REIS COHEN
 BRICK & MORTAR LEGAL PC

 584 CASTRO STREET #121
 SAN FRANCISCO, California 94114
Mailing Address: Jordan Reis Cohen
 BRICK & MORTAR LEGAL PC

 584 CASTRO STREET #121
 SAN FRANCISCO, California 94114

Serial Number: 88659035
Internet Transmission Date: Thu Jan 21 18:23:26 ET 2021
TEAS Stamp: USPTO/S7S-XXX.XXX.XXX.XX-202101211823267




                                                                                                                          TNC00977
        Case 2:20-cv-09091-PA-AS Document 174-2 Filed 10/26/21 Page 18 of 139 Page ID
                                           #:8752

54287-6037264-20210121181152780405-N/A-N
/A-20210121181152780405




                                                                           TNC00978
Case 2:20-cv-09091-PA-AS Document 174-2 Filed 10/26/21 Page 19 of 139 Page ID
                                   #:8753




                           STATEMEN T FOR SURRENDER OF TRADEMARK


    January 21 , 2021

     U nited States Patent and Trademark Office
     600 D ulan y Street
     Alexandria, VA 22314


             RE: Surrender/ Cancellatio n of Trademark Reg. #6037264


     I, Lia Walker, Man ager o f\Valker Botanicals, LLC, a California limited liability company, wish to
     surrender the entire registration in all classes of the trad emark registration number 6037264:

             "NO URISH YOUR SKIN, AND THE REST WILL THRIVE"

     Please contact m y attorney at the below address for any corresponden ce.

             584 Castro Street #121
             San Francisco, CA 94114

     Sincerely,




     Lia Walker,
     Man ager
     \Valker Botanicals, LLC




                                                                                                     TNC00979
Case 2:20-cv-09091-PA-AS Document 174-2 Filed 10/26/21 Page 20 of 139 Page ID
                                   #:8754




      TRIAL EXHIBIT NO. 336
    Case 2:20-cv-09091-PA-AS Document 174-2 Filed 10/26/21 Page 21 of 139 Page ID
                                       #:8755
9465 Wilshire Blvd., Ste. 300
Beverly Hills, CA 90212
                                 I M©ARTHUR                                  I                   (323) 639-4455
                                                                                       stephen@smcarthurlaw.com



                                              LAW FIRM
     Lisa Icenhower & Elis Cosmetics
     5801 LONG PRAIRIE RD SUITE 54
     FLOWER MOUND, TX 75028
     info@eliscosmetics.com


               Re: CEASE AND DESIST USE OF THRIVE® REGISTERED TRADEMARKS

     Dear Lisa Icenhower & Elis Cosmetics,

               We are legal counsel to Thrive Natural Care, Inc., (hereinafter “Thrive”). Since 2013
     Thrive has sold skincare products to the public branded as “THRIVE NATURAL CARE” and
     protected with a federal registered trademark. Today, Thrive sells a range of skincare and
     grooming products, including, but not limited to, face washes and scrubs, lotions, moisturizers,
     sunscreens, face balms, shaving lotions, and grooming oils. Thrive skincare products are sold
     online at www.thrivecare.co and through retail partnerships with Amazon and Walmart.com, as
     well as at Whole Foods Markets on the West Coast. Thrive is the sole owner of all intellectual
     property for the THRIVE® brand, which has been registered with the U.S. Patent and Trademark
     Office for over six years under registration number 4,467,942. THRIVE® has achieved
     incontestability status under the Lanham Act because it has been registered to Thrive and
     continuously used by Thrive for over five consecutive years. Thrive also owns registration No.
     6,164,303 issued on September 29, 2020 and application serial number 90198496 for a wide
     range of products that fall within the natural zone of expansion of its other two registered
     trademarks.

               Nevertheless, it has come to our attention that ELIS COSMETICS is selling THRIVE
     NATURAL CARE branded lotion and skincare products (the “Infringing Products”) as “Thrive
     Natural Skin Care” Products. Representative examples of the Infringement can be seen here:

                    •    https://www.eliscosmetics.com/
                    •    https://www.eliscosmetics.com/thrive/




                                                                                             TNC01595
Case 2:20-cv-09091-PA-AS Document 174-2 Filed 10/26/21 Page 22 of 139 Page ID
                                   #:8756
                                                                                           Page 2



You are using an identical trademark to sell identical goods despite my clients registered federal
rights. The similarity of the marks and products constitutes, among other things, trademark
infringement and unfair competition in violation of Section 32 and 43(a) of the Lanham Act, 15
USC §§1115 and 1125(a). Thrive’s statutory remedies include a total disgorgement of
profits, triple reimbursement of Thrive’s losses, payment of Thrive’s attorneys’ fees and
costs, and damages for corrective advertising. Please note that we have already sued another
infringer just a few months ago, and if we do not resolve your blatant infringement quickly, my
client will not hesitate to sue you as well.

       Accordingly, we hereby demand that you immediately confirm in writing by the date
below that you will :

           1. Provide an accounting of all sales and revenue from your sale of all “Thrive
               Natural Skincare” banded lotion and skincare products and disgorge all profits to
               our client, as well as an additional 20% licensing fee of all revenue made; and
               either
           2. Permanently cease and desist all use of the mark THRIVE®, or any other iteration
               of THRIVE® in connection with skincare lotion and related products worldwide
               within 30 days from the date this letter was sent. This includes “Thrive Natural
               Skin Care Products;” or
           3. Enter into a licensing contract with Thrive and pay an ongoing royalty percentage
               of twenty percent (20%) on all future gross revenue for your use of the brand
               name THRIVE®. This is contingent upon agreement to a formal non-exclusive
               licensing arrangement that would include all standard licensing terms such as full
               quality control, approval rights, audit rights, and licensor control and ownership
               of all associated trademark good will. You must also submit evidence of all
               revenue for an appropriate calculation to be made. If no agreement can be
               reached, then you must cease and desist all use of the mark.

Please respond no later than Wednesday, February 3, 2021. While we much prefer to resolve
this matter in a cooperative and professional manner, if we do not hear from you by February 3,


                The McArthur Law Firm • (323) 639-4455 • stephen@smcarthurlaw.com



                                                                                       TNC01596
Case 2:20-cv-09091-PA-AS Document 174-2 Filed 10/26/21 Page 23 of 139 Page ID
                                   #:8757
                                                                                            Page 3



then we will have no choice but to advise our client that your continued and past use is “willful
infringement”, that you are unwilling to cooperate, and that we should proceed accordingly by
filing a lawsuit in federal court.

        If you have any questions or would like to discuss the details of your compliance, then I
can best be reached by email at stephen@smcarthurlaw.com, or by phone at (323) 639-4455.
This letter is not a complete statement of Thrive’s rights in connection with this matter, and
nothing contained herein constitutes an express or implied waiver of any rights, remedies, or
defenses of Thrive in connection with this matter, all of which are expressly reserved.




                                                     Best regards,


Dated: January 27, 2021                              By:
                                                           Stephen Charles McArthur
                                                           The McArthur Law Firm
                                                           Attorneys for Thrive Natural Care




                The McArthur Law Firm • (323) 639-4455 • stephen@smcarthurlaw.com



                                                                                          TNC01597
Case 2:20-cv-09091-PA-AS Document 174-2 Filed 10/26/21 Page 24 of 139 Page ID
                                   #:8758




      TRIAL EXHIBIT NO. 338
                 Case 2:20-cv-09091-PA-AS Document 174-2 Filed 10/26/21 Page 25 of 139 Page ID
                                                    #:8759

PTO- 2302
Approved for use through 10/31/2021. OMB 0651-0055
U.S. Patent and Trademark Office; U.S. DEPARTMENT OF COMMERCE
Under the Paperwork Reduction Act of 1995, no persons are required to respond to a collection of information unless it contains a valid OMB control number


                                                Response To Office Action for Post-Registration Matters


                                                                               The table below presents the data as entered.

                                         Input Field                                                                                                         Entered
 SERIAL NUMBER                                                                                           86200117
 LAW OFFICE ASSIGNED                                                                                     LAW OFFICE 111
 REGISTRATION NUMBER                                                                                     4744731
                                                                                                         Response to Office Action for Section 7 Request for Amendment or Correction of
 RESPONSE TYPE
                                                                                                         Registration Certificate.
 MARK SECTION
 MARK                                                                                                    mark
 LITERAL ELEMENT                                                                                         ITHRIVEX
 STANDARD CHARACTERS                                                                                     YES
 USPTO-GENERATED IMAGE                                                                                   YES
                                                                                                         The mark consists of standard characters, without claim to any particular font style,
 MARK STATEMENT
                                                                                                         size or color.
 ARGUMENT(S)
 In its Section 7 Amendment, Applicant requested to narrow the identification of goods. Specifically, Applicant request to amend its
 identification of goods from the original listing, "Body cream; Hand cream; Non-medicated skin care creams and lotions; Skin creams" to the
 proposed "anti-friction, performance, and anti-scarring body cream and hand cream." The Examining Attorney rejected this proposed
 identification. Applicant's counsel has left several messages with the Examining Attorney to discuss the Office Action but has received no
 response. Accordingly, Applicant submits herewith the following proposed amendment: "Body cream and Hand cream, namely, anti-friction,
 performance, and anti- scarring body cream and hand cream." Applicant asserts that this designation should be acceptable as both "Body
 cream" and "hand cream" are identified in the original identification of goods without further limitation or restriction, whereas the proposed
 identification further delimits the type of body cream and hand cream using the acceptable delimiting and definite term "namely." See TMEP
 1402.03(a) ("The terms "namely," "consisting of," "particularly," and "in particular" are definite and are preferred to set forth an identification
 that requires greater particularity."). Applicant respectfully requests that the Office accept the new proposed identification of goods and enter
 Applicant's Section 7 Amendment.
 GOODS AND/OR SERVICES SECTION (current)
 INTERNATIONAL CLASS                                                                                     003
 IDENTIFICATION

 Body cream; Hand cream; Non-medicated skin care creams and lotions; Skin creams
 GOODS AND/OR SERVICES SECTION (proposed)
 INTERNATIONAL CLASS                                                                                     003
                                                                                                         Body cream and hand cream, namely, anti-friction, performance, and anti-scarring
 TRACKED TEXT IDENTIFICATION                                                                             body cream and hand creamBody cream; Hand cream; Non-medicated skin care
                                                                                                         creams and lotions; Skin creams
 MODIFIED IDENTIFICATION

 Body cream and hand cream, namely, anti-friction, performance, and anti-scarring body cream and hand cream
         WEBPAGE URL                                                                                     None Provided


                                                                                                                                                                       TNC03287
                 Case 2:20-cv-09091-PA-AS Document 174-2 Filed 10/26/21 Page 26 of 139 Page ID
                                                    #:8760

         WEBPAGE DATE OF ACCESS                                                                          None Provided
 CORRESPONDENCE INFORMATION (current)
 NAME                                                                                                    Jacob Neu
 PRIMARY EMAIL ADDRESS FOR CORRESPONDENCE                                                                nashvilleipdocketing@bradley.com
 SECONDARY EMAIL ADDRESS(ES) (COURTESY COPIES)                                                           jneu@bradley.com
 DOCKET/REFERENCE NUMBER                                                                                 206446
 CORRESPONDENCE INFORMATION (proposed)
 NAME                                                                                                    Jacob Neu
 PRIMARY EMAIL ADDRESS FOR CORRESPONDENCE                                                                nashvilleipdocketing@bradley.com
 SECONDARY EMAIL ADDRESS(ES) (COURTESY COPIES)                                                           jneu@bradley.com
 DOCKET/REFERENCE NUMBER                                                                                 206446
 PAYMENT SECTION
 TOTAL FEES DUE                                                                                          0
 SIGNATURE SECTION
                                                                                                         The undersigned has elected not to submit the signed declaration, believing no
                                                                                                         supporting declaration is required under the Trademark Rules of Practice. The
 DECLARATION SIGNATURE
                                                                                                         undersigned acknowledges that the USPTO may, upon later review, require a signed
                                                                                                         declaration.
 RESPONSE SIGNATURE                                                                                      /jacobwneu/
 SIGNATORY'S NAME                                                                                        Jacob W Neu
 SIGNATORY'S POSITION                                                                                    Attorney of record, Tennessee bar member
 SIGNATORY'S PHONE NUMBER                                                                                6152524639
 DATE SIGNED                                                                                             08/04/2021
 ROLE OF AUTHORIZED SIGNATORY                                                                            Authorized U.S.-Licensed Attorney
 SIGNATURE METHOD                                                                                        Signed directly within the form
 FILING INFORMATION SECTION
 SUBMIT DATE                                                                                             Wed Aug 04 23:39:19 ET 2021
                                                                                                         USPTO/TRS-XXXX:XXXX:XXXX:
                                                                                                         XXXX:XXXX:XXX:XXXX:XXXX-2
                                                                                                         0210804233919156450-47447
 TEAS STAMP                                                                                              31-781e7f6607c3b81d73e988
                                                                                                         8851549cc8b777ad2d87d2abb
                                                                                                         9e598456b56c936e-N/A-N/A-
                                                                                                         20210804232513319150




PTO- 2302
Approved for use through 10/31/2021. OMB 0651-0055
U.S. Patent and Trademark Office; U.S. DEPARTMENT OF COMMERCE
Under the Paperwork Reduction Act of 1995, no persons are required to respond to a collection of information unless it contains a valid OMB control number



                           Response To Office Action for Post-Registration Matters
To the Commissioner for Trademarks:


                                                                                                                                                                  TNC03288
          Case 2:20-cv-09091-PA-AS Document 174-2 Filed 10/26/21 Page 27 of 139 Page ID
                                             #:8761

Registration no. 4744731 ITHRIVEX(Standard Characters, see https://tmng-al.uspto.gov/resting2/api/img/86200117/large) has been amended as
follows:

RESPONSE TYPE

Response to Office Action for Section 7 Request for Amendment or Correction of Registration Certificate.

ARGUMENT(S)
In response to the substantive refusal(s), please note the following:

In its Section 7 Amendment, Applicant requested to narrow the identification of goods. Specifically, Applicant request to amend its identification
of goods from the original listing, "Body cream; Hand cream; Non-medicated skin care creams and lotions; Skin creams" to the proposed "anti-
friction, performance, and anti-scarring body cream and hand cream." The Examining Attorney rejected this proposed identification. Applicant's
counsel has left several messages with the Examining Attorney to discuss the Office Action but has received no response. Accordingly, Applicant
submits herewith the following proposed amendment: "Body cream and Hand cream, namely, anti-friction, performance, and anti- scarring body
cream and hand cream." Applicant asserts that this designation should be acceptable as both "Body cream" and "hand cream" are identified in the
original identification of goods without further limitation or restriction, whereas the proposed identification further delimits the type of body
cream and hand cream using the acceptable delimiting and definite term "namely." See TMEP 1402.03(a) ("The terms "namely," "consisting of,"
"particularly," and "in particular" are definite and are preferred to set forth an identification that requires greater particularity."). Applicant
respectfully requests that the Office accept the new proposed identification of goods and enter Applicant's Section 7 Amendment.

CLASSIFICATION AND LISTING OF GOODS/SERVICES

The owner/holder proposes to amend the following:

Current: Class 003

Body cream; Hand cream; Non-medicated skin care creams and lotions; Skin creams

Proposed: Class 003

Tracked Text Identification:

Body cream and hand cream, namely, anti-friction, performance, and anti-scarring body cream and hand creamBody cream; Hand cream; Non-
medicated skin care creams and lotions; Skin creams

Modified Identification:

Body cream and hand cream, namely, anti-friction, performance, and anti-scarring body cream and hand cream

Webpage URL: None Provided
Webpage Date of Access: None Provided

Correspondence Information (current):
   Jacob Neu
   PRIMARY EMAIL FOR CORRESPONDENCE: nashvilleipdocketing@bradley.com
   SECONDARY EMAIL ADDRESS(ES) (COURTESY COPIES): jneu@bradley.com

   The docket/reference number is 206446.

Correspondence Information (proposed):
   Jacob Neu
   PRIMARY EMAIL FOR CORRESPONDENCE: nashvilleipdocketing@bradley.com
   SECONDARY EMAIL ADDRESS(ES) (COURTESY COPIES): jneu@bradley.com

   The docket/reference number is 206446.

Requirement for Email and Electronic Filing: I understand that a valid email address must be maintained by the owner/holder and the
owner's/holder's attorney, if appointed, and that all official trademark correspondence must be submitted via the Trademark Electronic
Application System (TEAS).



                                                                                                                         TNC03289
          Case 2:20-cv-09091-PA-AS Document 174-2 Filed 10/26/21 Page 28 of 139 Page ID
                                             #:8762

FEE(S)
Fee(s) in the amount of $0 is being submitted.

SIGNATURE(S)
Declaration Signature
The undersigned has elected not to submit the signed declaration, believing no supporting declaration is required under the Trademark Rules of
Practice. The undersigned acknowledges that the USPTO may, upon later review, require a signed declaration.

Signature: /jacobwneu/ Date: 08/04/2021
Signatory's Name: Jacob W Neu
Signatory's Position: Attorney of record, Tennessee bar member

Signatory's Phone Number: 6152524639 Signature method: Signed directly within the form

The signatory has confirmed that he/she is a U.S.-licensed attorney who is an active member in good standing of the bar of the highest court of a
U.S. state (including the District of Columbia and any U.S. Commonwealth or territory); and he/she is currently the owner's/holder's attorney or
an associate thereof; and to the best of his/her knowledge, if prior to his/her appointment another U.S.-licensed attorney not currently associated
with his/her company/firm previously represented the owner/holder in this matter: the owner/holder has revoked their power of attorney by a
signed revocation or substitute power of attorney with the USPTO; the USPTO has granted that attorney's withdrawal request; the owner/holder
has filed a power of attorney appointing him/her in this matter; or the owner's/holder's appointed U.S.-licensed attorney has filed a power of
attorney appointing him/her as an associate attorney in this matter.

Mailing Address: Jacob Neu
 BRADLEY ARANT BOULT CUMMINGS, LLP
 Suite 700
 1600 Division Street
 NASHVILLE, Tennessee 37203
Mailing Address: Jacob Neu
 BRADLEY ARANT BOULT CUMMINGS, LLP
 Suite 700
 1600 Division Street
 NASHVILLE, Tennessee 37203

PAYMENT:
PAYMENT DATE:

Serial Number: 86200117
Internet Transmission Date: Wed Aug 04 23:39:19 ET 2021
TEAS Stamp: USPTO/TRS-XXXX:XXXX:XXXX:XXXX:XXXX:XXX:X
XXX:XXXX-20210804233919156450-4744731-78
1e7f6607c3b81d73e9888851549cc8b777ad2d87
d2abb9e598456b56c936e-N/A-N/A-2021080423
2513319150




                                                                                                                          TNC03290
Case 2:20-cv-09091-PA-AS Document 174-2 Filed 10/26/21 Page 29 of 139 Page ID
                                   #:8763




      TRIAL EXHIBIT NO. 339
    Case 2:20-cv-09091-PA-AS Document 174-2 Filed 10/26/21 Page 30 of 139 Page ID
                                       #:8764
9465 Wilshire Blvd., Ste. 300
Beverly Hills, CA 90212
                                  IM©ARTHUR                                   I                   (323) 639-4455
                                                                                        stephen@smcarthurlaw.com



                                                LAW FIRM
     Aalid Health Products LLC, DBA Barefut
     Philip Olsen
     622 N 900 E #2
     Spanish Fork, UT 84660
     sales@barefut.com


               Re: CEASE AND DESIST USE OF THRIVE® REGISTERED TRADEMARKS

     Dear Barefut and Mr. Olsen,

               We are legal counsel to Thrive Natural Care, Inc., (hereinafter “Thrive”). Since 2013
     Thrive has sold skincare products to the public. Today, Thrive sells a range of skincare and
     grooming products, including, but not limited to, face washes and scrubs, lotions, moisturizers,
     sunscreens, face balms, shaving lotions, and grooming oils. Thrive skincare products are sold
     online at www.thrivecare.co and through retail partnerships with Amazon and Walmart.com, as
     well as at Whole Foods Markets on the West Coast. Thrive is the sole owner of all intellectual
     property for the THRIVE® brand, which has been registered with the U.S. Patent and Trademark
     Office for over six years under registration number 4,467,942. THRIVE® has achieved
     incontestability status under the Lanham Act because it has been registered to Thrive and
     continuously used by Thrive for over five consecutive years. Thrive also owns registration No.
     6,164,303 issued on September 29, 2020 and application serial number 90198496 for a wide
     range of products that fall within the natural zone of expansion of its other two registered
     trademarks.

               Nevertheless, it has come to our attention that Barefut has recently begun selling
     THRIVE branded Lotion (the “Infringing Product”). A representative example of the
     Infringement can be seen here:

                    •    https://barefut.com/shop/thrive-lotion/

     The similarity of the marks and products constitutes, among other things, trademark infringement
     and unfair competition in violation of Section 32 and 43(a) of the Lanham Act, 15 USC §§1115




                                                                                              TNC03373
Case 2:20-cv-09091-PA-AS Document 174-2 Filed 10/26/21 Page 31 of 139 Page ID
                                   #:8765
                                                                                                     Page 2



and 1125(a). Thrive’s statutory remedies include a total disgorgement of profits, triple
reimbursement of Thrive’s losses, payment of Thrive’s attorneys’ fees and costs, and damages
for corrective advertising. We have already been forced to file two lawsuits to protect our client’s
valuable THRIVE intellectual property recently and will not hesitate to do so again here.1

           Accordingly, we hereby demand that you confirm in writing by the date below that you
will permanently and immediately cease and desist all use of the mark THRIVE®, or any other
iteration of THRIVE® in connection with skincare lotion and related products worldwide within
30 days from the date this letter was sent. This includes “Thrive Essential Oil Lotion”;

           Please respond no later than August 6, 2021. While we much prefer to resolve this matter
in a cooperative and professional manner, if we do not hear from you by August 6, then we will
have no choice but to advise our client that your continued and past use is “willful infringement”,
that you are unwilling to cooperate, and that we should proceed accordingly by filing a lawsuit in
federal court.

           If you have any questions or would like to discuss the details of your compliance, then I
can best be reached by email at stephen@smcarthurlaw.com, or by phone at (323) 639-4455.
This letter is not a complete statement of Thrive’s rights in connection with this matter, and
nothing contained herein constitutes an express or implied waiver of any rights, remedies, or
defenses of Thrive in connection with this matter, all of which are expressly reserved.




                                                                Best regards,


Dated: August 4, 2021                                           By:
                                                                      Stephen Charles McArthur
                                                                      The McArthur Law Firm
                                                                      Attorneys for Thrive Natural Care




1
    Thrive Natural Care, Inc., v. Thrive Causemetics, Inc., Case No. CV 20-9091-PA-AS
    Thrive Natural Care, Inc., v. LE-VEL Brands, LLC, Case No. SA CV21-02022 DOC-KES

                    The McArthur Law Firm • (323) 639-4455 • stephen@smcarthurlaw.com

                                                                                                 TNC03374
Case 2:20-cv-09091-PA-AS Document 174-2 Filed 10/26/21 Page 32 of 139 Page ID
                                   #:8766




      TRIAL EXHIBIT NO. 316
Case 2:20-cv-09091-PA-AS Document 174-2 Filed 10/26/21 Page 33 of 139 Page ID
                                   #:8767




       I
[ Slart list At:                                                      ]4 Records(s) found (This. 1page•: 1 - 4)
R:e:nne sea~   I(live}[LD]l arw (lhrwe)[MN] and (OOO}I_IICJ and (skin)] [ Submit ]
currant search: S2: live (LDJ and (tn.riwi, M      and OOJ)[I<::] and skln)IGSJI docs: 4 ooc: 26


                                        Word Malik        ICtieck Status ILlve/Deadl
                                  THRIVE                  li'SDR          !LIVE      I
                                 JitHRIVE                ]lrsoR           ILrvE      ]

                                 IITHRI\/E               IITSOR           ILIVE      I
Case 2:20-cv-09091-PA-AS Document 174-2 Filed 10/26/21 Page 34 of 139 Page ID
                                   #:8768




      TRIAL EXHIBIT NO. 424
           Case
10/14/21, 4:17 PM   2:20-cv-09091-PA-AS Document  174-2Electronic
                                               Trademark  Filed Search
                                                                  10/26/21     Page 35 of 139 Page ID
                                                                       System (TESS)
                                                   #:8769
              United States Patent and Trademark Office

              Home|Site Index|Search|FAQ|Glossary|Contacts|eBusiness|eBiz alerts|News

  Trademarks > Trademark Electronic Search System (TESS)

TESS was last updated on Thu Oct 14 03:32:23 EDT 2021



  Logout     Please logout when you are done to release system resources allocated for you.

Record 1 out of 1
                                                          ( Use the "Back" button of the Internet Browser to return to
TESS)




 Word Mark       EAT. DRINK. THRIVE.
 Goods and       IC 003. US 001 004 006 050 051 052. G & S: Apothecary products, namely, non-medicated sea salt for use as bath
 Services        salts; non-medicated skin preparations, namely, sea salt exfoliator for skin and body. FIRST USE: 20140501.
                 FIRST USE IN COMMERCE: 20140501
 Standard
 Characters
 Claimed
 Mark
 Drawing         (4) STANDARD CHARACTER MARK
 Code
 Serial
                 86030333
 Number
 Filing Date     August 6, 2013
 Current
                 1A
 Basis
 Original
                 1B
 Filing Basis
 Published
 for             April 8, 2014
 Opposition
 Registration
                 4696755
 Number
 Registration
                 March 3, 2015
 Date
 Owner           (REGISTRANT) Pacific Resorts Investments Limited LIMITED LIABILITY COMPANY BR.VIRGIN ISLANDS c/o
                 Reese Henry & Company, Inc. 400 East Main Street Aspen COLORADO 81611

                 (LAST LISTED OWNER) THE WAKAYA GROUP, LP David Gilmour, General Partner, Canadian citizen LIMITED
                 PARTNERSHIP DELAWARE 400 East Main Street, Suite 2 Aspen COLORADO 81611
 Assignment
             ASSIGNMENT RECORDED
 Recorded
 Attorney of Lisel M. Ferguson
https://tmsearch.uspto.gov/bin/showfield?f=doc&state=4805:k1nxih.3.1                                                         1/2
           Case
10/14/21, 4:17 PM   2:20-cv-09091-PA-AS Document  174-2Electronic
                                               Trademark  Filed Search
                                                                  10/26/21     Page 36 of 139 Page ID
                                                                       System (TESS)
 Record                                            #:8770
 Type of
                 TRADEMARK
 Mark
 Register        PRINCIPAL
 Affidavit
                 SECT 15. SECT 8 (6-YR).
 Text
 Live/Dead
                 LIVE
 Indicator




                                          |.HOME | SITE INDEX| SEARCH | eBUSINESS | HELP | PRIVACY POLICY




https://tmsearch.uspto.gov/bin/showfield?f=doc&state=4805:k1nxih.3.1                                        2/2
Case 2:20-cv-09091-PA-AS Document 174-2 Filed 10/26/21 Page 37 of 139 Page ID
                                   #:8771




      TRIAL EXHIBIT NO. 226
   Case 2:20-cv-09091-PA-AS Document 174-2 Filed 10/26/21 Page 38 of 139 Page ID
                                      #:8772

  From:    Thrive amcintosh@thrivenaturalcare.com
Subject:   Re: Permission request Thrive Causemetics
   Date:   April 23, 2016 at 5:55 AM
     To:   Karissa Bodnar kbodnar@thrivecausemetics.com

       Hi Karissa

       Thanks for your note. Your efforts sounds like a good one. I would like to be helpful but cannot provide permission to use the Thrive
       name trademark in the cosmetics category. We already sell female cosmetic products, and have invested a lot of time and effort in
       building the thrive mark since 2013. I also have outside investors in my company and owe them the protection of the thrive mark
       across the gamut of personal care products that fall within our owned mark. Sorry I don't have better news for you but im sure you
       understand. Best of luck with your venture.

       Alex McIntosh
       Thrive Natural Care
       amcintosh@thrivenaturalcare.com

       On Apr 22, 2016, at 6:11 PM, Karissa Bodnar <kbodnar@thrivecausemetics.com> wrote:

           Hi Thrive Care team,

           I'm reaching out to speak with your founder or someone on your team to discuss permission to use the word Thrive as part of our
           brand name.

           We are a color cosmetics brand with a mission to help women going through cancer treatment look and feel better during their time
           of need. We will never use the word "Thrive" without the word "Causemetics" because the two words to use are our brand.

           We only help women and I see that you are a men's line. I started Thrive Causemetics after losing my friend Kristy to cancer at just
           24 years old as a mission to provide complimentary beauty products to woman going through cancer treatment to restore
           confidence.

           If you'd prefer to discuss by phone, I'd love to connect soon and am happy to speak over the weekend.

           Thanks for your help,

           Karissa Bodnar
           Founder & CEO | Thrive Causemetics
           thrivecausemetics.com




                                                                                                                            TNC00901
Case 2:20-cv-09091-PA-AS Document 174-2 Filed 10/26/21 Page 39 of 139 Page ID
                                   #:8773




      TRIAL EXHIBIT NO. 31
  Case 2:20-cv-09091-PA-AS Document 174-2 Filed 10/26/21 Page 40 of 139 Page ID
                                     #:8774
                                                                                                                                        TM



                                                                                                                          PROMO         ©


                                                                                                                      travis manfredi
                                                                                                               travis@cobaltlaw.com
                                                                                                                        510.84 1.9800

     March 3, 2017

     VTA 0VERN1GHT MAIL

     Ms. Karissa Bodnar
     Thrive Causemetics, Inc.
     330 3rd Avenue West, Suite 204
     Seattle, WA 98119

     RE:               THRIVE Trademark
     OUR FILE:         Thrive Natural Care, Inc./Dispute with Thrive Causemetics

     Dear Ms. Bodnar:

     We represent Thrive Natural Care, Inc. ("Thrive") with respect to its trademarks. While
     we applaud the motivation and mission behind Thrive Causemetics, Inc. ("TCI"), we
     have to take issue with your name choice. To that end, we write to inform you that your
     use of the identical term in your name for highly related products infringes Thrive's
     trademark rights. As such, you must immediately cease all use of the term THRIVE.

     As you are aware, Thrive owns a federal trademark registration for the mark THRIVE
     (U.S. Trademark Reg. Nos. 4,467,942) for use in connection with skin care products.
     There is no question that yom use of a mark that merely adds a term and is used in
     connection with related products is likely to cause consumer confusion between the
     marks.

     Considering TCl's apparent abandonment of its application to register its THRIVE
     CAUSEMETICS trademark, TCI may have already realized its mark is problematic and
     changed its name to something that will not conflict with existing marks. If this is not the
     case, TCI must now do so.

     Only by executing and returning this letter within ten days to signify TCI's agreement to
     cease use of all marks containing the term THRIVE wi ll you avoid potential additional
     action by Tlu·ive to protect its rights. Thrive understands that it wil1 take time for you to
     change yow- name and sell through already-labeled products. Assuming you agree to the
     demands in this letter, Thrive will allow for a reasonable phase-out period of 120 days
     from date of receipt of this letter.




~bait           lawyers in Advertis ing, Promotions & Intellectual Property
                coba ltlaw.com
                                                                              9 18 Parker St reet. Bldg A21
                                                                              Berkeley, CA 94710                I
                                                                                                                     P.510.8 41.980 0
                                                                                                                     F.510 .295.240 I

                                                                                                              TNC00902
Case 2:20-cv-09091-PA-AS Document 174-2 Filed 10/26/21 Page 41 of 139 Page ID
                                   #:8775
    Ms. Karissa Bodnar
    March 3, 2017
    Page 2




   We appreciate TCl's anticipated cooperation in this matter and look forward to hearing
   from you as requested. Please note that nothing in this letter should be construed as a
   waiver of any of Thrive's rights, all of which are expressly reserved.

   Sincerely,

   COBALTLLP



   Travis Manfredi


   Agreed to:



   Karissa Bodnar
   Founder & CEO of Thrive Causemetics, Inc.




                                                                                  TNC00903
Case 2:20-cv-09091-PA-AS Document 174-2 Filed 10/26/21 Page 42 of 139 Page ID
                                   #:8776




      TRIAL EXHIBIT NO. 208
Case 2:20-cv-09091-PA-AS Document 174-2 Filed 10/26/21 Page 43 of 139 Page ID
                                   #:8777



 focal              PLLC
                                                                                             Sean M. McChesney
                                                                                             sean@focallaw.com
                                                                                                   206.617.3040



Sent Via U.S. Mail and Email

April 12, 2017

Travis Manfredi
Cobalt LLP
918 Parker Street, Bldg A21
Berkeley, CA 94710
travis@cobaltlaw.com

Re:     Thrive Natural Care, Inc. / Thrive Causemetics, Inc.

Mr. Manfredi:

As previously advised, we represent Thrive Causemetics, Inc. (“TCI”) with respect to trademark matters. I
write in response to your March 3, 2017 letter to Ms. Karissa Bodnar, alleging that TCI is infringing the
THRIVE trademark of your client, Thrive Natural Care, Inc. (“Thrive”), and demanding that TCI cease
further use of its trademark, THRIVE CAUSEMETICS.

As it appears that you followed the prosecution of TCI’s trademark registration application before the
USPTO, you are likely aware that the trademark examining attorney initially raised the issue of potential
likelihood of confusion between TCI’s THRIVE CAUSEMETICS trademark and your client’s THRIVE
trademark. You should also be aware that the trademark examining attorney subsequently withdrew the
refusal to register the THRIVE CAUSEMETICS mark based on your client’s THRIVE trademark. For
largely the same reasons we outlined in our response to the USPTO office action, we disagree with your
assertion that consumers are likely to be confused by the trademarks of each party.

In your letter, you state that “there is no question that your use of a mark that merely adds a term and is
used in connection with related products is likely to cause consumer confusion between the marks.” This
was the same argument initially asserted by the trademark examining attorney. However, as we advised
the trademark examining attorney, consideration of only the “thrive” portion of the two trademarks is
improper in determining likelihood of confusion. TCI’s trademark contains the additional coined term
“causemetics.” The inclusion of this unique term within TCI’s trademark is significant, as it differentiates
the appearance, sound and commercial impression of TCI’s trademark from your client’s THRIVE mark.
The term “causemetics” suggests the important charitable aspect of TCI’s business, which is supporting
and empowering women fighting cancer and facing other challenges such as domestic abuse. To the
extent the same consumers would even encounter both the trademark of Thrive and that of TCI, those
consumers would be able to discern between the two brands due to the inclusion of “causemetics” in
TCI’s trademark, the overall branding of the different goods by our respective clients, which is quite
distinct, and the different product lines. It is also simply not tenable that your client holds exclusive rights
to the use of the word “thrive” in connection with any personal care, health, beauty, or the enormous
market of related products. Thrive is a commonly used name and branding term to evoke some sense of
  __________________________________________________________________________________________
                900 1st Ave. S., Suite 201, Seattle, WA 98134 | fax: 206.260.3966 | info@focallaw.com
                                                www.focallaw.com


                                                                                                        TNC00899
Case 2:20-cv-09091-PA-AS Document 174-2 Filed 10/26/21 Page 44 of 139 Page ID
                                   #:8778

Travis Manfredi
April 12, 2017
Page 2


living well through the use of the relevant product. Your client has not created sufficient market
awareness of its brand to crowd out others who want to use this common word. For at least these
reasons, TCI will not agree to cease all use of its THRIVE CAUSEMETICS trademark.

You may be aware that TCI reached out to Thrive in April of 2016 regarding the possibility of a mutual
trademark coexistence agreement. While your client politely rejected that request at the time, we would
invite your client to reconsider. Given that your client’s business is primarily aimed at men’s skincare and
shaving products, while TCI’s is aimed at women’s makeup, a trademark coexistence agreement would
appear to be a simple way of resolving this matter. Through such an agreement, the two companies could
set forth certain restrictions on their respective branding and marketing efforts intended to avoid the
potential for consumer confusion down the road.

As I am sure you are aware, any active legal dispute over this trademark matter is going to be time-
consuming and expensive. Although litigation has inherent uncertainties, we are confident that TCI will be
able to successfully defend any claim of infringement and retain the right to use its trademark. Both of our
clients, and our clients’ investors, would be better served by focusing on growing their respective
businesses with clear boundaries as to each other’s trademark.

If you wish to discuss the possibility of Thrive and TCI entering into a trademark coexistence agreement,
please feel free to contact me. I may be reached by email at sean@focallaw.com or by telephone at
206.617.3040.

This letter is made without prejudice to or waiver of any rights, remedies or defenses available to TCI, all
of which are reserved.

Sincerely,

Focal PLLC




Sean M. McChesney




                                                                                                TNC00900
Case 2:20-cv-09091-PA-AS Document 174-2 Filed 10/26/21 Page 45 of 139 Page ID
                                   #:8779




      TRIAL EXHIBIT NO. 134
        Case 2:20-cv-09091-PA-AS Document 174-2 Filed 10/26/21 Page 46 of 139 Page ID
                                           #:8780

To:            Thrive Causemetics, Inc. (LorraineL.docketing@SeedIP.com)
Subject:       U.S. TRADEMARK APPLICATION NO. 86721790 - THRIVE CAUSEMETICS - 900234.201
Sent:          11/30/2015 3:27:10 PM
Sent As:       ECOM110@USPTO.GOV
Attachments:   Attachment - 1
               Attachment - 2
               Attachment - 3
               Attachment - 4
               Attachment - 5
               Attachment - 6
               Attachment - 7
               Attachment - 8
               Attachment - 9
               Attachment - 10
               Attachment - 11
               Attachment - 12
               Attachment - 13
               Attachment - 14
               Attachment - 15
               Attachment - 16
               Attachment - 17
               Attachment - 18
               Attachment - 19
               Attachment - 20
               Attachment - 21
               Attachment - 22
               Attachment - 23
               Attachment - 24
               Attachment - 25
               Attachment - 26
               Attachment - 27
               Attachment - 28
               Attachment - 29
               Attachment - 30
               Attachment - 31
               Attachment - 32
               Attachment - 33
               Attachment - 34
               Attachment - 35
               Attachment - 36
               Attachment - 37
               Attachment - 38
               Attachment - 39
               Attachment - 40
               Attachment - 41
               Attachment - 42
               Attachment - 43
               Attachment - 44
          Case 2:20-cv-09091-PA-AS Document 174-2 Filed 10/26/21 Page 47 of 139 Page ID
                                             #:8781

                       Attachment - 45
                       Attachment - 46
                       Attachment - 47

                                    UNITED STATES PATENT AND TRADEMARK OFFICE (USPTO)
                         OFFICE ACTION (OFFICIAL LETTER) ABOUT APPLICANT’S TRADEMARK APPLICATION


                      U.S. APPLICATION SERIAL NO. 86721790

                      MARK: THRIVE CAUSEMETICS
                                                                             *86721790*
                      CORRESPONDENT ADDRESS:
                        LORRAINE LINFORD                                     CLICK HERE TO RESPOND TO THIS
                        Seed Ip Law Group Pllc                               LETTER:
                        701 5th Ave Ste 5400                                 http://www.uspto.gov/trademarks/teas/response_forms.jsp
                        Seattle, WA 98104-7064
                                                                             VIEW YOUR APPLICATION FILE

                      APPLICANT: Thrive Causemetics, Inc.

                      CORRESPONDENT’S REFERENCE/DOCKET
                      NO:
                         900234.201
                      CORRESPONDENT E-MAIL ADDRESS:
                         LorraineL.docketing@SeedIP.com



                                                         FIRST OFFICE ACTION

                                     STRICT DEADLINE TO RESPOND TO THIS LETTER
TO AVOID ABANDONMENT OF APPLICANT’S TRADEMARK APPLICATION, THE USPTO MUST RECEIVE APPLICANT’S
COMPLETE RESPONSE TO THIS LETTER WITHIN 6 MONTHS OF THE ISSUE/MAILING DATE BELOW.

ISSUE/MAILING DATE: 11/30/2015

 TEAS PLUS OR TEAS REDUCED FEE (TEAS RF) APPLICANTS – TO MAINTAIN LOWER FEE, ADDITIONAL
REQUIREMENTS MUST BE MET, INCLUDING SUBMITTING DOCUMENTS ONLINE: Applicants who filed their application online
using the lower-fee TEAS Plus or TEAS RF application form must (1) file certain documents online using TEAS, including responses to Office
actions (see TMEP §§819.02(b), 820.02(b) for a complete list of these documents); (2) maintain a valid e-mail correspondence address; and (3)
agree to receive correspondence from the USPTO by e-mail throughout the prosecution of the application. See 37 C.F.R. §§2.22(b), 2.23(b);
TMEP §§819, 820. TEAS Plus or TEAS RF applicants who do not meet these requirements must submit an additional processing fee of $50 per
international class of goods and/or services. 37 C.F.R. §§2.6(a)(1)(v), 2.22(c), 2.23(c); TMEP §§819.04, 820.04. However, in certain situations,
TEAS Plus or TEAS RF applicants may respond to an Office action by authorizing an examiner’s amendment by telephone without incurring
this additional fee.

The referenced application has been reviewed by the assigned trademark examining attorney. Applicant must respond timely and completely to
the issue(s) below. 15 U.S.C. §1062(b); 37 C.F.R. §§2.62(a), 2.65(a); TMEP §§711, 718.03.

Refusal Section 2(d) – Likelihood of Confusion
Registration of the applied-for mark is refused because of a likelihood of confusion with the marks in U.S. Registration Nos. 2938220 and
4467942. Trademark Act Section 2(d), 15 U.S.C. §1052(d); see TMEP §§1207.01 et seq. See the enclosed registrations.

The applicant has applied to register the mark THRIVE CAUSEMETICS (standard characters) for “False eyelashes; adhesives for affixing false
eyelashes; eyeliner; and eyebrow cosmetics.”

The mark in U.S. Registration No. 2938220 is CAUSE-METICS (standard characters) for “Cosmetics; Cosmetics, namely foundation and toners;
blush; eye make-up; lip liners; lipsticks; nail polishers; creams, namely eye cream, lip cream and nail cream; skin lotions and suntan lotions; skin
cleaners, deodorant soaps and skin soaps; perfume.”
          Case 2:20-cv-09091-PA-AS Document 174-2 Filed 10/26/21 Page 48 of 139 Page ID
                                             #:8782

The mark in U.S. Registration No. 4467942 is THRIVE (standard characters) for “Non-medicated skin care preparations, namely, facial lotions,
cleansers and creams, creams and oils for cosmetic use, skin moisturizers; pre-shaving preparations; after shave lotions and creams.”

Trademark Act Section 2(d) bars registration of an applied-for mark that so resembles a registered mark that it is likely a potential consumer
would be confused, mistaken, or deceived as to the source of the goods and/or services of the applicant and registrant. See 15 U.S.C. §1052(d).
A determination of likelihood of confusion under Section 2(d) is made on a case-by case basis and the factors set forth in In re E. I. du Pont de
Nemours & Co., 476 F.2d 1357, 1361, 177 USPQ 563, 567 (C.C.P.A. 1973) aid in this determination. Citigroup Inc. v. Capital City Bank Grp.,
Inc., 637 F.3d 1344, 1349, 98 USPQ2d 1253, 1256 (Fed. Cir. 2011) (citing On-Line Careline, Inc. v. Am. Online, Inc., 229 F.3d 1080, 1085, 56
USPQ2d 1471, 1474 (Fed. Cir. 2000)). Not all the du Pont factors, however, are necessarily relevant or of equal weight, and any one of the
factors may control in a given case, depending upon the evidence of record. Citigroup Inc. v. Capital City Bank Grp., Inc., 637 F.3d at 1355, 98
USPQ2d at 1260; In re Majestic Distilling Co., 315 F.3d 1311, 1315, 65 USPQ2d 1201, 1204 (Fed. Cir. 2003); see In re E. I. du Pont de
Nemours & Co., 476 F.2d at 1361-62, 177 USPQ at 567.

In this case, the following factors are the most relevant: similarity of the marks, similarity and nature of the goods and/or services, and similarity
of the trade channels of the goods and/or services. See In re Viterra Inc., 671 F.3d 1358, 1361-62, 101 USPQ2d 1905, 1908 (Fed. Cir. 2012); In
re Dakin’s Miniatures Inc. , 59 USPQ2d 1593, 1595-96 (TTAB 1999); TMEP §§1207.01 et seq.

Comparison of the Marks
Marks are compared in their entireties for similarities in appearance, sound, connotation, and commercial impression. Stone Lion Capital
Partners, LP v. Lion Capital LLP, 746 F.3d 1317, 1321, 110 USPQ2d 1157, 1160 (Fed. Cir. 2014) (quoting Palm Bay Imps., Inc. v. Veuve
Clicquot Ponsardin Maison Fondee En 1772, 396 F. 3d 1369, 1371, 73 USPQ2d 1689, 1691 (Fed. Cir. 2005)); TMEP §1207.01(b)-(b)(v).
“Similarity in any one of these elements may be sufficient to find the marks confusingly similar.” In re Davia, 110 USPQ2d 1810, 1812 (TTAB
2014) (citing In re 1st USA Realty Prof’ls , Inc., 84 USPQ2d 1581, 1586 (TTAB 2007)); In re White Swan Ltd., 8 USPQ2d 1534, 1535 (TTAB
1988)); TMEP §1207.01(b).

Here the applicant’s mark is similar to the marks in the cited U.S. Registrations. The applicant has merely added a term to each of the registered
marks. Adding a term to a registered mark generally does not obviate the similarity between the compared marks, as in the present case, nor does
it overcome a likelihood of confusion under Section 2(d). See Coca-Cola Bottling Co. v. Jos. E. Seagram & Sons, Inc., 526 F.2d 556, 557, 188
USPQ 105, 106 (C.C.P.A. 1975) (finding BENGAL and BENGAL LANCER and design confusingly similar); In re Toshiba Med. Sys. Corp., 91
USPQ2d 1266, 1269 (TTAB 2009) (finding TITAN and VANTAGE TITAN confusingly similar); In re El Torito Rests., Inc., 9 USPQ2d 2002,
2004 (TTAB 1988) (finding MACHO and MACHO COMBOS confusingly similar); TMEP §1207.01(b)(iii). In the present case, the marks are
identical in part.

The examining attorney must resolve any doubt as to the issue of likelihood of confusion in favor of the registrant and against the applicant who
has a legal duty to select a mark which is totally dissimilar to trademarks already being used. Burroughs Wellcome Co. v. Warner-Lambert Co.,
203 USPQ 191 (TTAB 1979).

Comparison of the Goods and/or Services
The goods and/or services of the parties need not be identical or even competitive to find a likelihood of confusion. See On-line Careline Inc. v.
Am. Online Inc., 229 F.3d 1080, 1086, 56 USPQ2d 1471, 1475 (Fed. Cir. 2000); Recot, Inc. v. Becton, 214 F.3d 1322, 1329, 54 USPQ2d 1894,
1898 (Fed. Cir. 2000) (“[E] ven if the goods in question are different from, and thus not related to, one another in kind, the same goods can be
related in the mind of the consuming public as to the origin of the goods.”); TMEP §1207.01(a)( i).

The respective goods and/or services need only be “related in some manner and/or if the circumstances surrounding their marketing [be] such
that they could give rise to the mistaken belief that [the goods and/or services] emanate from the same source.” Coach Servs., Inc. v. Triumph
Learning LLC, 668 F.3d 1356, 1369, 101 USPQ2d 1713, 1722 (Fed. Cir. 2012) (quoting 7-Eleven Inc. v. Wechsler, 83 USPQ2d 1715, 1724
(TTAB 2007)); TMEP §1207.01(a)(i).

The applicant’s goods are “False eyelashes; adhesives for affixing false eyelashes; eyeliner; and eyebrow cosmetics.”

U.S. Registration No. 2938220
The goods in U.S. Registration No. 2938220 are “Cosmetics; Cosmetics, namely foundation and toners; blush; eye make-up; lip liners; lipsticks;
nail polishers; creams, namely eye cream, lip cream and nail cream; skin lotions and suntan lotions; skin cleaners, deodorant soaps and skin
soaps; perfume.”

Here, the applicant’s goods are highly similar to the registrant’s goods. With respect to applicant’s and registrant’s goods and/or services, the
question of likelihood of confusion is determined based on the description of the goods and/or services stated in the application and registration at
issue, not on extrinsic evidence of actual use. See Stone Lion Capital Partners, LP v. Lion Capital LLP, 746 F.3d 1317, 1323, 110 USPQ2d
1157, 1162 (Fed. Cir. 2014) (quoting Octocom Sys. Inc. v. Hous. Computers Servs. Inc., 918 F.2d 937, 942, 16 USPQ2d 1783, 1787 (Fed. Cir.
1990)).
          Case 2:20-cv-09091-PA-AS Document 174-2 Filed 10/26/21 Page 49 of 139 Page ID
                                             #:8783


Absent restrictions in an application and/or registration, the identified goods and/or services are “presumed to travel in the same channels of
trade to the same class of purchasers.” In re Viterra Inc., 671 F.3d 1358, 1362, 101 USPQ2d 1905, 1908 (Fed. Cir. 2012) (quoting Hewlett-
Packard Co. v. Packard Press, Inc., 281 F.3d 1261, 1268, 62 USPQ2d 1001, 1005 (Fed. Cir. 2002)). Additionally, unrestricted and broad
identifications are presumed to encompass all goods and/or services of the type described. See In re Jump Designs, LLC, 80 USPQ2d 1370, 1374
(TTAB 2006) (citing In re Elbaum, 211 USPQ 639, 640 (TTAB 1981)); In re Linkvest S.A., 24 USPQ2d 1716, 1716 (TTAB 1992).

In this case, the identification set forth in the application and registration(s) has no restrictions as to nature, type, channels of trade, or classes of
purchasers. Therefore, it is presumed that these goods travel in all normal channels of trade, and are available to the same class of purchasers.
Further, the registration uses broad wording to describe the goods and this wording is presumed to encompass all goods of the type described,
including those in applicant’s more narrow identification. For example, the registrant’s cosmetics and eye makeup could include eyeliner and
eyebrow cosmetics.

U.S. Registration no. 4467942
The goods in U.S. Registration No. 4467942 are “Non-medicated skin care preparations, namely, facial lotions, cleansers and creams, creams
and oils for cosmetic use, skin moisturizers; pre-shaving preparations; after shave lotions and creams.”

The attached Internet evidence consists of third party webpages. This evidence establishes that the same entity commonly manufactures or
produces the relevant goods and markets the goods under the same mark. Therefore, applicant’s and registrant’s goods and/or services are
considered related for likelihood of confusion purposes. See, e.g., In re Davey Prods. Pty Ltd., 92 USPQ2d 1198, 1202-04 (TTAB 2009); In re
Toshiba Med. Sys. Corp., 91 USPQ2d 1266, 1268-69, 1271-72 (TTAB 2009).

Evidence obtained from the Internet may be used to support a determination under Section 2(d) that goods and/or services are related. See, e.g.,
In re G.B.I. Tile & Stone, Inc., 92 USPQ2d 1366, 1371 (TTAB 2009); In re Paper Doll Promotions, Inc., 84 USPQ2d 1660, 1668 (TTAB 2007).
The Internet has become integral to daily life in the United States, with Census Bureau data showing approximately three-quarters of American
households used the Internet in 2013 to engage in personal communications, to obtain news, information, and entertainment, and to do banking
and shopping. See In re Nieves & Nieves LLC, 113 USPQ2d 1639, 1642 (TTAB 2015) (taking judicial notice of the following two official
government publications: (1) Thom File & Camille Ryan, U.S. Census Bureau, Am. Cmty. Survey Reports ACS-28, Computer & Internet Use in
the United States: 2013 (2014), available at http://www.census.gov/content/dam/Census/library/publications/2014/acs/acs-28.pdf, and (2) The
Nat’l Telecomms. & Info. Admin. & Econ. & Statistics Admin., Exploring the Digital Nation: America’s Emerging Online Experience (2013),
available at http://www.ntia.doc.gov/files/ntia/publications/exploring_the_digital_nation_-_americas_emerging_online_experience.pdf). Thus,
the widespread use of the Internet in the United States suggests that Internet evidence may be probative of public perception in trademark
examination.

For the foregoing reasons consumers and potential consumers would be likely to believe that applicant’s goods and/or services emanate from the
same source as those provided by the registrant. Accordingly, registration is refused under Section 2(d) of the Act.

Although the trademark examining attorney has refused registration, applicant may respond to the refusal to register by submitting evidence and
arguments in support of registration.

Prior Filed Application
The filing date of pending U.S. Application Serial No. 85726058 precedes applicant’s filing date. See attached referenced application. If the
mark in the referenced application registers, applicant’s mark may be refused registration under Trademark Act Section 2(d) because of a
likelihood of confusion between the two marks. See 15 U.S.C. §1052(d); 37 C.F.R. §2.83; TMEP §§1208 et seq. Therefore, upon receipt of
applicant’s response to this Office action, action on this application may be suspended pending final disposition of the earlier-filed referenced
application.

In response to this Office action, applicant may present arguments in support of registration by addressing the issue of the potential conflict
between applicant’s mark and the mark in the referenced application. Applicant’s election not to submit arguments at this time in no way limits
applicant’s right to address this issue later if a refusal under Section 2(d) issues.

Action on this application will be suspended pending the dispositions of Application Serial No. 85726058, upon receipt of applicant’s response
resolving the refusal(s) to register based on a likelihood of confusion and resolving the following requirements. The applicant must respond to
the refusal to register based on a likelihood of confusion discussed previously herein and the requirements discussed subsequently herein
within 6 months of the date of this Office Action to avoid ABANDONMENT.

Additional Requirements
If applicant responds to the refusal(s), applicant must also respond to the requirement(s) set forth below.

Disclaimer
          Case 2:20-cv-09091-PA-AS Document 174-2 Filed 10/26/21 Page 50 of 139 Page ID
                                             #:8784

Applicant must disclaim the wording “COSMETICS” in the mark because it merely describes an ingredient, quality, characteristic, function,
feature, purpose, or use of applicant’s goods and/or services, and thus is an unregistrable component of the mark. See 15 U.S.C. §§1052(e)(1),
1056(a); DuoProSS Meditech Corp. v. Inviro Med. Devices, Ltd., 695 F.3d 1247, 1251, 103 USPQ2d 1753, 1755 (Fed. Cir. 2012) (quoting In re
Oppedahl & Larson LLP, 373 F.3d 1171, 1173, 71 USPQ2d 1370, 1371 (Fed. Cir. 2004)); TMEP §§1213, 1213.03(a).

The attached dictionary definition shows this wording refers to substances that you use on your skin to make yourself look more attractive. The
applicant indicates that it is providing makeup and eyebrow cosmetics. Therefore, the wording merely describes the applicant’s goods.

An applicant may not claim exclusive rights to terms that others may need to use to describe their goods and/or services in the marketplace. See
Dena Corp. v. Belvedere Int’l, Inc. , 950 F.2d 1555, 1560, 21 USPQ2d 1047, 1051 (Fed. Cir. 1991); In re Aug. Storck KG, 218 USPQ 823, 825
(TTAB 1983). A disclaimer of unregistrable matter does not affect the appearance of the mark; that is, a disclaimer does not physically remove
the disclaimed matter from the mark. See Schwarzkopf v. John H. Breck, Inc., 340 F.2d 978, 978, 144 USPQ 433, 433 (C.C.P.A. 1965); TMEP
§1213.

The wording “CAUSEMETCS” must appear in its correct spelling, i.e., “COSMETICS” in the disclaimer. See In re Omaha Nat’l Corp. , 819
F.2d 1117, 1119, 2 USPQ2d 1859, 1861 (Fed. Cir. 1987); In re Carlson, 91 USPQ2d 1198, 1203 (TTAB 2009); TMEP §1213.08(c).

If applicant does not provide the required disclaimer, the USPTO may refuse to register the entire mark. See In re Stereotaxis Inc., 429 F.3d
1039, 1040-41, 77 USPQ2d 1087, 1088-89 (Fed. Cir. 2005); TMEP §1213.01(b).

Applicant should submit a disclaimer in the following standardized format:

        No claim is made to the exclusive right to use “COSMETICS” apart from the mark as shown.

For an overview of disclaimers and instructions on how to satisfy this disclaimer requirement online using the Trademark Electronic Application
System (TEAS) form, please go to http://www.uspto.gov/trademarks/law/disclaimer.jsp.

Response
For this application to proceed toward registration, applicant must explicitly address each refusal and/or requirement raised in this Office action.
If the action includes a refusal, applicant may provide arguments and/or evidence as to why the refusal should be withdrawn and the mark should
register. Applicant may also have other options for responding to a refusal and should consider such options carefully. To respond to
requirements and certain refusal response options, applicant should set forth in writing the required changes or statements.

If applicant does not respond to this Office action within six months of the issue/mailing date, or responds by expressly abandoning the
application, the application process will end, the trademark will fail to register, and the application fee will not be refunded. See 15 U.S.C.
§1062(b); 37 C.F.R. §§2.65(a), 2.68(a), 2.209(a); TMEP §§405.04, 718.01, 718.02. Where the application has been abandoned for failure to
respond to an Office action, applicant’s only option would be to file a timely petition to revive the application, which, if granted, would allow
the application to return to active status. See 37 C.F.R. §2.66; TMEP §1714. There is a $100 fee for such petitions. See 37 C.F.R. §§2.6,
2.66(b)(1).


                                                /Ellen J.G. Perkins/
                                                Ellen J.G. Perkins
                                                Examining Attorney
                                                U.S. Patent & Trademark Office
                                                Law Office 110
                                                571 272-9372
                                                Ellen.Perkins@uspto.gov

TO RESPOND TO THIS LETTER: Go to http://www.uspto.gov/trademarks/teas/response_forms.jsp. Please wait 48-72 hours from the
issue/mailing date before using the Trademark Electronic Application System (TEAS), to allow for necessary system updates of the application.
For technical assistance with online forms, e-mail TEAS@uspto.gov. For questions about the Office action itself, please contact the assigned
trademark examining attorney. E-mail communications will not be accepted as responses to Office actions; therefore, do not respond to
this Office action by e-mail.

All informal e-mail communications relevant to this application will be placed in the official application record.

WHO MUST SIGN THE RESPONSE: It must be personally signed by an individual applicant or someone with legal authority to bind an
applicant (i.e., a corporate officer, a general partner, all joint applicants). If an applicant is represented by an attorney, the attorney must sign the
            Case 2:20-cv-09091-PA-AS Document 174-2 Filed 10/26/21 Page 51 of 139 Page ID
                                               #:8785

response.

PERIODICALLY CHECK THE STATUS OF THE APPLICATION: To ensure that applicant does not miss crucial deadlines or official
notices, check the status of the application every three to four months using the Trademark Status and Document Retrieval (TSDR) system at
http://tsdr.uspto.gov/. Please keep a copy of the TSDR status screen. If the status shows no change for more than six months, contact the
Trademark Assistance Center by e-mail at TrademarkAssistanceCenter@uspto.gov or call 1-800-786-9199. For more information on checking
status, see http://www.uspto.gov/trademarks/process/status/.

TO UPDATE CORRESPONDENCE/E-MAIL ADDRESS: Use the TEAS form at http://www.uspto.gov/trademarks/teas/correspondence.jsp.
 Case 2:20-cv-09091-PA-AS Document 174-2 Filed 10/26/21 Page 52 of 139 Page ID
                                    #:8786

Print: Nov 24, 2015                85726058

DESIGN MARK
Serial Number
85726058

Status
FIFTH EXTENSION - GRANTED

Word Mark
THRIVE

Standard Character Mark
Yes

Type of Mark
TRADEMARK

Register
PRINCIPAL

Mark Drawing Code
(4) STANDARD CHARACTER MARK

OWner
THRIVE NATURAL CARE, INC. CORPORATION DELAWARE 42 DARRELL PLACE SAN
FRANCISCO CALIFORNIA 94133

Goods/Services
Class Status -- ACTIVE. IC 003. US 001 004 006 050 051 052. G & S:
Personal care products for cosmetic use, namely, hair shampoos and
conditioners, hair styling preparations; body and hand washes, soaps
and gels; non-medicated skin care preparations, namely, body lotions;
cosmetic sun care preparations and sunscreens; lip creams and balms;
antiperspirants and deodorants for personal use; shaving creams and
gels; non-medicated baby care products, namely, baby lotions, creams,
body cleansers, shampoos, gels and washes, diaper rash creams and
ointments.

Filing Date
2012/09/11

Examining Attorney
AGOSTO, GISELLE

Attomey of Record
John W. Crittenden




                                     -1-
Case 2:20-cv-09091-PA-AS Document 174-2 Filed 10/26/21 Page 53 of 139 Page ID
                                   #:8787
 Case 2:20-cv-09091-PA-AS Document 174-2 Filed 10/26/21 Page 54 of 139 Page ID
                                    #:8788

Print: Nov 24, 2015                85980517

DESIGN MARK
Serial Number
85980517

Status
REGISTERED

Word Mark
THRIVE

Standard Character Mark
Yes

Registration Number
4467 942

Date Registered
2014/01/14

Type of Mark
TRADEMARK

Register
PRINCIPAL

Mark Drawing Code
(4) STANDARD CHARACTER MARK

OWner
THRIVE NATURAL CARE, INC. CORPORATION DELAWARE 42 DARRELL PLACE SAN
FRANCISCO CALIFORNIA 94133

Goods/Services
Class Status -- ACTIVE. IC 003. US 001 004 006 050 051 052. G & S:
Non-medicated skin care preparations, namely, facial lotions,
cleansers and creams, creams and oils for cosmetic use, skin
moisturizers; pre-shaving preparations; after shave lotions and
creams. First Use: 2013/09/05. First Use In Commerce: 2013/09/05.

Filing Date
2012/09/11

Examining Attorney
AGOSTO, GISELLE

Attorney of Record
John w. Crittenden




                                     -1-
Case 2:20-cv-09091-PA-AS Document 174-2 Filed 10/26/21 Page 55 of 139 Page ID
                                   #:8789
         Case 2:20-cv-09091-PA-AS Document 174-2 Filed 10/26/21 Page 56 of 139 Page ID
                                            #:8790

To:                   Thrive Causemetics, Inc. (LorraineL.docketing@SeedIP.com)
Subject:              U.S. TRADEMARK APPLICATION NO. 86721790 - THRIVE CAUSEMETICS - 900234.201
Sent:                 11/30/2015 3:27:12 PM
Sent As:              ECOM110@USPTO.GOV
Attachments:

                            UNITED STATES PATENT AND TRADEMARK OFFICE (USPTO)



                                        IMPORTANT NOTICE REGARDING YOUR
                                           U.S. TRADEMARK APPLICATION

                                 USPTO OFFICE ACTION (OFFICIAL LETTER) HAS ISSUED
                                ON 11/30/2015 FOR U.S. APPLICATION SERIAL NO. 86721790

Please follow the instructions below:

(1) TO READ THE LETTER: Click on this link or go to http://tsdr.uspto.gov, enter the U.S. application serial number, and click on
“Documents.”

The Office action may not be immediately viewable, to allow for necessary system updates of the application, but will be available within 24
hours of this e-mail notification.

(2) TIMELY RESPONSE IS REQUIRED: Please carefully review the Office action to determine (1) how to respond, and (2) the applicable
response time period. Your response deadline will be calculated from 11/30/2015 (or sooner if specified in the Office action). For information
regarding response time periods, see http://www.uspto.gov/trademarks/process/status/responsetime.jsp.

Do NOT hit “Reply” to this e-mail notification, or otherwise e-mail your response because the USPTO does NOT accept e-mails as
responses to Office actions. Instead, the USPTO recommends that you respond online using the Trademark Electronic Application System
(TEAS) response form located at http://www.uspto.gov/trademarks/teas/response_forms.jsp.

(3) QUESTIONS: For questions about the contents of the Office action itself, please contact the assigned trademark examining attorney. For
technical assistance in accessing or viewing the Office action in the Trademark Status and Document Retrieval (TSDR) system, please e-mail
TSDR@uspto.gov.


                                                              WARNING

Failure to file the required response by the applicable response deadline will result in the ABANDONMENT of your application. For
more information regarding abandonment, see http://www.uspto.gov/trademarks/basics/abandon.jsp.

PRIVATE COMPANY SOLICITATIONS REGARDING YOUR APPLICATION: Private companies not associated with the USPTO are
using information provided in trademark applications to mail or e-mail trademark-related solicitations. These companies often use names that
closely resemble the USPTO and their solicitations may look like an official government document. Many solicitations require that you pay
“fees.”

Please carefully review all correspondence you receive regarding this application to make sure that you are responding to an official document
from the USPTO rather than a private company solicitation. All official USPTO correspondence will be mailed only from the “United States
Patent and Trademark Office” in Alexandria, VA; or sent by e-mail from the domain “@uspto.gov.” For more information on how to handle
private company solicitations, see http://www.uspto.gov/trademarks/solicitation_warnings.jsp.
Case 2:20-cv-09091-PA-AS Document 174-2 Filed 10/26/21 Page 57 of 139 Page ID
                                   #:8791




      TRIAL EXHIBIT NO. 135
               Case 2:20-cv-09091-PA-AS Document 174-2 Filed 10/26/21 Page 58 of 139 Page ID
                                                  #:8792

Under the Paperwork Reduction Act of 1995 no persons are required to respond to a collection of information unless it displays a valid OMB control number.
PTO Form 1957 (Rev 10/2011)
OMB No. 0651-0050 (Exp 07/31/2017)


                                                              Response to Office Action


                                                     The table below presents the data as entered.

                              Input Field                                                                      Entered
 SERIAL NUMBER                                             86721790
 LAW OFFICE ASSIGNED                                       LAW OFFICE 110
 MARK SECTION
 MARK                                                      http://tmng-al.uspto.gov/resting2/api/img/86721790/large
 LITERAL ELEMENT                                           THRIVE CAUSEMETICS
 STANDARD CHARACTERS                                       YES
 USPTO-GENERATED IMAGE                                     YES
                                                           The mark consists of standard characters, without claim to any particular font style, size or
 MARK STATEMENT
                                                           color.
 ARGUMENT(S)
 Please see the actual argument text attached within the Evidence section.
 EVIDENCE SECTION
        EVIDENCE FILE NAME(S)

                                                           evi_2-713739202-20160527181621868995_._ive_Causemetics_Response_to_Office_Action_-
       ORIGINAL PDF FILE
                                                           _Final_05.27.2016.pdf
       CONVERTED PDF FILE(S)
                                                           \\TICRS\EXPORT16\IMAGEOUT16\867\217\86721790\xml5\ROA0002.JPG
       (18 pages)

                                                           \\TICRS\EXPORT16\IMAGEOUT16\867\217\86721790\xml5\ROA0003.JPG

                                                           \\TICRS\EXPORT16\IMAGEOUT16\867\217\86721790\xml5\ROA0004.JPG

                                                           \\TICRS\EXPORT16\IMAGEOUT16\867\217\86721790\xml5\ROA0005.JPG

                                                           \\TICRS\EXPORT16\IMAGEOUT16\867\217\86721790\xml5\ROA0006.JPG
                                                           \\TICRS\EXPORT16\IMAGEOUT16\867\217\86721790\xml5\ROA0007.JPG

                                                           \\TICRS\EXPORT16\IMAGEOUT16\867\217\86721790\xml5\ROA0008.JPG

                                                           \\TICRS\EXPORT16\IMAGEOUT16\867\217\86721790\xml5\ROA0009.JPG

                                                           \\TICRS\EXPORT16\IMAGEOUT16\867\217\86721790\xml5\ROA0010.JPG

                                                           \\TICRS\EXPORT16\IMAGEOUT16\867\217\86721790\xml5\ROA0011.JPG

                                                           \\TICRS\EXPORT16\IMAGEOUT16\867\217\86721790\xml5\ROA0012.JPG
                                                           \\TICRS\EXPORT16\IMAGEOUT16\867\217\86721790\xml5\ROA0013.JPG

                                                           \\TICRS\EXPORT16\IMAGEOUT16\867\217\86721790\xml5\ROA0014.JPG

                                                           \\TICRS\EXPORT16\IMAGEOUT16\867\217\86721790\xml5\ROA0015.JPG

                                                           \\TICRS\EXPORT16\IMAGEOUT16\867\217\86721790\xml5\ROA0016.JPG

                                                           \\TICRS\EXPORT16\IMAGEOUT16\867\217\86721790\xml5\ROA0017.JPG
         Case 2:20-cv-09091-PA-AS Document 174-2 Filed 10/26/21 Page 59 of 139 Page ID
                                            #:8793

                                 \\TICRS\EXPORT16\IMAGEOUT16\867\217\86721790\xml5\ROA0018.JPG
                                 \\TICRS\EXPORT16\IMAGEOUT16\867\217\86721790\xml5\ROA0019.JPG
                                 Argument and evidence in the form of records from the USPTO database and images of
DESCRIPTION OF EVIDENCE FILE
                                 Applicant's website.
NEW ATTORNEY SECTION
NAME                             Sean M. McChesney
FIRM NAME                        Focal PLLC
OTHER APPOINTED ATTORNEY         Joe Skocilich; Venkat Balasubramani
STREET                           900 1st Avenue S., Suite 203
CITY                             Seattle
STATE                            Washington
ZIP/POSTAL CODE                  98134
COUNTRY                          United States
PHONE                            2066173040
FAX                              2062603966
EMAIL                            sean@focallaw.com
AUTHORIZED EMAIL COMMUNICATION   Yes
NEW CORRESPONDENCE SECTION
NAME                             Sean M. McChesney
FIRM NAME                        Focal PLLC
STREET                           900 1st Avenue S., Suite 203
CITY                             Seattle
STATE                            Washington
ZIP/POSTAL CODE                  98134
COUNTRY                          United States
PHONE                            2066173040
FAX                              2062603966
EMAIL                            sean@focallaw.com;trademark@focallaw.com
AUTHORIZED EMAIL COMMUNICATION   Yes
SIGNATURE SECTION
RESPONSE SIGNATURE               /smm/
SIGNATORY'S NAME                 Sean M McChesney
SIGNATORY'S POSITION             Attorney of record, Washington bar member
SIGNATORY'S PHONE NUMBER         2066173040
DATE SIGNED                      05/27/2016
AUTHORIZED SIGNATORY             YES
FILING INFORMATION SECTION
SUBMIT DATE
                                 IFri May 27 18:40:32 EDT 2016
               Case 2:20-cv-09091-PA-AS Document 174-2 Filed 10/26/21 Page 60 of 139 Page ID
                                                  #:8794

                                                           USPTO/ROA-XX.XX.XX.XXX-20
                                                           160527184032546643-867217
                                                           90-550acf3e3a29955164d35c
 TEAS STAMP
                                                           ce5f0e92f4c6c4b42ae25bacc
                                                           be494b4655408ccefc12-N/A-
                                                           N/A-20160527181621868995




Under the Paperwork Reduction Act of 1995 no persons are required to respond to a collection of information unless it displays a valid OMB control number.
PTO Form 1957 (Rev 10/2011)
OMB No. 0651-0050 (Exp 07/31/2017)



                                                                   Response to Office Action
To the Commissioner for Trademarks:

Application serial no. 86721790 THRIVE CAUSEMETICS(Standard Characters, see http://tmng-al.uspto.gov/resting2/api/img/86721790/large)
has been amended as follows:

ARGUMENT(S)
In response to the substantive refusal(s), please note the following:

Please see the actual argument text attached within the Evidence section.

EVIDENCE
Evidence in the nature of Argument and evidence in the form of records from the USPTO database and images of Applicant's website. has been
attached.
Original PDF file:
evi_2-713739202-20160527181621868995_._ive_Causemetics_Response_to_Office_Action_-_Final_05.27.2016.pdf
Converted PDF file(s) ( 18 pages)
Evidence-1
Evidence-2
Evidence-3
Evidence-4
Evidence-5
Evidence-6
Evidence-7
Evidence-8
Evidence-9
Evidence-10
Evidence-11
Evidence-12
Evidence-13
Evidence-14
Evidence-15
Evidence-16
Evidence-17
Evidence-18

ATTORNEY ADDRESS
Applicant proposes to amend the following:
Proposed:
Sean M. McChesney of Focal PLLC, having an address of
900 1st Avenue S., Suite 203 Seattle, Washington 98134
United States
sean@focallaw.com
2066173040
2062603966
          Case 2:20-cv-09091-PA-AS Document 174-2 Filed 10/26/21 Page 61 of 139 Page ID
                                             #:8795

The Other Appointed Attorney(s): Joe Skocilich; Venkat Balasubramani.

CORRESPONDENCE ADDRESS CHANGE
Applicant proposes to amend the following:
Proposed:
Sean M. McChesney of Focal PLLC, having an address of
900 1st Avenue S., Suite 203 Seattle, Washington 98134
United States
sean@focallaw.com;trademark@focallaw.com
2066173040
2062603966



SIGNATURE(S)
Response Signature
Signature: /smm/ Date: 05/27/2016
Signatory's Name: Sean M McChesney
Signatory's Position: Attorney of record, Washington bar member

Signatory's Phone Number: 2066173040

The signatory has confirmed that he/she is an attorney who is a member in good standing of the bar of the highest court of a U.S. state, which
includes the District of Columbia, Puerto Rico, and other federal territories and possessions; and he/she is currently the owner's/holder's attorney
or an associate thereof; and to the best of his/her knowledge, if prior to his/her appointment another U.S. attorney or a Canadian attorney/agent
not currently associated with his/her company/firm previously represented the owner/holder in this matter: (1) the owner/holder has filed or is
concurrently filing a signed revocation of or substitute power of attorney with the USPTO; (2) the USPTO has granted the request of the prior
representative to withdraw; (3) the owner/holder has filed a power of attorney appointing him/her in this matter; or (4) the owner's/holder's
appointed U.S. attorney or Canadian attorney/agent has filed a power of attorney appointing him/her as an associate attorney in this matter.

Mailing Address: Sean M. McChesney
 Focal PLLC
 900 1st Avenue S., Suite 203
 Seattle, Washington 98134

Serial Number: 86721790
Internet Transmission Date: Fri May 27 18:40:32 EDT 2016
TEAS Stamp: USPTO/ROA-XX.XX.XX.XXX-20160527184032546
643-86721790-550acf3e3a29955164d35cce5f0
e92f4c6c4b42ae25baccbe494b4655408ccefc12
-N/A-N/A-20160527181621868995
Case 2:20-cv-09091-PA-AS Document 174-2 Filed 10/26/21 Page 62 of 139 Page ID
                                   #:8796




                  IN THE UNITED STATES PATENT AND TRADEMARK OFFICE



     MARK:                            THRIVE CAUSEMETICS
     SERIAL NO:                       86721790
     FILED:                           August 11 , 2015
     APPLICANT:                       Thrive Causemetics, Inc.
     EXAMINING ATTORl'lEY:            Ellen J. Perkins
     TRADEMARK LAW OFFICE:            110


                                  RESPONSE TO OFFICE ACTION

            Thrive Causemetics, Inc. ("Applicant") responds to the Office Action dated November

     30, 2015, in connection with application Serial Number 86721790, as follows:

     I.     SECTION 2D REFUSAL

            In the Office Action, the examining attorney issued a Section 2(d) refusal of Applicant's

     mark THRIVE CAUSEMETICS, citing a likelihood of confusion with the marks in U.S.

     Registration No. 2938220, CAUSE-METICS, and U.S. Registration No. 4467942, THRIVE.

     Applicant respectfully submits that confusion is not likely because the additional words       111


     Applicant's mark, which were not properly considered by the exam111111g attorney, result 111

     material differences in appearance, sound, connotation and commercial impression. There are

     also differences in the goods provided by Applicant, and when considered together with the

     differences between Applicant's mark and the cited marks, a finding of likelihood of confusion is

     unfounded.

            A.     The Office Action Fails to Propedy Analyze Whethe1· Applicant's Mark is
                   Similar to the Cited Registered Marks.

            The examining attorney correctly cites In re E.I. du Pont de Nemours & Co. for the

     controlling rule in determining whether two marks are confusingly similar, and indicates that the




                                                    -1-
Case 2:20-cv-09091-PA-AS Document 174-2 Filed 10/26/21 Page 63 of 139 Page ID
                                   #:8797




     most relevant du Pont factors are the similarity or dissimilarity of the marks, similarity or

     dissimilarity of the goods and/or services, and similarity or dissimilarity of the channels of trade.

     However, the office action fails to apply the first du Pont factor, the similarity or dissimilarity of

     the marks. In the section of the office action titled " Comparison of the Marks," no actual

     comparison of Applicant's mark to the registered marks is made. The office action only states in

     conclusory fashion that "applicant' s mark is similar to the marks in the cited U.S. Registrations,"

     and that " the marks are identical in part." Absent from this section is any actual discussion or

     analysis regarding the similarities or dissimilarities of the marks in appearance, sound,

     connotation and commercial impression.

            Under du Pont, when comparing two marks, one must examme the similarity or

     dissimilarity of the marks in their entireties as to appearance, sound, connotation and

     commercial impression. In re E. I Du Pont de Nemours & Co. , 476 F.2d 1357, 1361 (C.C.P.A.

     1973) (emphasis added). In simply concluding that Applicant's mark is " identical in part" to the

     registered marks, the office action fails to examine Applicant's mark in its entirety, in each case

     focusing only on that portion of Applicant's mark which is similar to the cited mark, and

     ignoring that portion of Applicant' s mark which is dissimilar to the cited mark.

            Although not stated in the office action, the examining attorney appears to have taken the

     position that, with respect to the cited THRIVE registration, the "THRIVE" portion of

     Applicant's THRIVE CAUSEMETICS mark is dominant, but with respect to the cited CAUSE-

     METICS registration, the "CAUSEMETICS" portion is the dominant element. But, as discussed

     in more detail below, there is no justification for doing so. THRIVE CAUSEMETICS is a

     compound, unitary word mark, consisting of two distinct te1ms which both contribute to create

     the overall commercial impression of Applicant' s mark.




                                                      -2-
Case 2:20-cv-09091-PA-AS Document 174-2 Filed 10/26/21 Page 64 of 139 Page ID
                                   #:8798




            1.      The Office Action Fails to Address Dissimilarities Between Applicant's THRIVE
                    CAUSEMETICS Mark and the CAUSE-METICS Mark.

            Applicant's mark contains the word "THRIVE," a word that is absent from the cited

     CAUSE-METICS mark. Yet, in coming to the conclusion that Applicant's THRIVE

     CAUSEMETICS mark is similar to the CAUSE-METICS mark, the examining attorney fails to

     address the "THRIVE" portion of Applicant's mark. There can be no argument that the

     additional word " THRIVE" necessarily causes Applicant's mark to be different from the

     CAUSE-METICS mark in appearance, sound, connotation and commercial impression to some

     degree. But the office action contains no discussion at all of the "THRIVE" po11ion of

     Applicant' s mark. The failure to consider the " THRIVE" portion of Applicant's mark when

     analyzing the similarity or dissimilarity of the marks violates the anti-dissection rule and is

     clearly erroneous:

            We agree with Packard that the Board improperly dissected the marks. In this
            case, the Board only considered the similar commercial impression of part of the
            marks - the shared word PACKARD - before concluding that the marks were
            similar . . . . However, the Board failed to make any findings at all as to the
            appearance or sound of the marks, and without any explanation, considered only
            the PACKARD portion of HEWLETT-PACKARD.

     Packard Press, Inc. v. Hewlett-Packard Co., 227 F.3d 1352, 1357-58 (Fed. Cir. 2000); see also

     In re Hearst, 982 F.2d 493 , 494 (Fed. Cir. 1992) (reversing TTAB ' s finding of likelihood of

     confusion where only "varga" portion of the marks was similar, because " [b ]y stressing the

     portion 'varga ' and diminishing the portion 'girl ', the Board inappropriately changed the mark");

     In re Nat '! Data Corp. , 753 F.2d 1056, 1058, 224 USPQ 749, 751 (Fed. Cir. 1985) ("likelihood

     of confusion cannot be predicated on dissection of a mark, that is, on only part of a mark").

            In determining whether two marks are similar, it may be appropriate in some instances to

     give more or less weight to one particular word in a mark, "p rovided the ultimate conclusion




                                                     -3-
Case 2:20-cv-09091-PA-AS Document 174-2 Filed 10/26/21 Page 65 of 139 Page ID
                                   #:8799




     rests on consideration of the marks in their entireties." In re Nat '! Data Corp., 753 F.2d at 1058

     (emphasis added). Here, however, the office action articulates no reason for giving less weight to

     the word "THRIVE" in Applicant's mark, or more weight to the word " CAUSEMETICS."

     Indeed, the office action does not even address the word "THRIVE" in coming to the conclusion

     that Applicant' s THRIVE CAUSEMETICS mark is confusingly similar to the THRIVE mark,

     and thereby gives "THRIVE" no weight at all. This is improper, as even in instances where a

     portion of a mark is generic, descriptive or has been disclaimed, that portion must be considered

     and afforded some weight. See Opryland USA Inc. v. Great Am. Music Show, Inc., 970 F .2d 84 7,

     851 (Fed. Cir. 1992) (Board erred by giving no weight to generic term); see also Shen Mfg. Co.

     v. Ritz Hotel, Ltd., 393 F.3d 1238, 1243 (Fed. Cir. 2004) ("The disclaimed elements of a mark,

     however, are relevant to the assessment of similarity. This is so because confusion is evaluated

     from the perspective of the purchasing public, which is not aware that certain words or phrases

     have been disclaimed.").

            Moreover, even if the examining attorney were to have considered the word 'THRIVE"

     in Applicant' s mark, there would be no reason for giving less weight to "THRIVE." While

     generic or descriptive terms may properly be given less weight, In re Nat '! Data Cmp. , 753 F.2d

     at 1058, the word "THRIVE" is neither generic nor descriptive as used in connection with the

     goods contained in Applicant's application, namely, false eyelashes, adhesives for affixing false

     eyelashes, eyeliner and eyebrow cosmetics.

            The office action states that "adding a tenn to a registered mark generally does not

     obviate the similarity between the compared marks .. . nor does it overcome a likelihood of

     confusion under Section 2(d)." But this is an incorrect statement of the law. Rather, as set f01th

     in TMEP § 1207.0l(b)(iii), likelihood of confusion " is not necessarily avoided" by the addition




                                                     -4-
Case 2:20-cv-09091-PA-AS Document 174-2 Filed 10/26/21 Page 66 of 139 Page ID
                                   #:8800




     of another term, but an additional te1m "may be sufficient to avoid a likelihood of confusion if ..

     . the marks in their entireties convey significantly different commercial impressions." As

     discussed above, the examining attorney has failed to consider Applicant' s mark in its entirety.

     Additionally, the cases cited in the office action addressing the significance of an additional term

     in a mark are inapposite, as discussed below.

            The office action cites to Coca-Cola Bottling Co. v. Jos. E. Seagram & Sons, Inc., 526

     F.2d 556, 188 USPQ 105 (C.C.P.A. 1975), in which the C.C.P.A. found that the additional word

     "LANCER" in the mark BENGAL LANCER and design did not overcome a likelihood of

     confusion with the mark BENGAL. But as the C.C.P.A. stated, the addition of the word

     "LANCER" and a design did not significantly change the commercial impression of the mark

     because both BENGAL and BENGAL LANCER with design related to, and reinforced the

     connection of the mark with, the country ofindia:

                    the relationship between BENGAL LANCER and BENGAL is close.
                    Appellant's description of the book forming the basis of its separate-
                    meaning argument shows that a significant portion deals with India.
                    Moreover, the soldier in the design portion of the mark, with his turban
                    and beard, is clearly an Indian Sikh.

     Coca-Cola Bottling Co. , 526 F.2d at 557-58, 188 USPQ at 106. Here, however, the additional

     word "THRIVE" in Applicant's mark does not act in a similar way to merely reinforce the

     significance of the "CAUSEMETICS" portion of the mark. Rather, it is an integral part of a

     unitary mark, and contributes to the commercial impression of healthy growth and progress as

     related to the goods which are provided under the mark.

            The office action also cites to In re El Torito Rests., Inc., 9 USPQ2d 2002 (TTAB 1988),

     in which the TTAB found that the additional word "COMBOS" in the mark MACHO COMBOS

     did not overcome a likelihood of confusion with the mark MACHO. However, that case is also

     distinguishable. There, the TTAB determined that there was no resulting difference in


                                                     -5-
Case 2:20-cv-09091-PA-AS Document 174-2 Filed 10/26/21 Page 67 of 139 Page ID
                                   #:8801




     commercial impression because the added word "COMBO" was merely a descriptive term: "The

     addition of the descriptive word "COMBO" does not alter the meaning of the word "MACHO",

     nor does it change the connotation of the mark from that of "MACHO" alone." Id. at 2004. The

     TTAB ' s decision also rested on a detennination that the word "MACHO" was the dominant

     portion of both marks. Id. However, here, the additional word "THRIVE" is not a descriptive

     term, and as discussed above, there is no reason to accord less weight to the word "THRIVE" in

     Applicant's mark. Consequently, In re El Torito is also inapposite here.

            2.        The Office Action Fails to Address Dissimilarities Between Applicant's THRIVE
                      CAUSEMETICS Mark and the THRIVE Mark.

             Just as the office action failed to consider Applicant's mark in its entirety when

     determining whether Applicant's mark is similar to the CAUSE-METICS mark, the office action

     failed to consider Applicant's mark in its entirety in concluding that Applicant's mark is similar

     to the THRIVE mark. The office action contains no discussion of what effect the additional word

     CAUSEMETICS has on the appearance, sound, connotation or commercial impression when

     compared to the THRIVE mark. Rather, just as above, the examining attorney merely states that

     " applicant's mark is similar to the marks in the cited U.S. Registrations," and that "the marks are

     identical in part." Again, the additional word CAUSEMETICS in Applicant's mark necessarily

     results in differences in the appearance, sound, connotation and commercial impression between

     Applicant's mark and the THRIVE mark, and those differences are given no consideration in the

     office action.

            Nor does the office action provide any reason why the term "CAUSEMETICS" should be

     given less weight than the word "THRIVE" when making a comparison of the two marks. And,

     again, even if the examining attorney were to examine whether the term " CAUSEMETICS"

     should be given less weight, there is no reason to do so. The term "CAUSEMETICS" is not


                                                     -6-
Case 2:20-cv-09091-PA-AS Document 174-2 Filed 10/26/21 Page 68 of 139 Page ID
                                   #:8802




     generic or descriptive. Rather, it is a distinct, coined term.

             The cases cited in the office action, for the same reasons as discussed above, also do not

     support a finding of likelihood of confusion.

             The conclusory statements in the office action are not enough to sustain the examining

     attorney' s burden to demonstrate that Applicant' s THRIVE CAUSEMETICS mark is

     confusingly similar to the registered THRIVE mark. When the respective marks are considered

     in their entireties, with due consideration to the differences in the marks, namely the additional

     word in Applicant' s mark, a finding of likelihood of confusion is unfounded.

             B.      The Goods in Applicant's Application Are Different Than Those in the
                     THRIVE Registrntion.

             While the examining attorney argues that Applicant's goods and those in the THRIVE

     registration are related, the relatedness of goods must be considered together with the similarity

     of the marks when making a determination of likelihood of confusion. The more similar the

     marks at issue are, the less similar the goods or services need to be to support a finding of

     likelihood of confusion. In re Shell Oil Co. , 992 F.2d 1204, 1207, 26 USPQ2d 1687, 1689 (Fed.

     Cir. 1993); Gen. Mills, Inc. v. Fage Dai,y Processing Indus. SA. , 100 USPQ2d 1584, 1597

     (TTAB 2011). If the marks of the respective parties are identical or virtually identical, the

     relationship between the goods and/or services need not be as close to support a finding of

     likelihood of confusion as would be required if there were differences between the marks. Shell

     Oil, 992 F.2d at 1207, 26 USPQ2d at 1689; In re Davey Prods. Pty Ltd. , 92 USPQ2d 1198, 1202

     (TTAB 2009).

             Here, it is clear that Applicant' s THRIVE CAUSEMETICS mark is neither identical nor

     virtually identical to the THRIVE mark. Applicant' s mark contains an entirely new additional

     element, which is a distinctive coined term. Therefore, there is no lessened standard with respect


                                                       -7-
Case 2:20-cv-09091-PA-AS Document 174-2 Filed 10/26/21 Page 69 of 139 Page ID
                                   #:8803




     to the relatedness of the goods. The specific goods in Applicant's application are not identical to

     those in the THRIVE registration, and the examining attorney does not attempt to argue that they

     are. Nor are Applicant's goods even in the same category as those in the THRIVE registration.

     The common category of Applicant's goods is cosmetics, while the common category of the

     goods in the THRIVE registration is skincare and shaving products. Such products are found in

     different aisles or departments than standard make-up cosmetics, such as eyeliner, and are

     distinctly different types of consumer goods. Given the dissimilarity in the marks, a higher nexus

     in the relatedness of the parties' goods is required to support a finding of likelihood of confusion.

            Lastly, there is at least one other current trademark registration approved for publication,

     THRIVE TREE (Serial No. 86701794), which uses the word "THRIVE" in connection within

     the broad classification of body, skin care and various types of cosmetics. See attached Exhibit

     A_. Such use shows that "THRIVE" is commonly used in various market segments to connote a

     healthy lifestyle and that consumers would look to other indicators to differentiate the marks.

     Where a common element of a compound word mark with another mark is "weak," confusion is

     unlikely, particularly where there is no other commonality. See In re Bed & Brea!.fast Registry,

     791 F.2d 157, 159, 229 USPQ 818, 819 (Fed. Cir. 1986).

     II.    PRIOR FILED APPLICATION SERIAL NO. 85726058

            The examining attorney has stated that action on Applicant's registration will be

     suspended upon receipt of a response to the office action because of a possible likelihood of

     confusion between Applicant's mark and the mark in U.S. Application Serial No. 85726058

     which has an earlier filing date. U.S. Application Serial No. 85726058 was abandoned on May

     16, 2016, due to a failure to file a statement of use or an extension of time. Consequently, U.S.

     Application Serial No. 85726058 is no longer a proper basis on which to deny registration of



                                                      -8-
Case 2:20-cv-09091-PA-AS Document 174-2 Filed 10/26/21 Page 70 of 139 Page ID
                                   #:8804




     Applicant's mark.

     III.   REQUIREMENT TO DISCLAIM "COSMETICS"

            A.      "CAUSEMETICS" Need Not Be Disclaimed Because it is not Merely a
                    Misspelling of the Descriptive Wo1·d "COSMETICS."

            The office action states that Applicant must submit a disclaimer of the word

     "COSMETICS" because the word "COSMETICS" is merely descriptive. However, Applicant' s

     mark does not contain the word "COSMETICS." Rather, Applicant's mark contains the word

     "CAUSEMETICS." The examining attorney's position seems to be that "CAUSEMETICS" is

     nothing more than a misspelling of"COSMETICS." However, this is not the case.

            The word "CAUSEMETICS" (and in particular the "CAUSE" portion of the word) 1s

     suggestive of the charitable purpose of Applicant's business. See evidence submitted herewith as

     Exhibit B, consisting of portions of Applicant's website describing the charitable aspect of

     Applicant's business. In other words, "CAUSEMETICS" would not be perceived by consumers

     as "just a misspelling of a descriptive or generic word, but as having a dual meaning." See In re

     Dean S. Carlson, 91 USPQ2d 1198, 1201-1202 (TTAB 2009); In re Grand Metro. Foodservice,

     Inc., 30 USPQ2d 1974, 1975-1976 (TTAB 1994) (finding "MUFFUNS" would be perceived as

     more than just a misspelling of "MUFFINS," thereby rendering a different commercial

     impression or connotation).

            The issue presented here is nearly identical with that presented in In re Tea & Sympathy,

     Inc. , 88 USPQ2d 1062 (TTAB 2008). In that case, the applicant had applied for registration of

     the trademark THE FARMACY for "retail store services featuring natural herbs and organic

     products; and on-line retail store services featuring natural herbs and organic products" (in

     International Class 35), and "providing integrated health services at retail locations in the nature

     of dietary and nutritional guidance and providing information about dietary supplements and



                                                     -9-
Case 2:20-cv-09091-PA-AS Document 174-2 Filed 10/26/21 Page 71 of 139 Page ID
                                   #:8805




     nutrition." The trademark examining attorney refused registration in both classes on the ground

     that the designation THE F ARMACY, when used in connection with applicant's services, was

     merely descriptive. On appeal to the TTAB, the Board reversed, finding that applicant's mark

     was more than just an alternate spelling of "the pharmacy":

                    We find that the mark THE F ARMACY, as used in connection with
                    applicant' s services, is more than simply a misspelling of "the pharmacy."
                    Consumers are not likely to perceive that mark as just a misspelling, but
                    rather as a play on the natural or farm-fresh characteristics of applicant' s
                    herbs and organic products used for medicinal purposes featured in
                    applicant's services. Thus, the mark conveys a dual meaning, that of the
                    natural aspect of the goods sold by applicant and of a pharmacy.
                    Applicant' s mark is inventive and just clever enough, being an obvious
                    play on "the pharmacy" and "farm," so that the meaning or commercial
                    impression of applicant ' s mark will be more than simply "the pharmacy."
                    Accordingly, applicant's mark is not merely descriptive.
     Id. at 1062.

            Just as in the above case, the term CAUSEMETICS in Applicant' s mark conveys a dual

     meaning. It is both suggestive of Applicant' s products and suggestive of the charitable aspect of

     Applicant's business (i.e., the sale of products "for a cause"). The meaning or commercial

     impression of the term CAUSEMETICS to consumers is therefore different from that of the

     word "COSMETICS." As a result, the term "CAUSEMETICS" is not merely descriptive.

            B.      "CAUSEMETICS" Fonns Part of a Unitary Ma1·k and Therefoi-e Need Not
                    Be Disclaimed.

            Even if the tenn "CAUSEMETICS" was merely the functional equivalent of the word

     " COSMETICS," the term "CAUSEMETICS" forms part of a composite mark, which is unitary,

     and therefore "CAUSEMETICS" need not be disclaimed.

            A composite mark is one which is comprised of, among other things, multiple words.

     TMEP §1213.02. Where a composite mark is unitary, an individual component of the mark that

     would otherwise be unregistrable need not be disclaimed. See TMEP §§1213.05-1213.0S(g)(iv).

     A mark or portion of a mark is considered "unitary" when it creates a commercial impression


                                                    -10-
Case 2:20-cv-09091-PA-AS Document 174-2 Filed 10/26/21 Page 72 of 139 Page ID
                                   #:8806




     separate and apart from any unregistrable component. The presence of a verb m a mark 1s

     indicative of a unitary mark. TMEP §1213.0S(b)(ii)(A).

            Here, Applicant' s mark is comprised of two tenns, "THRIVE" and " CAUSEMETICS."

     Consequently, it is a composite mark. The word "THRIVE" is a verb, which forms a phrase

     when combined with the object of the phrase being "CAUSEMETICS." The subject of this

     unitary phrase is the consumer who is given the commercial impression that the Applicant's

     products are associated with healthy growth and progress. This indicates that Applicant's mark is

     a unitary mark. Consequently, the "CAUSEMETICS" term in Applicant 's mark need not be

     disclaimed.

     IV.    CONCLUSION

            Having addressed each of the issues raised in the office action, and for the reasons

     discussed above, Applicant respectfully requests that the refusal to register Applicant's THRIVE

     CAUSEMETICS mark be withdrawn, and that the mark be allowed to proceed to registration.

            Dated: May 27, 2016.                          Respectfully Submitted,

                                                          Focal PLLC

                                                          By: s/ Sean M McChesnev
                                                          Sean M. McChesney
                                                          Joseph Skocilich
                                                          900 1st Avenue S., Suite 203
                                                          Seattle, WA 98134
                                                          Email: sean@focallaw.com
                                                          Phone: 206.617.3040
                                                          Fax: 206.260.3966




                                                   -11-
Case 2:20-cv-09091-PA-AS Document 174-2 Filed 10/26/21 Page 73 of 139 Page ID
                                   #:8807




                             EXHIBIT A
  Case 2:20-cv-09091-PA-AS Document 174-2 Filed 10/26/21 Page 74 of 139 Page ID
                                     #:8808
5/27/2016                                                 Trademark Electronic Search System (TESS)


                  United States Patent and Trademark Office

                         I        I        I     I           I        I         I           I
                  Home Site Index Search FAQ Glossary Guides Contacts eBusiness eBiz alerts News Help I   I
   Trademarks > Trademark Electronic Search System (TESS)

 TESS was last updated on Fri May 27 03:21 :44 EDT 2016


;;;+9.;;;; iiiiih!ii huiifitMil %1AH•i&i Hli9\%1%1 MMi@l!•H M=i-1:1-41 MOUW -GliJ;J.hi . . . .
--HMi•Mi•4,i-Mi
I Logout IPlease logout when you are done to release system resources allocated for you.

 ~
 r;;;:::;-i    .
              List At:   L   _J OR ~
                                   ~ to record:                  7 Record 1 out of 2


 _ m f3.f1@iii¢M i■@iifiHH {Use the "Back" button of the Internet Browser to return to
 TESS)




  THRIVE TREE
 Word Mark THRIVE TREE
 Goods and IC 003. US 001 004 006 050 051 052. G & S: Essential oils; Beauty and skin care topical non-medicated treatment
 Services  creams; Anti-aging solutions in the form of creams and moisturizers; cosmetic non-medicated lotions; skin care
           cream preparations; lotions, gels, and oils for skin care; body and foot scrubs

                   IC 005. US 006 018 044 046 051 052. G & S: Dietary supplements; Food supplements; Nutritional supplements;
                   Acne treatment preparations
 Standard
 Characters
 Claimed
 Mark
 Drawing           (4) STANDARD CHARACTER MARK
 Code
 Serial
                   86701794
 Number
 Filing Date July 22, 2015
 Current
                   1B
 Basis
 Original
 Filing     1B
 Basis
 Published
 for        March 1, 2016
 Opposition
 Owner             (APPLICANT) Thrive Tree L.L.C. LIMITED LIABILITY COMPANY WASHINGTON Suite 11242 State Ave. Marysville
                   WASHINGTON 98270

 Type of
                   TRADEMARK
 Mark

http://tmsearch.uspto.gov/bin/showfield?f=doc&state=4803:pmqwp6.2.1                                                             1/2
  Case 2:20-cv-09091-PA-AS Document 174-2 Filed 10/26/21 Page 75 of 139 Page ID
                                     #:8809
5/27/2016                                                  Trademark Electronic Search System (TESS)

 Register       PRINCIPAL
 Live/Dead
           LIVE
 Indicator


iih¥Hii4 ld4W;• Viui'GtMH ;;;;;;;.;,;q 1%\&i·M WWilg.;f MME ◄M•M IGIIH'dl Gi!Ajihi Mi4514Gi
141Mifi•I ■lil4\IMI Wffi•tM i4U•Mi
                                          I .HOME I SITE INDEX I SEARCH I eBUSINESS I HELP I PRIVACY POLICY




http://tmsearch.uspto.gov/bin/ showfield?f=doc&state=4803:pmqwp6.2.1                                          2/2
Case 2:20-cv-09091-PA-AS Document 174-2 Filed 10/26/21 Page 76 of 139 Page ID
                                   #:8810




                             EXHIBIT B
Case 2:20-cv-09091-PA-AS Document 174-2 Filed 10/26/21 Page 77 of 139 Page ID
                                   #:8811




                                                                          a
                                                                           □      I



                                                                           \)     "
                                                                          ;;,..
                                                                           Ill x
                                  Case 2:20-cv-09091-PA-AS Document 174-2 Filed 10/26/21 Page 78 of 139 Page ID
                                                                     #:8812

O HowweGtvel ThfiveC.a   x                                                                                                                                                                                             Cl     X

+-     C ti        https://thrivecausemetics.com/ pages/how-we-give                                                                                                                                         e.* 0   mo ~    I'■~


                                                                      "Without Thrive, my life with cancer would be impossible. Your
                                                                       products and support mean the world. Thank you." -Patri<iao




                                                                                                                 ~ ~;Ht a rwq:,ow
                                                                                                      For CVefY product you purchusc, we donate one lo II woman m need




                                                                                       0                                             ®                                         0
                                                                                     Purchase                                        Plan                                       Give
                                                                           5.:,le,ollhriveC.tu~~prod\lCtS             We<ofljOQl",tewi:hoorGivfogPartners       We deive,-ourprod\lca • $1!1'VICHto
                                                                          promptgivirigchroughtWr~.Ntywitl'hl           10 di$1rt001e product,; .Jnd provide   women IOllli th"ough l;,Jl'll;l!r tre~ment
                                                                                    P~prog,-Mn                                  lril>nlng&5'f'Vit~             ,1th(lwrt~s +evtntu roundthel'l'Ori(I
                                            Case 2:20-cv-09091-PA-AS Document 174-2 Filed 10/26/21 Page 79 of 139 Page ID
                                                                               #:8813



..
0    Thriv~ C.ousC!TM.'lics

            C     d      & https://thrivecausemetics.com                                                                                                                              ~* 0
                                                                                                                                                                                                   0   X

                                                                                                                                                                                             m □ .1 t'. =




                                                                                                  wutrwitlt ar'W!fOW
                                                                                     For fNerY product you purchase. we donate one to a woman in need.




                                                                                                        E D I T OR 'S PICK S




                                                            lnfinityWa,tefl)rOOtEvebrowLIMr""             Tripk ThrutColor5tick"'              Infinity Waterproof Lash Adhffive'"'
                                                                          l2J                                       $36                                        $16
                                                                                                                *****                                      *****
Case 2:20-cv-09091-PA-AS Document 174-2 Filed 10/26/21 Page 80 of 139 Page ID
                                   #:8814




      TRIAL EXHIBIT NO. 136
         Case 2:20-cv-09091-PA-AS Document 174-2 Filed 10/26/21 Page 81 of 139 Page ID
                                            #:8815

To:                   Thrive Causemetics, Inc. (sean@focallaw.com)
Subject:              U.S. TRADEMARK APPLICATION NO. 86721790 - THRIVE CAUSEMETICS - N/A
Sent:                 6/22/2016 7:47:14 AM
Sent As:              ECOM110@USPTO.GOV
Attachments:

                                   UNITED STATES PATENT AND TRADEMARK OFFICE (USPTO)
                         OFFICE ACTION (OFFICIAL LETTER) ABOUT APPLICANT’S TRADEMARK APPLICATION



                      U.S. APPLICATION SERIAL NO. 86721790


                      MARK: THRIVE CAUSEMETICS
                                                                           *86721790*
                      CORRESPONDENT ADDRESS:
                        Sean M. McChesney                                  CLICK HERE TO RESPOND TO THIS
                                                                           LETTER:
                          Focal PLLC
                                                                           http://www.uspto.gov/trademarks/teas/response_forms.jsp
                         900 1st Avenue S., Suite 203
                          Seattle WA 98134
                                                                           VIEW YOUR APPLICATION FILE


                      APPLICANT: Thrive Causemetics, Inc.


                      CORRESPONDENT’S REFERENCE/DOCKET
                      NO:
                         N/A
                      CORRESPONDENT E-MAIL ADDRESS:
                         sean@focallaw.com




                                                        FINAL OFFICE ACTION


                                    STRICT DEADLINE TO RESPOND TO THIS LETTER
TO AVOID ABANDONMENT OF APPLICANT’S TRADEMARK APPLICATION, THE USPTO MUST RECEIVE APPLICANT’S
COMPLETE RESPONSE TO THIS LETTER WITHIN 6 MONTHS OF THE ISSUE/MAILING DATE BELOW.


ISSUE/MAILING DATE: 6/22/2016


THIS IS A FINAL ACTION.


TEAS PLUS OR TEAS REDUCED FEE (TEAS RF) APPLICANTS – TO MAINTAIN LOWER FEE, ADDITIONAL
REQUIREMENTS MUST BE MET, INCLUDING SUBMITTING DOCUMENTS ONLINE: Applicants who filed their application online
using the lower-fee TEAS Plus or TEAS RF application form must (1) file certain documents online using TEAS, including responses to Office
actions (see TMEP §§819.02(b), 820.02(b) for a complete list of these documents); (2) maintain a valid e-mail correspondence address; and (3)
agree to receive correspondence from the USPTO by e-mail throughout the prosecution of the application. See 37 C.F.R. §§2.22(b), 2.23(b);
TMEP §§819, 820. TEAS Plus or TEAS RF applicants who do not meet these requirements must submit an additional processing fee of $50 per
international class of goods and/or services. 37 C.F.R. §§2.6(a)(1)(v), 2.22(c), 2.23(c); TMEP §§819.04, 820.04. However, in certain situations,
          Case 2:20-cv-09091-PA-AS Document 174-2 Filed 10/26/21 Page 82 of 139 Page ID
                                             #:8816

TEAS Plus or TEAS RF applicants may respond to an Office action by authorizing an examiner’s amendment by telephone without incurring
this additional fee.


This Office action is in response to applicant’s communication filed on May 27, 2016. In the foregoing communication the applicant argued
against the refusal to register and the requirement for a disclaimer. Based on a review of the Office records, the refusal with respect to U.S
Registration No. 4467942 is withdrawn. Additionally, the requirement for a disclaimer is withdrawn. The examining attorney remains of the
opinion that the applicant’s mark, when used in connection with the goods offered is confusingly similar to the mark in U.S. Registration No.
2938220. Accordingly, the refusal under Section 2(d) is hereby maintained and made FINAL.


Although, the examining attorney has carefully reviewed the applicant’s response, she is not persuaded by the applicant’s arguments for the
following reasons.


Refusal Section 2(d) – Likelihood of Confusion
Registration of the applied-for mark is refused because of a likelihood of confusion with the mark in U.S. Registration No. 2938220. Trademark
Act Section 2(d), 15 U.S.C. §1052(d); see TMEP §§1207.01 et seq. See the registration attached to the prior Office Action.


The applicant has applied to register the mark THRIVE CAUSEMETICS (standard characters) for “False eyelashes; adhesives for affixing false
eyelashes; eyeliner; and eyebrow cosmetics.”


The mark in U.S. Registration No. 2938220 is CAUSE-METICS (standard characters) for “Cosmetics; Cosmetics, namely foundation and toners;
blush; eye make-up; lip liners; lipsticks; nail polishers; creams, namely eye cream, lip cream and nail cream; skin lotions and suntan lotions; skin
cleaners, deodorant soaps and skin soaps; perfume.”


Trademark Act Section 2(d) bars registration of an applied-for mark that so resembles a registered mark that it is likely a potential consumer
would be confused, mistaken, or deceived as to the source of the goods and/or services of the applicant and registrant. See 15 U.S.C. §1052(d).
A determination of likelihood of confusion under Section 2(d) is made on a case-by case basis and the factors set forth in In re E. I. du Pont de
Nemours & Co., 476 F.2d 1357, 1361, 177 USPQ 563, 567 (C.C.P.A. 1973) aid in this determination. Citigroup Inc. v. Capital City Bank Grp.,
Inc., 637 F.3d 1344, 1349, 98 USPQ2d 1253, 1256 (Fed. Cir. 2011) (citing On-Line Careline, Inc. v. Am. Online, Inc., 229 F.3d 1080, 1085, 56
USPQ2d 1471, 1474 (Fed. Cir. 2000)). Not all the du Pont factors, however, are necessarily relevant or of equal weight, and any one of the
factors may control in a given case, depending upon the evidence of record. Citigroup Inc. v. Capital City Bank Grp., Inc., 637 F.3d at 1355, 98
USPQ2d at 1260; In re Majestic Distilling Co., 315 F.3d 1311, 1315, 65 USPQ2d 1201, 1204 (Fed. Cir. 2003); see In re E. I. du Pont de
Nemours & Co., 476 F.2d at 1361-62, 177 USPQ at 567.


In this case, the following factors are the most relevant: similarity of the marks, similarity and nature of the goods and/or services, and similarity
of the trade channels of the goods and/or services. See In re Viterra Inc., 671 F.3d 1358, 1361-62, 101 USPQ2d 1905, 1908 (Fed. Cir. 2012); In
re Dakin’s Miniatures Inc. , 59 USPQ2d 1593, 1595-96 (TTAB 1999); TMEP §§1207.01 et seq.


Comparison of the Marks
Marks are compared in their entireties for similarities in appearance, sound, connotation, and commercial impression. Stone Lion Capital
Partners, LP v. Lion Capital LLP, 746 F.3d 1317, 1321, 110 USPQ2d 1157, 1160 (Fed. Cir. 2014) (quoting Palm Bay Imps., Inc. v. Veuve
Clicquot Ponsardin Maison Fondee En 1772, 396 F. 3d 1369, 1371, 73 USPQ2d 1689, 1691 (Fed. Cir. 2005)); TMEP §1207.01(b)-(b)(v).
“Similarity in any one of these elements may be sufficient to find the marks confusingly similar.” In re Davia, 110 USPQ2d 1810, 1812 (TTAB
2014) (citing In re 1st USA Realty Prof’ls , Inc., 84 USPQ2d 1581, 1586 (TTAB 2007)); In re White Swan Ltd., 8 USPQ2d 1534, 1535 (TTAB
1988)); TMEP §1207.01(b).


The applicant argues that the marks are distinct because the term THRIVE distinguishes the applicant’s mark from the mark in the cited U.S.
Registration. The examining attorney does not find this argument persuasive.


Both marks contain the term CAUSEMETICS. Marks may be confusingly similar in appearance where similar terms or phrases or similar parts
of terms or phrases appear in the compared marks and create a similar overall commercial impression. See Crocker Nat’l Bank v. Canadian
Imperial Bank of Commerce, 228 USPQ 689, 690-91 (TTAB 1986), aff’d sub nom. Canadian Imperial Bank of Commerce v. Wells Fargo Bank,
Nat’l Ass’n , 811 F.2d 1490, 1495, 1 USPQ2d 1813, 1817 (Fed. Cir. 1987) (finding COMMCASH and COMMUNICASH confusingly similar);
In re Corning Glass Works, 229 USPQ 65, 66 (TTAB 1985) (finding CONFIRM and CONFIRMCELLS confusingly similar); In re Pellerin
Milnor Corp., 221 USPQ 558, 560 (TTAB 1983) (finding MILTRON and MILLTRONICS confusingly similar); TMEP §1207.01(b)(ii)-(iii).
          Case 2:20-cv-09091-PA-AS Document 174-2 Filed 10/26/21 Page 83 of 139 Page ID
                                             #:8817


The examining attorney notes that the registered mark contains a hyphen. However, small changes in words (e.g. hyphenation or spacing
changes, pluralization, phonetic substitution) are insufficient alone to distinguish marks. Thymo Borine Laboratory v. Winthrop Chemical
Company, Inc., 69 USPQ 512 (CCPA 1946); Steinway & Sons v. Robert Demars & Friends, et al., 210 USPQ 954 (C.D. Cal. 1981).


The examining attorney must resolve any doubt as to the issue of likelihood of confusion in favor of the registrant and against the applicant who
has a legal duty to select a mark which is totally dissimilar to trademarks already being used. Burroughs Wellcome Co. v. Warner-Lambert Co.,
203 USPQ 191 (TTAB 1979).


Comparison of the Goods and/or Services
The goods and/or services of the parties need not be identical or even competitive to find a likelihood of confusion. See On-line Careline Inc. v.
Am. Online Inc., 229 F.3d 1080, 1086, 56 USPQ2d 1471, 1475 (Fed. Cir. 2000); Recot, Inc. v. Becton, 214 F.3d 1322, 1329, 54 USPQ2d 1894,
1898 (Fed. Cir. 2000) (“[E] ven if the goods in question are different from, and thus not related to, one another in kind, the same goods can be
related in the mind of the consuming public as to the origin of the goods.”); TMEP §1207.01(a)( i).


The respective goods and/or services need only be “related in some manner and/or if the circumstances surrounding their marketing [be] such
that they could give rise to the mistaken belief that [the goods and/or services] emanate from the same source.” Coach Servs., Inc. v. Triumph
Learning LLC, 668 F.3d 1356, 1369, 101 USPQ2d 1713, 1722 (Fed. Cir. 2012) (quoting 7-Eleven Inc. v. Wechsler, 83 USPQ2d 1715, 1724
(TTAB 2007)); TMEP §1207.01(a)(i).


The applicant’s goods are “False eyelashes; adhesives for affixing false eyelashes; eyeliner; and eyebrow cosmetics.”


U.S. Registration No. 2938220
The goods in U.S. Registration No. 2938220 are “Cosmetics; Cosmetics, namely foundation and toners; blush; eye make-up; lip liners; lipsticks;
nail polishers; creams, namely eye cream, lip cream and nail cream; skin lotions and suntan lotions; skin cleaners, deodorant soaps and skin
soaps; perfume.”


Here, the applicant’s goods are highly similar to the registrant’s goods. With respect to applicant’s and registrant’s goods and/or services, the
question of likelihood of confusion is determined based on the description of the goods and/or services stated in the application and registration at
issue, not on extrinsic evidence of actual use. See Stone Lion Capital Partners, LP v. Lion Capital LLP, 746 F.3d 1317, 1323, 110 USPQ2d
1157, 1162 (Fed. Cir. 2014) (quoting Octocom Sys. Inc. v. Hous. Computers Servs. Inc., 918 F.2d 937, 942, 16 USPQ2d 1783, 1787 (Fed. Cir.
1990)).


Absent restrictions in an application and/or registration, the identified goods and/or services are “presumed to travel in the same channels of
trade to the same class of purchasers.” In re Viterra Inc., 671 F.3d 1358, 1362, 101 USPQ2d 1905, 1908 (Fed. Cir. 2012) (quoting Hewlett-
Packard Co. v. Packard Press, Inc., 281 F.3d 1261, 1268, 62 USPQ2d 1001, 1005 (Fed. Cir. 2002)). Additionally, unrestricted and broad
identifications are presumed to encompass all goods and/or services of the type described. See In re Jump Designs, LLC, 80 USPQ2d 1370, 1374
(TTAB 2006) (citing In re Elbaum, 211 USPQ 639, 640 (TTAB 1981)); In re Linkvest S.A., 24 USPQ2d 1716, 1716 (TTAB 1992).


In this case, the identification set forth in the application and registration(s) has no restrictions as to nature, type, channels of trade, or classes of
purchasers. Therefore, it is presumed that these goods travel in all normal channels of trade, and are available to the same class of purchasers.
Further, the registration uses broad wording to describe the goods and this wording is presumed to encompass all goods of the type described,
including those in applicant’s more narrow identification. For example, the registrant’s cosmetics and eye makeup could include eyeliner and
eyebrow cosmetics.


For the foregoing reasons consumers and potential consumers would be likely to believe that applicant’s goods and/or services emanate from the
same source as those provided by the registrant. Accordingly, registration is refused under Section 2(d) of the Act.


Although the trademark examining attorney has refused registration, applicant may respond to the refusal to register by submitting evidence and
arguments in support of registration.


Response
          Case 2:20-cv-09091-PA-AS Document 174-2 Filed 10/26/21 Page 84 of 139 Page ID
                                             #:8818

Applicant must respond within six months of the date of issuance of this final Office action or the application will be abandoned. 15 U.S.C.
§1062(b); 37 C.F.R. §2.65(a). Applicant may respond by providing one or both of the following:


        (1)     A response that fully satisfies all outstanding requirements and/or resolves all outstanding refusals.


        (2)     An appeal to the Trademark Trial and Appeal Board, with the appeal fee of $100 per class.


37 C.F.R. §2.63(b)(1)-(2); TMEP §714.04; see 37 C.F.R. §2.6(a)(18); TBMP ch. 1200.

In certain rare circumstances, an applicant may respond by filing a petition to the Director pursuant to 37 C.F.R. §2.63(b)(2) to review procedural
issues. TMEP §714.04; see 37 C.F.R. §2.146(b); TBMP §1201.05; TMEP §1704 (explaining petitionable matters). The petition fee is $100. 37
C.F.R. §2.6(a)(15).




                                                /Ellen J.G. Perkins/
                                                Ellen J.G. Perkins
                                                Examining Attorney, Law Office 110
                                                U.S. Patent & Trademark Office
                                                571 272-9372
                                                Ellen.Perkins@uspto.gov


TO RESPOND TO THIS LETTER: Go to http://www.uspto.gov/trademarks/teas/response_forms.jsp. Please wait 48-72 hours from the
issue/mailing date before using the Trademark Electronic Application System (TEAS), to allow for necessary system updates of the application.
For technical assistance with online forms, e-mail TEAS@uspto.gov. For questions about the Office action itself, please contact the assigned
trademark examining attorney. E-mail communications will not be accepted as responses to Office actions; therefore, do not respond to
this Office action by e-mail.


All informal e-mail communications relevant to this application will be placed in the official application record.

WHO MUST SIGN THE RESPONSE: It must be personally signed by an individual applicant or someone with legal authority to bind an
applicant (i.e., a corporate officer, a general partner, all joint applicants). If an applicant is represented by an attorney, the attorney must sign the
response.


PERIODICALLY CHECK THE STATUS OF THE APPLICATION: To ensure that applicant does not miss crucial deadlines or official
notices, check the status of the application every three to four months using the Trademark Status and Document Retrieval (TSDR) system at
http://tsdr.uspto.gov/. Please keep a copy of the TSDR status screen. If the status shows no change for more than six months, contact the
Trademark Assistance Center by e-mail at TrademarkAssistanceCenter@uspto.gov or call 1-800-786-9199. For more information on checking
status, see http://www.uspto.gov/trademarks/process/status/.


TO UPDATE CORRESPONDENCE/E-MAIL ADDRESS: Use the TEAS form at http://www.uspto.gov/trademarks/teas/correspondence.jsp.
         Case 2:20-cv-09091-PA-AS Document 174-2 Filed 10/26/21 Page 85 of 139 Page ID
                                            #:8819

To:                   Thrive Causemetics, Inc. (sean@focallaw.com)
Subject:              U.S. TRADEMARK APPLICATION NO. 86721790 - THRIVE CAUSEMETICS - N/A
Sent:                 6/22/2016 7:47:16 AM
Sent As:              ECOM110@USPTO.GOV
Attachments:

                            UNITED STATES PATENT AND TRADEMARK OFFICE (USPTO)




                                        IMPORTANT NOTICE REGARDING YOUR
                                           U.S. TRADEMARK APPLICATION


                                 USPTO OFFICE ACTION (OFFICIAL LETTER) HAS ISSUED
                                 ON 6/22/2016 FOR U.S. APPLICATION SERIAL NO. 86721790


Please follow the instructions below:


(1) TO READ THE LETTER: Click on this link or go to http://tsdr.uspto.gov, enter the U.S. application serial number, and click on
“Documents.”


The Office action may not be immediately viewable, to allow for necessary system updates of the application, but will be available within 24
hours of this e-mail notification.


(2) TIMELY RESPONSE IS REQUIRED: Please carefully review the Office action to determine (1) how to respond, and (2) the applicable
response time period. Your response deadline will be calculated from 6/22/2016 (or sooner if specified in the Office action). For information
regarding response time periods, see http://www.uspto.gov/trademarks/process/status/responsetime.jsp.


Do NOT hit “Reply” to this e-mail notification, or otherwise e-mail your response because the USPTO does NOT accept e-mails as
responses to Office actions. Instead, the USPTO recommends that you respond online using the Trademark Electronic Application System
(TEAS) response form located at http://www.uspto.gov/trademarks/teas/response_forms.jsp.


(3) QUESTIONS: For questions about the contents of the Office action itself, please contact the assigned trademark examining attorney. For
technical assistance in accessing or viewing the Office action in the Trademark Status and Document Retrieval (TSDR) system, please e-mail
TSDR@uspto.gov.



                                                              WARNING

Failure to file the required response by the applicable response deadline will result in the ABANDONMENT of your application. For
more information regarding abandonment, see http://www.uspto.gov/trademarks/basics/abandon.jsp.


PRIVATE COMPANY SOLICITATIONS REGARDING YOUR APPLICATION: Private companies not associated with the USPTO are
using information provided in trademark applications to mail or e-mail trademark-related solicitations. These companies often use names that
closely resemble the USPTO and their solicitations may look like an official government document. Many solicitations require that you pay
          Case 2:20-cv-09091-PA-AS Document 174-2 Filed 10/26/21 Page 86 of 139 Page ID
                                             #:8820

“fees.”


Please carefully review all correspondence you receive regarding this application to make sure that you are responding to an official document
from the USPTO rather than a private company solicitation. All official USPTO correspondence will be mailed only from the “United States
Patent and Trademark Office” in Alexandria, VA; or sent by e-mail from the domain “@uspto.gov.” For more information on how to handle
private company solicitations, see http://www.uspto.gov/trademarks/solicitation_warnings.jsp.
Case 2:20-cv-09091-PA-AS Document 174-2 Filed 10/26/21 Page 87 of 139 Page ID
                                   #:8821




      TRIAL EXHIBIT NO. 11
012312424 Case 2:20-cv-09091-PA-AS Document 56789ÿ 174-2
                                                     666ÿ986ÿ10/26/21
                                                               Filed  ÿ6ÿ866 88 of 139 Page ID
                                                                                  Page
                                                     #:8822
                  ebhÿiÿX`a`[bcÿbc`[`defÿTUVW:;<ÿ9W;=@ÿX>MM@ÿX;YU;ZÿO>LVÿX;Wÿ[?@>MV@<M\ 9jdTÿedh

                                                                thrive·
                                                                causemetics
                                                                                                                                                 g


                                #$%&ÿ(ÿ)**ÿ+,-./01&ÿ21$34/56
                                                                                  ed,tion hp treatment! Made w,th all.natural warm
                                                                                     cinnamon, creamy vanilla + spiced doV1:1




                                      C-*5&1                   +&*&/5ÿS.&                              +$15                               C&0541&3

       7&8                                                     X`a`[bcÿbc`[`def
       9:;<=>?@
       A0,&4B
       C0/&
       DE&6
       F-B6
       A0,&4Bÿ+&56
       +,-./01&ÿ+&56                                                              I __             I


       G146H&6ÿIÿJ$$*6
       )//&66$1-&6
       +H$Bÿ)**                                                  TUVW:;<ÿ9W;=@ÿX>MM@ÿX;YU;ZÿO>LVÿX;W
                                                                            [?@>MV@<M\
             K;LM@?ÿOPQR$.&
                                                                                ]^_

             T?;=@



                                                                                        (1)
                                                                                        >
                                                                                        L
                                                                                      ....c
                                                                                       +--'



                                                                                                                                     TNC01154
116866!1!6!918986                                                                                                  31"
012312424 Case 2:20-cv-09091-PA-AS Document 56789ÿ 174-2
                                                     666ÿ986ÿ10/26/21
                                                               Filed  ÿ6ÿ866 89 of 139 Page ID
                                                                                  Page
                                                     #:8823
                  QFRÿSÿ#TUT.F@ÿF@T.TVQWÿX&,-Y$2ÿZ-$K0ÿ#*110ÿ#$%&$'ÿ)*+,ÿ#$-ÿ./0*1,0213 Z[VXÿQVR

                                                      thrive·                                                P
                                                         #$%&$'ÿ)*+,ÿ#$-ÿ./0*1,0213
                                                      causemetics

                                                                        456
                                                                                578ÿ:;<=;>?




                                                                      thrivff
                                                                       causeme t lcs




                                                                     ~~r
                                                                     tr"v-vl
                                                                    EYE LI FTING CREAM.



                                                                       O.Sfloz/!Sml




                                                      @0AB$2CÿD/*E$1BÿFB0ÿ#$A1$2CÿG/0*,3
                                                                        4H6
                                                                                5I6ÿ:;<=;>?




                                                                     thrive-
                                                                     causemet1 cs




                                                                     ,..,   __ ..,...._.,




                                                        )/$CJ1ÿ)*+*2K0ÿLM$2MNÿG+0*2O0/3
                                                                        485
                                                                                5I6ÿ:;<=;>?
                                                                                              TNC01155
116866!1!6!918986                                                              21"
012312424 Case 2:20-cv-09091-PA-AS Document 56789ÿ 174-2
                                                     666ÿ986ÿ10/26/21
                                                               Filed  ÿ6ÿ866 90 of 139 Page ID
                                                                                  Page
                                                     #:8824
                  UVWÿXÿ$YNY-VHÿVHY-Y7UZÿ[';1\%6ÿ:1%9.ÿ$0,,.ÿ$%&'%(ÿ]04;ÿ$%1ÿ-/.0,;.6,< :^7[ÿU7W

                                                      thrive·
                                                      causemetics
                                                                                                                             T

                                                                                    thri ve"
                                                                                    c1u l1me tict




                                                                                      Al 1N-0Nl
                                                                                     FACf.S(.lluM•




                                                      $%&'%(ÿ$%*+,ÿ-+./012ÿ3445%6576.ÿ809.
                                                                     :./';<
                                                                                     =>?
                                                                                           @>?ÿBCDECFG



                                                                    II'                                       l


                                                                                thrivff
                                                                                c a usem etics

                                                                      ~~rrrqrvit
                                                                          TRANSFORMING MOISTURIZER.
                                                                            I   Face _,fting Complell ~   I
                                                                                   , 1 Ho1 1 SO ml




                                                          H.I2%6*ÿJ/0K%,2ÿ-/06LIM/;%6*
                                                                  NM%L,'/%O./<
                                                                                     =P?
                                                                                           QRSÿBCDECFG




                                                                                                                  TNC01156
116866!1!6!918986                                                                              "1#
012312424 Case 2:20-cv-09091-PA-AS Document 56789ÿ 174-2
                                                     666ÿ986ÿ10/26/21
                                                               Filed  ÿ6ÿ866 91 of 139 Page ID
                                                                                  Page
                                                     #:8825
                  4LMÿPÿQR$R6LSÿLSR6RD4NÿT)UHI&5ÿFH&2+ÿQ/((+ÿQ&V)&WÿG/.UÿQ&Hÿ6*+/(U+5(7 FXDTÿ4DM

                                                       thrive·
                                                       ca u se meti cs
                                                                                                             O

                                                                          511Ql'l 148"'l




                                                      $%&'()*+ÿ-./'0ÿ12(&3+ÿ4)(*&+5(ÿ6%5+*7
                                                                           89:
                                                                                  ;<ÿ>?@A?BC




                                                                         t hrive
                                                                         ca use metics




                                                      D3+*5&E0(ÿF+5'/(&%5ÿG*&E0(+5&5EÿF.++H
                                                                     $/'I7
                                                                           8:J
                                                                                JKKÿ>?@A?BC

                                                      4LM N



                                                                           thrive·




                                                                                               TNC01157
116866!1!6!918986                                                              "1#
012312424 Case 2:20-cv-09091-PA-AS Document 56789ÿ 174-2
                                                     666ÿ  986ÿ10/26/21
                                                                Filed   ÿ6ÿ866 92 of 139 Page ID
                                                                                    Page
                  _.qÿrÿB<%<C.bÿ.b<C<A_sÿ:*`tu'/ÿ6t'0%&'
                                                      ,ÿB5)()),ÿ
                                                               *+
                                                                B',- ./+ '01,2ÿ45/2ÿ 65/')w'7,+64A:ÿ_Aq
                                                     #:8826
                                                                  v*' 2ÿo5d`ÿB'tÿ
                                                                                C+,5)`,/)
                                                                              89
                                                            thrive·
                                                            ca u se meti cs
                                                                                                               p



                                                                  $

                                                                                   C%


                     GHIÿKLKIMÿNOIPLKÿQRSTKUKVPWTÿXIHYSWVÿMHSÿXSIWORTKZÿ[KÿYH\RVKÿVHÿOK]XÿRÿ[HUR\ÿVOIPLK^

                                                         B.>;_ÿ%A;.


                                                          causemetics



       ?*()&`,+ÿ6,+a'0,

       B,5+/ÿ%&+,

       b'(0&a,+

                                                        c&'/ÿA*+ÿ.`5'dÿB'()
                                   nURP]                                                6Eo%<C



                                                       efffgÿfhiji9$f
                                                          kRUjkXUÿlmN


                                              :;<=>?@ÿ:AB<?@ C.;%6ÿADÿE6. ??:>ÿ;<F4C6              TNC01158
116866!1!6!918986                                                                "1#
012312424 Case 2:20-cv-09091-PA-AS Document 56789ÿ 174-2
                                                     666ÿ986ÿ10/26/21
                                                               Filed  ÿ6ÿ866 93 of 139 Page ID
                                                                                  Page
                                                     #:8827
                  $%&ÿ(ÿ)*+*,%-ÿ%-*,*.$/ÿ0123456ÿ73589ÿ):;;9ÿ)5<15=ÿ>:?2ÿ)53ÿ,@9:;296;A 7B.0ÿ$.&

                                                      thrive·
                                                      ca u se meti cs
                                                                                                             #




                                                                                             TNC01159
116866!1!6!918986                                                              "1"
Case 2:20-cv-09091-PA-AS Document 174-2 Filed 10/26/21 Page 94 of 139 Page ID
                                   #:8828




      TRIAL EXHIBIT NO. 41
7/13/2021 Case 2:20-cv-09091-PA-AS Document                 174-2
                                                       Skincare        Filed
                                                                Value Sets      10/26/21
                                                                           I Thrive CausemeticsPage 95 of 139 Page ID
                                                             #:8829
      Limited Edition! NEW Brilliant Eye Brightener"' shades Limited Edition! Explore the 3 NEW shades of our
                                                                                                                                                       SHOP NOW
                                               best-selling Brilliant Eye Brightener"'


                    New           Best-Sellers            Makeup          Skincare                       HowWeGive                 Sign In Sign In v   00   C'q Hel

~       Search Thrive Causemetics...



                                                                   Home / Skincare Sets




                                     Filter                   Select Onev                                    Sort                        Featured              V




       New
                                                                   NEW!
       Skincare

       Makeup
                                                                                    thrive·
                                                                                    ,.,. ..,,,.1,c,              thrive·
                                                                                                                 c,~a-• ,tic

       Eyes                                                                        suNraoo ,                   $ UN,ROOF
                                                                                  !NH~IY[ ,111'1,-i ,.        ltolfNSl'~l#ii l'l



       Face

       Lips

       Makeup Sets

       Skincare Sets

       Brushes+ Tools

       Shop All
                                                                                              Customizable!

                                                                        Sunproof™ Intensive Lip Balm Duo
              Filter By: Done
                                                                                    $32 ($36 Value)




                                                                   NEW!




                                                                                                           thrive·
                                                                                                           o.-.... ,, .
                                                                                                           suNn oo,




                                                                                           -~
                                                                                            '-
                                                                                           .c
                                                                                           .....,

https://thrivecausemetics.com/collections/skincare-sets
7/13/2021 Case 2:20-cv-09091-PA-AS Document                 174-2
                                                       Skincare        Filed
                                                                Value Sets      10/26/21
                                                                           I Thrive CausemeticsPage 96 of 139 Page ID
                                                             #:8830
      Limited Edition! NEW Brilliant Eye Brightener"' shades Limited Edition! Explore the 3 NEW shades of our
                                                                                                                                                       SHOP NOW
                                               best-selling Brilliant Eye Brightener"'


                    New           Best-Sellers            Makeup       Skincare                       HowWeGive                    Sign In Sign In v   0      Hel

                                                                          nt::dn11y ..- nyurdLt::u LlfJ .:it::L


                                                                                       $39 ($44 Value)



                                                                   NEW!




                                                                           thrive~
                                                                            cavs•meticf
                                                                                                       thrive·
                                                                                                       CIVltMtl1Ct




                                                                          frlfl[rh,.l,,iiw                               thrive•
                                                                                                      '1fVtf'll'll
                                                                                                                        i;'j~'r
                                                                             I "- l CU.....str



                                                                            ~
                                                                                                       ~                t'~Tt



                                                                                                       -                ■

                                                                                 Skincare Starter Kit
                                                                                       $35 ($42 Value)




                                                                               t hrive-



                                                                            lintf!Tli~t.~w
                                                                                 ),M C\l"""'1ill' "
                                                                                                                     thrive·
                                                                                                                ~fm
                                                                                                                  F;VVlr




                                                                     Bright Balance Cleanser™+ Defying
                                                                               Gravity Moisturizer™
                                                                                       $7 3 ($81 Value)




https://thrivecausemetics.com/collections/skincare-sets                                                                                                       2/7
7/13/2021 Case 2:20-cv-09091-PA-AS Document                 174-2
                                                       Skincare        Filed
                                                                Value Sets      10/26/21
                                                                           I Thrive CausemeticsPage 97 of 139 Page ID
                                                             #:8831
      Limited Edition! NEW Brilliant Eye Brightener"' shades Limited Edition! Explore the 3 NEW shades of our
                                                                                                                                              SHOP NOW
                                               best-selling Brilliant Eye Brightener"'


                    New           Best-Sellers            Makeup      Skincare              HowWeGive                     Sign In Sign In v   0      Hel

                                                                               ··r···,
                                                                               ~T
                                                                               T~l'f
                                                                                 .•' " ..




                                                                            Luminous+ Lifted Duo
                                                                              $95 ($105 Value)




                                                                   NEW!



                                                                              t hrive-
                                                                                                          thrive·




                                                                                                 -
                                                                             Face Cleansing Duo
                                                                               $68 ($76 Value)




                                                                   NEW!



                                                                             thrive·



                                                                                             l
                                                                                             r-
                                                                                                          t'-irive·
                                                                                                 ~i~~~l




https://thrivecausemetics.com/collections/skincare-sets
                                                                          -                      ......       ~       I




                                                                                                                                                     3/7
7/13/2021 Case 2:20-cv-09091-PA-AS Document                 174-2
                                                       Skincare        Filed
                                                                Value Sets      10/26/21
                                                                           I Thrive CausemeticsPage 98 of 139 Page ID
                                                             #:8832
      Limited Edition! NEW Brilliant Eye Brightener"' shades Limited Edition! Explore the 3 NEW shades of our
                                                                                                                                                       SHOP NOW
                                               best-selling Brilliant Eye Brightener"'


                    New           Best-Sellers            Makeup      Skincare                          HowWeGive                  Sign In Sign In v   0      Hel




                                                                                                          ~
                                                                                                         t hrive·




                                                                          c- .
                                                                               thrive·
                                                                               u1.11•mt111,



                                                                            rtfo~~t-'
                                                                                 5wM1
                                                                                  ~•••t..
                                                                          .... , -vt ..    ,t........



                                                                                          "'     ]
                                                                                                          ~~
                                                                                                          ~ T
                                                                                                         Tlit,nrr
                                                                                                          -~~~
                                                                                                         1·- -1
                                                                                                                    l""
                                                                                                                     thri~e·

                                                                                                                    #11"t
                                                                                                                      tr~nt
                                                                                                                    ,... •~   wur
                                                                                                                    ~
                                                                                                                     u1 .. 1 t •




                                                                                          Tone+ Glow+ Lift
                                                                                          $120 ($141 Value)



                                                                   NEW!




                                                                               thrive·


                                                                                                                     thrive·
                                                                                                         thrive·


                                                                              ~




                                                                          -
                                                                                          Smart Skincare Set
                                                                                          $118 ($139 Value)



                                                                   NEW!



                                                                                          thrive·




https://thrivecausemetics.com/collections/skincare-sets                                                                                                       4/7
7/13/2021 Case 2:20-cv-09091-PA-AS Document                 174-2
                                                       Skincare        Filed
                                                                Value Sets      10/26/21
                                                                           I Thrive CausemeticsPage 99 of 139 Page ID
                                                             #:8833
      Limited Edition! NEW Brilliant Eye Brightener"' shades Limited Edition! Explore the 3 NEW shades of our
                                                                                                                                                               SHOP NOW
                                               best-selling Brilliant Eye Brightener"'


                    New           Best-Sellers            Makeup       Skincare                            HowWeGive                       Sign In Sign In v   0      Hel




                                                                                         Exfoliate + Lift Set
                                                                                           $81 ($90 Value)



                                                                   NEW!




                                                                                           :J
                                                                                      th rive·
                                                                                                                 thrive-
                                                                                                              ~~;;:;;r~
                                                                                                               =



                                                                      Resurfacing Peel+ Moisturizer Set
                                                                                      $100 ($111 Value)



                                                                   FREE OVERNIGHT MASK!




                                                                                                                                 FREE       ~
                                                                                                 ""1[..-v                     0\1£RNIGH T

                                                                                                  j!.n,         ~               MAIi(!




                                                                                                                                  ~
                                                                            •~~.!.Y.:~                                            w •'f'{
                                                                                                                                  f ,U ~ .-,1




                                                                                                                               -
                                                                          1->f!TI:..,"""
                                                                            - =                   ~
                                                                                                   l<t'I



                                                                                                                              -
                                                                                                  fl"ft
                                                                                                               '. tl!:!_\f!

                                                                                                   ---
                                                                   Essential Skin Regimen+ FREE Overnight
                                                                                                       Mask
                                                                                      $214 ($286 Value)

https://thrivecausemetics.com/collections/skincare-sets                                                                                                               5/7
7/13/2021Case 2:20-cv-09091-PA-AS Document                 174-2
                                                       Skincare       Filed
                                                                Value Sets     10/26/21
                                                                           I Thrive          Page 100 of 139 Page ID
                                                                                    Causemetics
                                                             #:8834
      Limited Edition! NEW Brilliant Eye Brightener"' shades Limited Edition! Explore the 3 NEW shades of our
                                                                                                                         SHOP NOW
                                               best-selling Brilliant Eye Brightener"'


                    New           Best-Sellers            Makeup       Skincare          HowWeGive   Sign In Sign In v   0      Hel


                                               Give the gift of beauty with our vegan and cruelty-free skincare sets.
                                               Our waterproof makeup removing cleanser leaves skin feeling soft+

                                                                                    BEAD MORE




                      For every Thrive Causemetics product you purchase, we donate to help a woman thrive.



                                                               LEARN MORE




                                                                   causemetics



       Customer Service



       Learn More



       Discover



                                                              Join Our Email List



                                     Email                                                      SUBMIT




                                                                    @11
                                                              (888) 804-4318
                                                          7am-7pm PST, 7 days a week




                                                              ~ United States      v


https://thrivecausemetics.com/collections/skincare-sets                                                                         6/7
7/13/2021Case 2:20-cv-09091-PA-AS Document                 174-2
                                                       Skincare       Filed
                                                                Value Sets     10/26/21
                                                                           I Thrive          Page 101 of 139 Page ID
                                                                                    Causemetics
                                                             #:8835
      Limited Edition! NEW Brilliant Eye Brightener"' shades Limited Edition! Explore the 3 NEW shades of our
                                                                                                                         SHOP NOW
                                               best-selling Brilliant Eye Brightener"'


                    New           Best-Sellers            Makeup      Skincare           HowWeGive   Sign In Sign In v   0      Hel




https://thrivecausemetics.com/collections/skincare-sets                                                                         717
Case 2:20-cv-09091-PA-AS Document 174-2 Filed 10/26/21 Page 102 of 139 Page ID
                                   #:8836




       TRIAL EXHIBIT NO. 82
                                                                L,m,ted Ed,toon' Explo,e the 3 NEW shad .. of ou, besl--selhng Rnlhant Eye Bn«htene,-           SHOP NOW
                                                 Case 2:20-cv-09091-PA-AS Document 174-2 Filed 10/26/21 Page 103 of 139 Page ID
                                                                                    #:8837
                    t hrive·                                          ,,w             Bast-Sellers       Makeup               Skincare       How We Give                    Sign Inv [Jo             ~Help        Q_




   FILTERED EFFECTS
B L U R R I N G P R I M E R"'
  Smooth the loo k of fine lines+ wr inkles instant ly and
      over tim e with our makeup + skincare hybrid.




                                                                                                                                                  Brighten+ Tone+ Smooth

                                                                                                                                                  Our makeup+ skincare hybrid primer can be worn
                                                                                                                                                  alone to smooth+ blur the look of pores,
                                                                                                                                                  imperfections and fl ne 11 nes Instantly + over time.
                                                                                                                                                  Apply this weightless ge l·to·powder formula after
                                                                                                                                                  cleans! ng and ton Ing to lock In hydration + skln· lovlng
                                                                                                                                                  nutrients.

                                                                                                                                                  Our brlghtness·boosti ng cleanser and akoho l·free.
                                                                                                                                                  pore·reflnlng toner wi ll give you softer, smoother skin
                                                                                                                                                  that feels healthy+ fresh.


                                                                                                                                                    FIUorod Elfocu- Blu,,ins
                                                                                                                                                    Pr imer

                                                                                                                                                    '"
                                                                                                                                                         SI--IOP N OW




                                                     •
                                                . . ...
                                                            •
                                                                                                                                                  Maximize Your Makeup
                                                        •

                                                 --
                                                                                                                                                  Our blurring primer creates the perfect. ve lvety
                                                                                                                                                  smooth canvas for our comp lexlon·perfectl ng CC
                                                                                                                                                  cream for a fresh+ flawless look that lasts all day
                                                                                                                                                  long.
                                         W ITHOUT PRIME R
                                                                                                                                                    Blu r rins Primer • CC c,um

                                                                                                                                                    "'
                                                                                                                                                    ;63 {73 Value)




                                                                                                                                                         SI--IO P N OW



                                             WITH PRIMER                                  PRIMER+ CC CREAM




      MEADOWFOAM SEED OIL
 Cond,t;ons skin + strengthens the
                                                 •
                                                 •
                                                 •
                                                 •
                                                                                                                                                                        -              •
                                                                                                                                                                                       •
                                                                                                                                                                                         MCT OIL
         ability to absorb moisture              •                                                                                                                                     • Moisturizes sk with smoothing
                                                 •                                                                                                                                     •
                                                                                                                                                                                       • fatty acids known to have
                                                                                                                                                                                       • non-comedogenic properties




                        CELERY SEED EXTRACT ••
                       Reduces the look of pores •


                                                                                                                                                                        LINSEED OIL
                                                                                                                                                                      • Softens skin with omega-3
                                                                                                                                                                      •
                                                                                                                                                                      • proteins that also help to
                     VITAMIN E              •                                                                                                                         • improve skin texture over time
                                            •                                                                                                                         •
  Provides a shield of hydration            •
                                            •
    + antioxidant protection to             •
     revitalize your complexion
                                            •
                                            •




                                                                                    100% Vegan+ Cruelty-Free




          Leaping Bunny Certified                           PHAApproved
          The highest standard for                   Weare 100%vegan +crue lty·                          Sulfate + Parabe n·Free                        C>Erma tologlst Tested                         Conscious Beauty
        compan ies that are committed                 free through every stage of                        Our products are always                    Proven to be non- Irritating for             For every purchase you make,
            to no anima l testing.                       product deve lopment.                        formulated without harmful                    allergy•sensltive skin + safe to              we donate to he lp a woman
                                                                                                     su lfates, parabens. phthalates                 use around the delicate eye                            thrive,
                                                                                                              and fragrance.                                     area .




                                                                   Real Results•

                                                                   Immediately alter use:
                                                                   1001'air..d that this laco primer i,>Ve their skin a so!! locus finish.
                                                                   1001' aireed that their skin felt sort, lresh. and hulthier.
                                                                   1001' aireed that their skin felt mpre hyd"ted,
                                                                   921' aireod that thi, laco p,imor vi,ibly smoothed their ove,.11 skin texture.
                                                                   921' aireod that thi, laco p,imor blu rred their skin impe,lections,

                                                                   Alie< a lull d~olwear:
                                                                   1001' aireed that this lace primer ireatly improved thewe;r of their makeup,
                                                                   1001'air.. this lace primer improved the look of makeup.
                                                                   1001' aireed that this lace primer provided loni•lastini hyd"tion,
                                                                   921' aireod that their makeup reouired leW!, touch UP<.
                                                                   921' aireod this l;co prime, kept thei, makeup lookinilresh,
                                                                   921' aireod that thi, laco p,imor lelt breathable on their ,kin.




                                                                                                                                         Color Grip Technology'"
                                                                                                                                         Our primer binds to color and controls oil. creating the
                                                                                                                                         perfect canvas for makeup that looks fresh and doesn't slide
                                                                                                                                         or budge all day.




                                                                                      High -pe rfo r mance makeup that's cruel ty-free and skin-
                                                                                                            transforming.




                                                                                    Clin ically proven sk incare powered by breakthrough act ive
                                                                                                              Ingredients.




                                                                      111 1                                   1~1-1
                                                                                                                                                            thrive·



                                                                        ,~,..,,                                                                           ..,,_
                                                                                                                 .t~•t,..,
                           thriv;i-                                     !.!:·!!.~
                                                                                                                  l_lJ.'!i!                                                                        th ri ve·
                          -i,~{(114                                                                                                                                                                "'"'~-, ~

                            '"'' '                                       ""                                                                                                                     ¥-itv,1t t~r•Tj
                          cs                                            1,
                                                                                                                          '
                                                                                                                                                          -

              th rive·                  Customer Service                                             Learn More                                  Discover                     Join Our Ema il List

              """ffl"'"                 RETURNS• EXCHANGES                                           OUR STORY                                   INGREDIENTS
                                                                                                                                                                                 Omail                            SU BMIT
                                        SHIPPING INFO                                                HOW WE GIVE                                 SPECIAL OFFERS

                                        REWARDS TERMS                                                6LOG                                        REWARDS

                                        S,Q                                                          PRESS                                       EGIFT CARD
                                                                                                                                                                              @J           ll                                   TNC02023
                                                                                                                                                                              (8BB) 804 - 4318
                                        ,-,-,.,-a,-,. !I<                                            .-~o.~o<
Case 2:20-cv-09091-PA-AS Document 174-2 Filed 10/26/21 Page 104 of 139 Page ID
                                   #:8838




       TRIAL EXHIBIT NO. 267
Case 2:20-cv-09091-PA-AS Document 174-2 Filed 10/26/21 Page 105 of 139 Page ID
                                   #:8839
Case 2:20-cv-09091-PA-AS Document 174-2 Filed 10/26/21 Page 106 of 139 Page ID
                                   #:8840




       TRIAL EXHIBIT NO. 83
                                         Case 2:20-cv-09091-PA-AS Document 174-2 Filed 10/26/21 Page 107 of 139 Page ID
          Thrive CauserneUcs     1   •   Follow                             #:8841                                                              •••
          June 23, 2020 • 0
Fi.ltered IE"ffe.cts Blurri·.ng Primer
Meet our Filtered Effects Blurring Primerl •-· Our NEW pore-refining primer that instant... See More


                                                                                                               t hrive~
                                                                                                                1




                                                                                                               c..ausem 1fc1




                                                                             NOT JUST A PR~MER.
                                                                                  S1
                                                                                   KIN CARE TOO
                                                                                           1




                                                                                     packed with
                                                                                     skin-lovtng ingredients




  rCJ Uke        CJ Comment               ~ Sihare                                                                  0 0 127 •9 Comments , 14K Views
                                                                                                                                    TNC02030
Case 2:20-cv-09091-PA-AS Document 174-2 Filed 10/26/21 Page 108 of 139 Page ID
                                   #:8842




       TRIAL EXHIBIT NO. 195
Case 2:20-cv-09091-PA-AS Document 174-2 Filed 10/26/21 Page 109 of 139 Page ID
                                   #:8843 thrive-
                                            caus•m•tic,
                                                                         Thrive Cause metics O         D
                                                                •        June 23, 2020 · 0
                        }                                       Filtered Effects Blurring Primer
                            Celery Seed Extract                                                          O
                                                                Meet our Filtered Effects Blurring Primer!   Our
                                                                N EW pore-refining primer that instant ly smooths
                                                                and...
                                                                See More
                                                                                          9 Comments 14K Views


                            Linseed Oil                              rfJ Like        0   Comment     R     Share




                                                                We currently don't have any more videos for you



                            Meadowfoam Seed Oil


                            Vitamin E


                            MCTOil


                    NOT JUST A PRIMER.
                      SKINCARE TOO                                                                         See All

                                                                         Write a comment..




                                                                           TNC02036
Case 2:20-cv-09091-PA-AS Document 174-2 Filed 10/26/21 Page 110 of 139 Page ID
                                   #:8844




       TRIAL EXHIBIT NO. 127
                                                                L,m,ted Ed,toon' Explo,e the 3 NEW shad .. of ou, besl--selhng Rnlhant Eye Bn«htene,-           SHOP NOW
                                                 Case 2:20-cv-09091-PA-AS Document 174-2 Filed 10/26/21 Page 111 of 139 Page ID
                                                                                    #:8845
                    t hrive·                                          ,,w             Bast-Sellers       Makeup               Skincare       How We Give                    Sign Inv [Jo             ~Help        Q_




   FILTERED EFFECTS
B L U R R I N G P R I M E R"'
  Smooth the loo k of fine lines+ wr inkles instant ly and
      over tim e with our makeup + skincare hybrid.




                                                                                                                                                  Brighten+ Tone+ Smooth

                                                                                                                                                  Our makeup+ skincare hybrid primer can be worn
                                                                                                                                                  alone to smooth+ blur the look of pores,
                                                                                                                                                  imperfections and fl ne 11 nes Instantly + over time.
                                                                                                                                                  Apply this weightless ge l·to·powder formula after
                                                                                                                                                  cleans! ng and ton Ing to lock In hydration + skln· lovlng
                                                                                                                                                  nutrients.

                                                                                                                                                  Our brlghtness·boosti ng cleanser and akoho l·free.
                                                                                                                                                  pore·reflnlng toner wi ll give you softer, smoother skin
                                                                                                                                                  that feels healthy+ fresh.


                                                                                                                                                    FIUorod Elfocu- Blu,,ins
                                                                                                                                                    Pr imer

                                                                                                                                                    '"
                                                                                                                                                         SI--IOP N OW




                                                     •
                                                . . ...
                                                            •
                                                                                                                                                  Maximize Your Makeup
                                                        •

                                                 --
                                                                                                                                                  Our blurring primer creates the perfect. ve lvety
                                                                                                                                                  smooth canvas for our comp lexlon·perfectl ng CC
                                                                                                                                                  cream for a fresh+ flawless look that lasts all day
                                                                                                                                                  long.
                                         W ITHOUT PRIME R
                                                                                                                                                    Blu r rins Primer • CC c,um

                                                                                                                                                    "'
                                                                                                                                                    ;63 {73 Value)




                                                                                                                                                         SI--IO P N OW



                                             WITH PRIMER                                  PRIMER+ CC CREAM




      MEADOWFOAM SEED OIL
 Cond,t;ons skin + strengthens the
                                                 •
                                                 •
                                                 •
                                                 •
                                                                                                                                                                        -              •
                                                                                                                                                                                       •
                                                                                                                                                                                         MCT OIL
         ability to absorb moisture              •                                                                                                                                     • Moisturizes sk with smoothing
                                                 •                                                                                                                                     •
                                                                                                                                                                                       • fatty acids known to have
                                                                                                                                                                                       • non-comedogenic properties




                        CELERY SEED EXTRACT ••
                       Reduces the look of pores •


                                                                                                                                                                        LINSEED OIL
                                                                                                                                                                      • Softens skin with omega-3
                                                                                                                                                                      •
                                                                                                                                                                      • proteins that also help to
                     VITAMIN E              •                                                                                                                         • improve skin texture over time
                                            •                                                                                                                         •
  Provides a shield of hydration            •
                                            •
    + antioxidant protection to             •
     revitalize your complexion
                                            •
                                            •




                                                                                    100% Vegan+ Cruelty-Free




          Leaping Bunny Certified                           PHAApproved
          The highest standard for                   Weare 100%vegan +crue lty·                          Sulfate + Parabe n·Free                        C>Erma tologlst Tested                         Conscious Beauty
        compan ies that are committed                 free through every stage of                        Our products are always                    Proven to be non- Irritating for             For every purchase you make,
            to no anima l testing.                       product deve lopment.                        formulated without harmful                    allergy•sensltive skin + safe to              we donate to he lp a woman
                                                                                                     su lfates, parabens. phthalates                 use around the delicate eye                            thrive,
                                                                                                              and fragrance.                                     area .




                                                                   Real Results•

                                                                   Immediately alter use:
                                                                   1001'air..d that this laco primer i,>Ve their skin a so!! locus finish.
                                                                   1001' aireed that their skin felt sort, lresh. and hulthier.
                                                                   1001' aireed that their skin felt mpre hyd"ted,
                                                                   921' aireod that thi, laco p,imor vi,ibly smoothed their ove,.11 skin texture.
                                                                   921' aireod that thi, laco p,imor blu rred their skin impe,lections,

                                                                   Alie< a lull d~olwear:
                                                                   1001' aireed that this lace primer ireatly improved thewe;r of their makeup,
                                                                   1001'air.. this lace primer improved the look of makeup.
                                                                   1001' aireed that this lace primer provided loni•lastini hyd"tion,
                                                                   921' aireod that their makeup reouired leW!, touch UP<.
                                                                   921' aireod this l;co prime, kept thei, makeup lookinilresh,
                                                                   921' aireod that thi, laco p,imor lelt breathable on their ,kin.




                                                                                                                                         Color Grip Technology'"
                                                                                                                                         Our primer binds to color and controls oil. creating the
                                                                                                                                         perfect canvas for makeup that looks fresh and doesn't slide
                                                                                                                                         or budge all day.




                                                                                      High -pe rfo r mance makeup that's cruel ty-free and skin-
                                                                                                            transforming.




                                                                                    Clin ically proven sk incare powered by breakthrough act ive
                                                                                                              Ingredients.




                                                                      111 1                                   1~1-1
                                                                                                                                                            thrive·



                                                                        ,~,..,,                                                                           ..,,_
                                                                                                                 .t~•t,..,
                           thriv;i-                                     !.!:·!!.~
                                                                                                                  l_lJ.'!i!                                                                        th ri ve·
                          -i,~{(114                                                                                                                                                                "'"'~-, ~

                            '"'' '                                       ""                                                                                                                     ¥-itv,1t t~r•Tj
                          cs                                            1,
                                                                                                                          '
                                                                                                                                                          -

              th rive·                  Customer Service                                             Learn More                                  Discover                     Join Our Ema il List

              """ffl"'"                 RETURNS• EXCHANGES                                           OUR STORY                                   INGREDIENTS
                                                                                                                                                                                 Omail                            SU BMIT
                                        SHIPPING INFO                                                HOW WE GIVE                                 SPECIAL OFFERS

                                        REWARDS TERMS                                                6LOG                                        REWARDS

                                        S,Q                                                          PRESS                                       EGIFT CARD
                                                                                                                                                                              @J           ll                                   TNC02023
                                                                                                                                                                              (8BB) 804 - 4318
                                        ,-,-,.,-a,-,. !I<                                            .-~o.~o<
                                   Case 2:20-cv-09091-PA-AS Document 174-2 Filed 10/26/21 Page 112 of 139 Page ID
            Thrive Causemetics    • Follow                            #:8846                                                          •••
            June 23, 2020 • 0
•
Filtered Effects Blurring Primer
Meet our Filtered Effects Blurring Primer! ;,;; Our NEW pore-refining primer that instant. .. See More


                                                                                                         thrive·
                                                                                                         c1usem1tlc1




                                                                            NOT JUST A PRIMER.
                                                                              SKINCARE TOO

                                                                                     packed with
                                                                                     skin-loving ingredients




    r/:J Like     0    Comment       f!>   Share                                                             0 0 127 •9Comments, 14KViews
                                                                                                                            TNC02030
Case 2:20-cv-09091-PA-AS Document 174-2 Filed 10/26/21 Page 113 of 139 Page ID
                                   #:8847 thrive-
                                            caus•m•tics
                                                                         Thrive Cause metics O         D
                                                                •        June 23, 2020 · 0
                                                                Filtered Effects Blurring Primer
                                                                Meet our Filtered Effects Blurring Primer! O Our
                                                                N EW pore-refining primer that instant ly smooths
                                                                and...
                                                                See More
                                                                                         9 Comments 14K Views


                                                                     rb Like         O Comment R           Share




                                                                We currently don't have any more videos for you




                           NOT JUST A PRIMER.
                             SKINCARE TOO

                               packed with
                               skin-loving ingredients




                                                                                                           See All

                                                                         Write a comment..




                                                                           TNC02035
Case 2:20-cv-09091-PA-AS Document 174-2 Filed 10/26/21 Page 114 of 139 Page ID
                                   #:8848 thrive-
                                            caus•m•tic,
                                                                         Thrive Cause metics O         D
                                                                •        June 23, 2020 · 0
                        }                                       Filtered Effects Blurring Primer
                            Celery Seed Extract                                                          O
                                                                Meet our Filtered Effects Blurring Primer!   Our
                                                                N EW pore-refining primer that instant ly smooths
                                                                and...
                                                                See More
                                                                                          9 Comments 14K Views


                            Linseed Oil                              rfJ Like        0   Comment     R     Share




                                                                We currently don't have any more videos for you



                            Meadowfoam Seed Oil


                            Vitamin E


                            MCTOil


                    NOT JUST A PRIMER.
                      SKINCARE TOO                                                                         See All

                                                                         Write a comment..




                                                                           TNC02036
              Case 2:20-cv-09091-PA-AS Document 174-2 Filed 10/26/21 Page 115 of 139 Page ID
                                                                                     l1m1te d Edition• Explore th e 3 NEW shades of our b e st s e lhnc Brilliant Eye Bnc hte ne r-   ~

                                                 #:8849
                                          t hrive-
                                          c a useme t ics
                                                                                            New             Best-Sellers      Makeup           Skincare         How We Give                        Signln v     L}o            ¼;)Help        Q_




                                                                                                                                                                                                                                                              II
Home / Altered Effects"" BlurringPrimer



                                 A                                                                                                                                               * * * * '1          177Reviews


                                                                                                                                                                                 Filtered Effects™ Blurring Primer                                      $35
                                                                                                                                                                                FREE shippingonOfders $35+ and easy returns! OEIA!.I.S Q)




                                 I
                                                                                                                                                                                Our HD face primer creates a smooth, makeup-gripping canvas that

                                                                                                                                                                                transforms the appearance of pores, texture+ fine lines

                                                                                                                                                                                immediately+ over time.


                                                                                                                                                                                (0      How to Use )



                                                                                                                                                                                What Makes It Different                                                   +
                                                                                                                                                                                Ingredients

                                                                                                                                                                                      Powered by good-for-you ingredients like celery seed
                                                                                                                                                                                      extract and MCT oil, w idely known for their pore-
                                                                                                                                                                                      diminishing and skin-smoothing properties. ~                 Y.
                                                                                                                                                                                      IDgredieots Below
                                                                                                                                                                                      100% vegan + cruelty-free! Our high-performance
                                                                                                                                                                                      ingredients are always formulated without parabens,
                                                                                                                                                                                      phthalat es, su lfates and synthetic fragrance.

                                                                                                                                                                                      B.ill.lng~




                          -      V
                                                                                                                                                                                 •     BuyOnce



                                                                                                                                                                                      Ship Every     1 Month      v       + ~P.Qj__ng




                                                                                                                                                                                                                      ADD TO BAG
                                                                                                                                                                                                                                        (i)




                                                                                                                                                                                                        For every primer you purchase, we donate to
                                                                                                                                                                               ~-m.11 ~             -   help a wom an th rive.
                                                                                                                                                                                                        l.l:llr:n.M2l:l




                                                    Details

                                                    How To Use

                                                    After ski ncare, gently smooth a pea-sized amount even ly
                                                    over your face and neck. Wear alone or under makeup.


                                                    What Else You Need To Know

                                                    Our high-performance HD skin-perfecting primer creates a
                                                    velvety smooth, makeup-gripping base that instantly blurs
                                                    the appearance of pores, texture and fine lines. Using
                                                    breakthrough skincare technology, our innovative g el-to-
                                                    powder formula provides a weightless, breathable barrier
                                                    of hydration between your skin and makeup, resulting in a
                                                    seam lessly smooth surface that enhances and prolongs
                                                    flawless makeup wear all day long.

                                                    Filtered Effects"' Blurring Primer works two ways to
                                                    perfect your complexion immediately and over time. First,
                                                    Color Grip Technology™ binds to color and controls oi l,
                                                    transforming your skin into the ideal canvas for makeup
                                                    that doesn't budge all day long. Then, nutrient-dense, good-
                                                    for-you ingredients like celery seed extract and MCT oil
                                                    soften, smooth and fortify skin from the inside out w ith
                                                    powerful vitamins and antioxidants.



                                                            0     Paraben-Free          O       Vegan


                                                            0    Sulfate-Free           O       Cruelty-Free


                                                            0     Formulated            O       No Synthetic
                                                                 without Phthalates             Fragrance




                                                            1 fl oz I 30 ml   Made in the USA




                                                                                                                                 Real Results
                                                                                                                           Self-assessment survey results.

                                                                                                                                                                                                                                        TNC02037
    <
                 e
Case 2:20-cv-09091-PA-AS Document 174-2 Filed 10/26/21 Page 116 of 139 Page ID
                                   #:8850


         agreed that this face primer gave
                                                                  8
                                                       agr eed t hat their skin felt soft, fresh ,
                                                                                                             e
                                                                                                     agreed t hat their s kin felt more
                                                                                                                                                           G
                                                                                                                                                  agreed that this face primer visibly
                                                                                                                                                                                         >

           t heir sk in a soft focus finish            and healthier i mmeditaly after use.          hydrated immediately after use.              smoothed their overall skin t exture
               immeditaly after use.                                                                                                                   immeditaely after use.




                                                                                                                                          Ingredients
                                                                                                                                          EY!Ll.!l~



                                                                                                                     Celery Seed Extract                                  +


   r                                                                                                                 Linseed Oil (Flaxseed Oil)                           +


                                                                                                                     Meadowfoam Seed Oil                                  +


                                                                                                                     VitaminE                                             +

                                                                                                                     MCT O il (Caprylic Triglycer ide)                    +




             Karissa's Pro Tips

             Mattifying Makeup Refresh

             Gently pat in a small amount of primer over makeup to
             diffuse shine w ith a fi ltered effect.



             Soft Focus Sheer Coverage

             Mix a pea-sized amount with a pump of Buildable Blur
             CC Cream"' for ultra-smooth, sheered-out weightless
             coverage.


             Naturally Flawless No-Makeup Look

             On no makeup days, smooth a pea-sized amount over
             your face to reduce shine+ blur imperfections.




                                                                                                                           bwlfiqri bl41.t{f" -
                                                                                                             How Your Purchase Makes
                                                                                                                   a Difference
                                                                                                              For every product you purchase, we donate to help a woman
                                                                                                                                            thrive.



                                                                                                          Emerging from Homelessness                        Surviving Domestic Abuse

                                                                                                          We lift up women seeking a
                                                                                                          path out of homelessness.               v         We help survivors find
                                                                                                                                                            strength, confidence and

                                                                                                                                                                                   TNC02038
                                                                                                                                                            sisterhood.
Case 2:20-cv-09091-PA-AS Document 174-2 Filed 10/26/21 Page 117 of 139 Page ID
                                   #:8851 Fighting Cancer   Adjusting to Ufe Outside the
                                                                                                                                      Uniform
                                                                                                         We support and empower
                                                                                                         women fighting cancer.       We honor and celebrate
                                                                                                                                      women veterans during and
                                                                                                                                      after military service.



                                                                                                                                  ~




                                                                                        Recommended Products




                           thnvo




   Based on 290 Reviews
                        -
   ****tl                                                                                                                                           WRITE A REVIEW



   Reviews




   Filter Reviews


   I Q.   Search Reviews


     Wrinkles          Breakout s     Pores       Cc Cream         Co lor   Texture


     Results         Foundation      look       Skin       Coverage



     Rating                                    Images & V ideo s                      Age Range                 Skin Type             Skin Tone



     Skin Con cerns




                                                                                                                                                                  Sort: Select •



   Wendy J.    Verified Buyer


   *****
   AMAZINGLY SOFT

   I can't believe how soft and smooth it makes my skin feel.



                                                                                                                                           Was This Review Helpful?   ,.   0   .,, 0




   Janeth G. Verified Buyer


   *****
   LOVE IT! !

   Love it!!



                                                                                                                                           Was This Review Helpful?   ,.   0   .,, 0




   Faye W. VerifiedBuyer


   *****
   I LOVE ALL OF THE

   I love all of the Thr ive products I use.



                                                                                                                                           Was This Review Helpful?   ,. 0     .,, 0




   Norma S. Verified Buyer                                                                                                                                             06/ 21/21


   *****                                                                                                                                                   TNC02039
Case
   I HI~2:20-cv-09091-PA-AS
           l'KUUUC I UUt~ A uUUU JU~!                         Document 174-2 Filed 10/26/21 Page 118 of 139 Page ID
   I have used many different types of primers. This product performs well for my needs. #:8852



                                                                                                                                                                    Was This Review Helpful?    ,. 0   ·• 0




    Theresa R. Verified Buyer                                                                                                                                                                   06/15/21

    *****
    SAVING OLD SKIN

    i've used other primers this one is the only one i'II use from now on
    it does blurt the large pours keeps your makeup lasting longer it works
    i've gotten more compliments when i use it then when i don't



                                                                                                                                                                    Was Th is Review Helpful?   ,. 1   .,, 0




    Kath ie E. Verified Buyer                                                                                                                                                                   06/15/21

    *****
    BLURRING PRIMER

    This is the best soft cream ever on my face ! So smooth! Non greasy.


                                                                                                                                                                    Was This Review Helpful?    ,. 0   .,, 0




    Rebekkah C.    Verified Buyer                                                                                                                                                               06/14/21

    *****
    LOVE IT!

    Love it!



                                                                                                                                                                    Was This Review Helpful?    ,. 0   .,, 0




    Jennifer C.   Verified Buyer                                                                                                                                                                06/13/21

    *****
    BLUR TECHNOLOGY

    Never had a primer that helps reduce appearance of redness.b



                                                                                                                                                                    Was This Review Helpful?    ,. 0   .,, 0




    Angela G. Verified Buyer                                                                                                                                                                    0611on1

    *****
    WOULD NOT ORDER AGAIN

    I like the texture of the product which is so smooth and easy to spread over my face. I feel like it clogs my pores so I'm trying not to apply too much. I thought is would help keep my face matte
    but I'm still getting oily by lunch t ime. unsure if I would order this product again



    ~   Comments {1)                                                                                                                                                Was This Review Helpful?    ,. 1   .,, 0




              Thrive Causemetics                                                                                                                                                                06111n1




               Hi Angela,



              We are so sorry to hear that your Filt ered Effects Blurring Primer didn't work for you! We understand that this can be frustrating. We want you to love our products, but we
              underst and that not every product is for everyone. This is why we have our return policy, where you can return products within 60 days of purchase. We hope this helps!




    Lisa 5. Verified Buyer                                                                                                                                                                      06/08/21


    *****
    LOVE

    Love it



                                                                                                                                                                    Was This Review Helpful?    ,. 0   .,, 2




                                                                                       1    2   3   4   5   67   8   9



    L;JIJ;M%-rTiinrt LIAl•it"w™                           For every ~hrive Causemetics product you purchase, we donate to help a                             ~
    fl. 0 g- · (rlut Vvutl/f/(1                           woman thrive.                                                                                      ~


                                                                                                                                                                                     TNC02040
Case 2:20-cv-09091-PA-AS Document 174-2 Filed 10/26/21 Page 119 of 139 Page ID
     th rive-  Customer Service
     c a us a matics
                                      #:8853
                                Learn More     Discover  Joi n Ou r Ema il List



                                                                                                                                   ifr@i
                              RETURNS+ EXCHANG E S                    OUR STORY      INGREDIENTS
                                                                                                        Email
                              SHIPP ING INFO                          HOW W E GIVE   SPECIAL OFFERS


                              REWARDS TERMS                           BLOG           REWARDS


                              FAQ                                     PR£SS          EGIFT CARD
                                                                                                      @)    11
                                                                                                      ( 8 88 ) 804- 4 3 18
                              CONTACT US                              CARE ERS
                                                                                                      7am-7pm PST, 7 days a week




      PRIVACY POLICY   I TERMS OF USE I CCPA RIGHTS I ACCESSIBILITY                                                          @,   United States   v




                                                                                                                                  TNC02041
012314542Case 2:20-cv-09091-PA-AS6789Document
                                      9ÿ697ÿÿ174-2
                                                   ÿ6Filed
                                                            ÿ 10/26/21
                                                                  7ÿÿÿÿPage
                                                                                 8ÿ 7120
                                                                                          8of
                                                                                              139            Page ID
                                                   #:8854
                                ZmnnÿopIVVIqrÿTqÿLJJÿTPKNPoÿ][\st UuvYÿwvx

                wNy          GNoXzUNJJNPo         {L|NHV           U|IqWLPN          uTyÿxNÿ}I~N 7/baÿja 7/baÿja       '*0
       7*249`ÿh`4/D*ÿ52.F*)*:/9Flll
                                            '()*ÿ,ÿ-./01230*ÿ-0.4ÿ55ÿ54*2)6ÿ-4(21ÿ78*9:4.)ÿ7;<ÿ=>




                                                                                                                        >




                                                               0   0   0   0

                        ?@ABÿC*D/*EF
     ****
    GHIJKLMJNÿGJHPÿQQÿQPNLRSÿGPTLKÿUVNWXPHRÿUYZÿ[\                                                                 ][^
    <C__ÿF`/88/abÿ(aÿ(41*4Fÿc=>dÿ2a1ÿ*2Feÿ4*:.4aFfÿ___
                                                   g_hijk7G)
!1187  8"1 71789 9#97## #$8#%#                                                           212&
                                                                                                          TNC01428
012314542Case 2:20-cv-09091-PA-AS6789Document      9ÿ697ÿÿ174-2
                                                                   ÿ6Filed    ÿ 10/26/21
                                                                                        7ÿÿÿÿPage
                                                                                                       8ÿ 7121
                                                                                                                8of
                                                                                                                    139 Page ID
      '()ÿ+(,-.-/01.23ÿ45,5)645))74-.23ÿ4)7nÿ
                                           /+ÿ/4-c0pF
                                                    ÿ/F
                                                      0ÿ/ÿMGÿ
                                                          01.2JMÿ
                                                               68VK
                                                                 7)K9ÿ7JW4LEW
                                                                  #:8855
                                                                          -.23cÿ9ÿ
                                                                                  5(2:X]/-.5Yawxÿ
                                                                                            2;ÿ0(2ywz
                                                                                                  04)772ÿ/2:ÿ+5.0-().<7)ÿ.2ÿ527=ÿ>?/.,/@,7
     .2ÿABÿ.24,(0.?7ÿ0C/:70=
                  yE DEc|YEKKEWc                  {VE^           YFMUVWE         aJÿzEÿIFZE s.32ÿ~2 s.32ÿ~2                           g7,
       nFMLÿoJ^WÿYpVLE
                                                                                                                              V




     DEFGEÿIJKLEMÿNO7(-)/,ÿP2:7)-5270Q                                                                          O5-ÿ0()7ÿ59ÿi5()ÿ(2:7)-527q

                                                                                     0

    }C/-ÿd/170ÿ~-ÿ.997)72-
    ~23)7:.72-0

     0      r(iÿ'247

     0      sC.8ÿt?7)i Aÿd52-C          V
                                             uÿh)77ÿsC.88.23(1)
                                              -       • -




  DR ,____________                                                     SbbÿvwÿDSI
                                                                                                                              __J
                      SLLÿTJMUEVKEWÿXÿYVZEÿR[\]
                      D^FKLV_KEÿDK^W`ÿabÿTWEVcEKEccÿTJMUEVKEW
                      P07ÿ45:7ÿd>efgÿ/-ÿ4C7415(-=
                                 Yawxÿywz


                        v{   h5)ÿ7?7)iÿ44ÿ4)7/+ÿi5(ÿ8()4C/07;ÿj7ÿ:52/-7ÿ-5ÿC7,8ÿ/ÿj5+/2ÿ-C).?7=
                              k7/)2ÿd5)7


                             bE|VFKc
                             g5jÿe5ÿP07
                             >88,iÿA6lÿ8(+80ÿ/9-7)ÿ8).+7)ÿ(0.23ÿm237)-.80;ÿ085237ÿ5)ÿ@)(0C=ÿh5)ÿ@70-ÿ)70(,-0;
                             /88,iÿ/ÿ0+55-C;ÿ7?72ÿ,/i7)ÿ/2:ÿ(07ÿ/ÿ:/+8ÿ085237ÿ-5ÿ-/8ÿ.2-5ÿ01.2ÿ/2:ÿ@,72:=
!1187  8"1 71789 9#97## #$8#%#                                                                                412&
                                                                                                                      TNC01429
012314542Case 2:20-cv-09091-PA-AS6789Document
                                            9ÿ697ÿÿ174-2
                                                          ÿ6Filed
                                                                   ÿ 10/26/21
                                                                         7ÿÿÿÿPage
                                                                                        8ÿ 7122
                                                                                                 8of
                                                                                                     139                                 Page ID
                     '()*ÿ,-./ÿ012ÿ3tÿ
                                     //4ÿ5y1liÿ6i
                                                 71j{ÿ
                                                    8]jÿfvvÿ]qghqyÿ`  npÿ~
                                                         #:8856


                    9:.;1</=ÿ>12=ÿ17/?.*/@ÿ./;=/*ÿ*1ÿA/)2*:B2-Cÿ@(1*1?=/)4>ÿ.D:7Eÿ5(:.ÿF2-*:*).D:7G
                ~hx ;1-1h
                         =?;y1ks=n=h/v;v*h:q7yGÿ;=/)Fÿ
                                                     ef
                                                     :7.*)h7u*->ÿA-2=.ÿ)n74ijÿ4:fBqB2h./.ÿ.D:7] xÿ
                                                                                                  ÿ:F@/=Bh/ÿ;*:i17h.ÿ8:*(Iÿ):G7ÿ7 I:G7ÿ7   V      /-
                    A2:-4)A-/ÿ-:G(*?*1?B2--ÿ;1</=)G/ÿ=)4:)7*ÿH7:.(ÿ)74ÿA=1)4ÿ.@/;*=2FÿIJKÿLM
                    @=1*/;*:17EÿN)4/ÿ8:*(ÿ<:*)F:7ÿOCÿ12=ÿ)--?:7?17/ÿF)D/2@ÿ)74ÿ.D:7;)=/ÿ(>A=:4
                    B1=F2-)ÿ;1FA:7/.ÿ@18/=B2-ÿ:7G=/4:/7*.ÿ*1ÿ.:F2-*)7/12.->ÿ*=/)*CÿF1:.*2=:P/C
                    A=:G(*/7Cÿ@=1*/;*ÿ)74ÿ;1-1=?;1==/;*ÿ.D:7E
                    Q2:-4)A-/ÿQ-2=ÿOOÿO=/)FRÿ.F11*(.ÿ)74ÿ4:BB2./.ÿ*(/ÿ-11Dÿ1BÿH7/ÿ-:7/.Cÿ*/S*2=/C
                    4)=Dÿ.@1*.ÿ)74ÿ@1=/.ÿ8:*(ÿ)7ÿ/BB1=*-/..Cÿ7)*2=)-->ÿT)8-/..ÿH7:.(ÿ*()*ÿ)-8)>.ÿ-11D.
                    -:D/ÿ.D:7EÿJ18/=/4ÿA>ÿQ-2=ÿ,BB/;*ÿ5/;(71-1G>Rÿ)74ÿIF)=*ÿJ:GF/7*ÿ5/;(71-1G>RC
                    *(:.ÿ-:G(*8/:G(*ÿOOÿO=/)FU.ÿ;1-1=?)4)@*:7Gÿ;1</=)G/ÿ<:.:A->ÿ4:F:7:.(/.ÿ=/47/..
                    )74ÿ4:.;1-1=)*:17ÿ8(:-/ÿ)4V2.*:7GÿA/)2*:B2-->ÿ*1ÿ>12=ÿ.D:7ÿ*17/ÿ*1ÿ@/=B/;*ÿ)74
                    @=1*/;*ÿ>12=ÿ;1F@-/S:17EÿW<):-)A-/ÿ:7ÿ)ÿ.()4/?:7;-2.:</ÿ=)7G/ÿ1BÿXYÿ4:BB/=/7*
                    .()4/.E

                                         pfqfrhjstqhh                                     zh{fj
                                         nuvwfkhstqhh                                     |quhvk}stqhh
                                         t]qbuvfkhgÿxikl]uk                               ~]ÿn}jklhkiÿtqf{qfjh
                                         plklfvfkhy
                                                       ~~
                                        /1lflJ
                                        ruelty-Free
                                         dVegan
                                                        *~~*
                                                          "-.__:.
                                                      -)..._
                                                          l'-



                                  Zÿ\ÿ]^ÿ_ÿ̀aÿbcÿÿÿefghÿijÿklhÿmno




!1187  8"1 71789 9#97## #$8#%#                                                                                           12&
                                                                                                                                    TNC01430
012314542Case 2:20-cv-09091-PA-AS6789Document
                                      9ÿ697ÿÿ174-2
                                                   ÿ6Filed
                                                            ÿ 10/26/21
                                                                  7ÿÿÿÿPage
                                                                                 8ÿ 7123
                                                                                          8of
                                                                                              139   Page ID
                                                   #:8857
                                OPQQÿSTUVVUWXÿYWÿZ[[ÿY\]^\Sÿ_`abc defgÿhfi

                h^j        k^Slmd^[[^\S       nZo^pV            doUWqZ\^   eYjÿi^ÿrUs^ t<CEÿuE t<CEÿuE   V   v   w7;




                                               '()*ÿ,-./ÿ012*34
                           567ÿ9:7ÿ6;<=7>ÿ?>ÿ:?@7>ÿ?@7>ÿ9:7ÿ<ABC76ÿ9?ÿD<E=ÿF?G>ÿAB9H:I


                             J(K1L                                                     M2/N




!1187  8"1 71789 9#97## #$8#%#                                                    &12&
                                                                                                TNC01431
012314542Case 2:20-cv-09091-PA-AS6789Document
                                      9ÿ697ÿÿ174-2
                                                   ÿ6Filed
                                                            ÿ 10/26/21
                                                                  7ÿÿÿÿPage
                                                                                 8ÿ 7124
                                                                                          8of
                                                                                              139   Page ID
                                                   #:8858
                                \]^^ÿ6_*``*3?ÿ03ÿa11ÿ04)(46ÿbcdef gh;iÿj;k

                j(l        <(65mg(11(46       'an(+`            gn*3oa4(   h0lÿk(ÿ=*p( WJFEÿDE WJFEÿDE   V   q   rHB




                                                                             '()*+,ÿ./001ÿ23)(4503(67



                                                      899ÿ:;ÿ<8=

                        >3?4()*(356ÿ@ABBÿDEFGHIJHEKLÿMJLK
                        NJKOPJEÿQ

                        @BORLHHIÿSRKGOTK

                        UGVOIÿWXHTKGAPÿWY@ÿZ[




!1187  8"1 71789 9#97## #$8#%#                                                    12&
                                                                                                TNC01432
012314542Case 2:20-cv-09091-PA-AS6789Document
                                      9ÿ697ÿÿ174-2
                                                   ÿ6Filed
                                                            ÿ 10/26/21
                                                                  7ÿÿÿÿPage
                                                                                 8ÿ 7125
                                                                                          8of
                                                                                              139   Page ID
                                                   #:8859
                                \bccÿ+3*11*d7ÿ/dÿ(]]ÿ/)X4)+ÿefghi 2jk.ÿlkm

                l4n        o4+p[24]]4)+       W(q4Y1            2q*dr()4    j/nÿm4ÿs*64 t9IHÿuH t9IHÿuH   V   v   wFS




                        '()*++(,+ÿ.)/ÿ0*1+
                        2344)ÿ5/64)(74
                        89:ÿ<ÿ=>?=ÿ@9ABÿ<ÿ=>?=ÿCDÿEFDG9HIÿJKLM9AGÿNKLHODCK?9HIÿ8C9OA>K9PFKQÿAC
                        RSFLHÿOT9Hÿ>O9HIÿUHIFKA9=OÿCKÿO=CHIFV

                        W4X*YZ[\Y]]ÿ5/64)(74
                        ^==SGÿ_`aÿ=>?=OÿACÿRSFLHÿOT9Hÿ>O9HIÿUHIFKA9=OÿCKÿO=CHIFV
!1187  8"1 71789 9#97## #$8#%#                                                     012&
                                                                                                 TNC01433
012314542Case 2:20-cv-09091-PA-AS6789Document
                                       9ÿ697ÿÿ174-2
                                                    ÿ6Filed
                                                             ÿ 10/26/21
                                                                   7ÿÿÿÿPage
                                                                                  8ÿ 7126
                                                                                           8of
                                                                                               139                               Page ID
                     >?@ABÿDEFGABHG                 #:8860
                                 lm>>ÿnopqqprHÿErÿBssÿEAtGAnÿuvwxy z{|}ÿ~|

                ~G IJ KG
                        ÿMÿNn@JOP
                               zQsRsGJSAPnNÿMOTUB
                                 G               VWÿTXGÿYJZqWP[PNÿ\XzXP]prWRÿB^ATGXWÿYT]UR{E
                    cJWeÿfUJZNMgZPÿfZU[ÿhhÿh[PMOdÿWTÿW[MVRXT[OÿJWÿJVWTÿMVÿPKW[Mÿ]TiP[MaP
                                                                                             ÿ_`ÿ
                                                                                                ^PWGWJÿVapÿFbGTcNP[^dJaVÿV ^JaVÿV
                                                                                               ÿ                                       V      _PZ
                    XTUVNMWJTVÿcJWeÿMÿOMWWPÿjVJRek




                                     ()*+,-+ÿ/0ÿ1)2ÿ34562+ÿ76,8+9ÿ:;<=-6
!1187  8"1 71789 9#97## #$8#%#                                                                                   &12'
                                                                                                                            TNC01434
012314542Case 2:20-cv-09091-PA-AS6789Document
                                         9ÿ697ÿÿ174-2
                                                       ÿ6Filed
                                                                ÿ 10/26/21
                                                                      7ÿÿÿÿPage
                                                                                     8ÿ 7127
                                                                                              8of
                                                                                                  139   Page ID
                                    '()c*z\
                                yWWÿ     ÿ,-ÿ.][ÿ̀]ÿ
                                           \ *ÿ/0123ÿ5627
                                                     |b     1808ÿ
                                                       #:8861
                                                       bÿ̀Z}YZ    9.:;9<:ÿ
                                                              cÿ       =>'
                                                                         laÿ

                Y        YcplYbbYZc       |Ym            l\]q|ZY        a`ÿYÿ\nY >Bjhÿh >Bjhÿh   V      (C
                                                       ?@.*         A:.BC




                             ,              1 -~e~
                                           ~\\~\ e,\cs          ---
                                     ..,         use~
                                  ..,,,     c-a.


                          ' ' ,:;. --"' ~ ___:___....~~=----               
                                                  b~lflqrt bt4~ -
                                               DEFÿHEIJÿKIJLMNOP
                                               QNRPOÿNÿSTUUPJPVLP
                                           gtÿ(u(tÿ<tgv,x*ÿg,ÿ<,tx@.-(wÿf(
                                             vgh.*(ÿ*gÿ@(C<ÿ.ÿfg:.hÿ*@tBu(k


                                                   WXYZ[\][ÿ_Z`Xÿa`XYbYcc]Ycc
                                                   d(ÿCBe*ÿ,<ÿfg:(hÿ-((iBhjÿ.ÿ<.*@ÿg,*ÿge
                                                   @g:(C(--h(--k

                                                   lmZn\n\][ÿo`XYcp\qÿrsmcY
                                                   d(ÿ@(C<ÿ-,tuBugt-ÿeBhvÿ-*t(hj*@w
                                                   xgheBv(hx(ÿ.hvÿ-B-*(t@ggvk

                                                   y\[zp\][ÿ{|]qYZ
                                                   d(ÿ-,<<gt*ÿ.hvÿ(:<gf(tÿfg:(h
                                                   eBj@*Bhjÿx.hx(tk

                                                   r}~mcp\][ÿp`ÿ\_Yÿmpc\}YÿpzY
                                                   ]\_`ZX
!1187  8"1 71789 9#97## #$8#%#                                                         312&
                                                                                                     TNC01435
012314542Case 2:20-cv-09091-PA-AS6789Document
                                      9ÿ697ÿÿ174-2
                                                    ÿ6Filed ÿ 10/26/21
                                                                      7ÿÿÿÿPage
                                                                                     8ÿ 7128
                                                                                              8of
                                                                                                  139 Page ID
                                                    #:8862
                                l(uuÿ3hmvvm45
                                            -wÿÿ+-ÿ
                                                  gOOÿÿ+0
                                                7898:    .)0
                                                          =53>ÿ5xyz{|
                                                       ;9<ÿ              ks}/ÿp}~
                                                                ?:;@5ÿA8B5  9
                                           C5@5:;9Dÿ<E:F9Gÿ;9<ÿ;H@5:ÿBF>F@;:I
              p) i)32k)OO)03 fg)D15v:CF=5J km-*g0) s+ÿ~)ÿKmN) FG9ÿ9 FG9ÿ9 V                             5>
                                                        K)2ÿM-N+ON).




   PQRSÿUVWXÿYZ[S\ÿ][^_Z
   `5>>ÿEDÿA7;@ÿ?:;9<ÿ;9<ÿD7;<5ÿI8Eÿ;:5ÿ=E::59@>IÿA5;:F9Gÿ8:ÿ@;a5ÿ8E:ÿD7;<5ÿHF9<5:ÿbEFcÿD8ÿA5ÿ=;9
   75>dÿI8EÿHF9<ÿI8E:ÿB;@=7e
   0 fg2*hÿijÿi0g-.
   0 khg.)ÿlm-.)0ÿn1mo

          lMpqÿfrÿkstqu



                                       9#97##()*+,,)-.)./0 +.1*23
                                             n _ _ _ _ _ _ _ _. _ _. n~ _ _. ___ ... _

!1187  8"1 71789               #$8#%#                                                  &12'
                                                                                                TNC01436
012314542Case 2:20-cv-09091-PA-AS6789Document
                                      9ÿ697ÿÿ174-2
                                                   ÿ6Filed
                                                            ÿ 10/26/21
                                                                  7ÿÿÿÿPage
                                                                                 8ÿ 7129
                                                                                          8of
                                                                                              139
                                      '()*++(,-(-ÿ #:8863/0*-1)23
                                                                                                      Page ID
                                E'AAÿ3l<jj<,eÿ*,ÿ6FFÿ*0-(03ÿnopqr gst/ÿut>

                u(=        5(32vg(FF(03       w6h(1j            gh<,)60(     s*=ÿ>(ÿx<;( RIyJÿzJ RIyJÿzJ   V   {   |ML




                            <                                                               >


   563(-ÿ*,ÿ789:ÿ'(;<(=3
   4444D
          >'?@AÿBÿ'AC?A>

   '(;<(=3

   E<F2(0ÿ'(;<(=3
     c RMVHW^ÿUMaIMbN
      GHIJKLMNÿ PQLQHÿ RSQTNÿ UQNVWMVÿ XHMVKQYTNÿ ZQHMN
      [WJMÿ ZHQ\LM]ÿ R^V_Mÿ UM_JMNNÿ PIHWLMNÿ                              ```
      '62<,e                        d         ?+6e(3ÿfÿC<-(*3                d
      Be(ÿ'6,e(                     d         gh<,ÿ@ij(                      d
      kkÿk0(6+ÿgl6-(                d         /0*-1)2ÿ5(,(m23                d
      gh<,ÿk*,)(0,3                 d
!1187  8"1 71789 9#97## #$8#%#                                                      2512&
                                                                                                  TNC01437
012314542Case 2:20-cv-09091-PA-AS6789Document
                                      9ÿ697ÿÿ174-2
                                                   ÿ6Filed
                                                            ÿ 10/26/21
                                                                  7ÿÿÿÿPage
                                                                                 8ÿ 7130
                                                                                          8of
                                                                                              139        Page ID
                                                   #:8864
                                ]())ÿrstyytcÿcÿbxxÿ urÿT KZI\ÿMIq
                                                                                                          _/94ÿ̀_767D4ÿa
                Muw         urKuxxur      Hbu{y            Ktcdbu   Zwÿquÿ'tvu _3F1ÿ,1 _3F1ÿ,1       V   k         =76
   MbcdeÿNfg793h72ÿX0C79                                                                                         klmnompn
   iiiij
   '()*+
   ,ÿ./012ÿ34ÿ5ÿ634467ÿ8592ÿ4/ÿ:;9752<ÿ=/>7?79@ÿ,ÿ4831Aÿ34ÿ3:ÿ;9/B5B6CÿB7D50:7ÿ/.ÿ487ÿ6/43/1ÿ,ÿ0:7ÿ/1ÿECÿ.5D7<ÿ,ÿ>366ÿB7
   /927931Fÿ487ÿ;93E79ÿ>83D8ÿ,ÿ4831Aÿ>366ÿ:/6?7ÿ483:ÿ;9/B67E<

                                                                                                               }ÿkÿ~ÿk
                                                                                       qbrÿ+strÿ(uvtuwÿZuxyz{x|ÿ


   Nubsÿ(fg793h72ÿX0C79                                                                                       klmnompn
   iiiii
   '()*+ÿHIJK+L()ÿ*MNÿOIP)(*')
   Q5:ÿ0:31Fÿ363/ÿB7./97ÿ,ÿ49372ÿ4893?7<ÿ,ÿ.312ÿ4893?7ÿ.5D356ÿD975Eÿ431472ÿE0D8ÿE/97ÿE/3:4093R31F<ÿ,4ÿ85:ÿ5ÿ:E//48
   .313:8ÿ512ÿ6//A:ÿ.65>67::<

                                                                                                               }ÿkÿ~ÿk
                                                                                       qbrÿ+strÿ(uvtuwÿZuxyz{x|ÿ


   S{bccuÿ]fg793h72ÿX0C79                                                                                        klmnompn
   iiiii
   SIP)ÿJ+T
   ,U?7ÿ6/?72ÿ7?79Cÿ;9/20D4ÿ,ÿ85?7ÿ97D73?72ÿ.9/EÿV893?7WÿV87ÿB03625B67ÿX609ÿY975Eÿ3:ÿ5>7:/E7@ÿF/7:ÿ/1ÿ:E//48
   512ÿ487ÿD/?795F7ÿ3:ÿB75043.06

                                                                                                               }ÿkÿ~ÿk
                                                                                       qbrÿ+strÿ(uvtuwÿZuxyz{x|ÿ


   us                                                                                                          klmnlmpn
   iiiii
   ZIS[ÿ'(*JSÿOOÿO()*HTÿ)K\)OJ*SS[ÿ]I(ÿN([ÿK^JM
!1187  8"1 71789 9#97## #$8#%#                                                              2212&
                                                                                                      TNC01438
012314542Case 2:20-cv-09091-PA-AS6789Document  9ÿ697ÿÿ174-2
                                                               ÿ6Filed   ÿ 10/26/21
                                                                                   7ÿÿÿÿPage
                                                                                                  8ÿ 7131
                                                                                                           8of
                                                                                                               139 Page ID
    'ÿ)*+,ÿ-),ÿ./0,1-ÿ12034ÿ,+,3ÿ50-)ÿ./_ZSSÿ
                                        032036klm
                                               ÿ78 /,{ÿ
                                                 rrm  ÿ5* -,jq/qÿÿ*3n
                                                        {ÿ
                                                              #:8865
                                                                      .ÿ9k1ÿ0g
                                                                             36ÿ7801-XVQYÿ
                                                                                       9/0:,`Qi
                                                                                             /1;ÿ<,+,/ÿ03ÿ7=ÿ>0?,ÿ)*+,ÿ'ÿ)*.
   6>850364ÿ.,5=ÿ1203;;;ÿ93-0>ÿ-8.*=;ÿ'ÿ68-ÿ7=ÿ@@ÿA/,*7ÿ03ÿ-),ÿ7*0>ÿB18ÿC90A2>=DEÿ*3.ÿ-/0,.ÿ0-ÿ89-ÿ?8/ÿ-),ÿ?0/1-ÿ-07,;
   '-F1ÿ>06)-5,0`n
                6)-pÿ*3.ÿG>,^n
                            3.k1zÿ1X8nÿq,qn*1k0>=;ÿ'ÿ>8+j
                                                          ,ÿ-)n*t-rÿ0-ÿ)*1ÿHXIJ
                                                                              m{ÿ18jÿ
                                                                                      'nÿA*3ÿ-*2V
                                                                                                 ,ÿGpÿ
                                                                                                     ,i--,n/ÿeÿAm*o/n,ÿ8?ÿ7=
                                                                                                                          H06ÿ312
                                                                                                                                ÿ'3034ÿH,01
                                                                                                                                          6K3,
                                                                                                                                             ÿ'3A0*>>=ÿ03
                                                                                                                                                        wÿ-), ,>
   L,M*1ÿ),*;;;N,*.ÿO8/,
                                                                                                                                           V




                                                                                                                                       vÿwÿxÿw
                                                                                                               ijkÿUlmkÿZnomnpÿVnqrstquÿ


   yjzlqnn{ÿf|},/0~,.ÿ9=,/                                                                                                                     w
   
   PQRSÿUVWXÿYZQ[\]U
   L),ÿA8+,/*6,ÿ01ÿ6/,*-4ÿ-),ÿA8>8/ÿG>,3.1ÿ03ÿK,/?,A-ÿ*3.ÿ>8821ÿA87K>,-,>=ÿ3*-9/*>;ÿ'ÿ501)ÿ0-ÿ5*1ÿ*ÿ>*/6,/ÿA83-*03,/

                                                                                                                                       vÿwÿxÿw
                                                                                                               ijkÿUlmkÿZnomnpÿVnqrstquÿ


   ftqmnÿX|},/0~,.ÿ9=,/                                                                                                                        w
   
   ^SXUÿ_Q\`[aUWQ`
   b8+,ÿ)85ÿ0-ÿA8+,/1ÿG9-ÿ?,,>1ÿ+,/=ÿ>06)-ÿ83ÿ7=ÿ1203;ÿ'-ÿ.8,1ÿ38-ÿ>882ÿ>02,ÿ=89c/,ÿ5,*/036ÿ7*2,9K4ÿ+,/=ÿ3*-9/*>D

                                                                                                                                       vÿwÿxÿw
                                                                                                               ijkÿUlmkÿZnomnpÿVnqrstquÿ


   Yn{{ ÿ^|},/0~,.ÿ9=,/                                                                                                                        w
   
   [QSXÿaÿRSZdÿeQQ[ÿfQ^g
   h0+,1ÿ688.ÿA8+,/*6,ÿ*3.ÿ-),ÿ1931A/,,3ÿ58/21ÿ+,/=ÿ5,>>;
                                                                                                                                       vÿwÿxÿw0
                                                                                                               ijkÿUlmkÿZnomnpÿVnqrstquÿ


   P{{ÿ|},/0~,.ÿ9=,/                                                                                                                          w
   
!1187  8"1 71789 9#97## #$8#%#                                                                                            2412&
                                                                                                                                  TNC01439
012314542Case 2:20-cv-09091-PA-AS6789Document
                                      9ÿ697ÿÿ174-2
                                                   ÿ6Filed
                                                            ÿ 10/26/21
                                                                  7ÿÿÿÿPage
                                                                                 8ÿ 7132
                                                                                          8of
                                                                                              139                                Page ID
    '()*+(,(-.                                     #:8866
                                NLLÿdefllfsÿsÿckkÿgdÿP 'jU*ÿUb
   /ÿ123445ÿ2678g
                5ÿ95
                   i ÿ::ÿ;1Kg
                           23d9<
                              ÿ/g=ÿk>kg82d?ÿ86ÿ?8)c
                                '                   ÿ;1|2g3n95
                                                            l ÿ36@ÿ4A'>|Bfs=Cÿ>cADgA6>ÿ92j
                                                                                           ÿ>1iÿ
                                                                                              23b=ÿEg1ÿ8f=h2g;=A86ÿQFA1>869ÿ
                                                                                                                           ÿ
                                                                                                                           /=BQ2Aÿ>?6Gÿ/66ÿ36@ÿ42q3DA6>24
                                                                                                                            6
   95ÿ?HA6ÿF224A6>ÿ4AH2ÿ/ÿB3D2ÿ68ÿ93H2ÿGEÿ86ÿIBA42ÿA=ÿ;8D21?ÿ95ÿ?HA6ÿJ23G=AFG445<                                                    V




                                                                                                                                  pÿqÿrÿq
                                                                                                          bcdÿ-efdÿNghfgiÿjgklmnkoÿ


   'ndcsÿ,tu21Av2@ÿwG521                                                                                                                 q]yz[yYz
   xxxxx
   KL'-ÿ,,ÿ,NLO)P
   Q8ÿJ426@R3J42Cÿ>123=ÿ;8D213>2<ÿS8D2ÿA=T

                                                                                                                                  pÿqÿrÿq
                                                                                                          bcdÿ-efdÿNghfgiÿjgklmnkoÿ


   Ng{g||ceÿ,tu21Av2@ÿwG521                                                                                                              q]yz[yYz
   xxxxx
   +UVLÿ(-P
   S8D2ÿA=T

                                                                                                                                  pÿqÿrÿq
                                                                                                          bcdÿ-efdÿNghfgiÿjgklmnkoÿ

                                           W ÿX ÿY ÿZ ÿ[ ÿ\ ÿ] ÿ^ ÿ_ ÿ̀ ÿ a
                                                                                                  -)


                    }81ÿ2D215ÿ~B1AD2ÿ:3G?292=A;?ÿE18@G;=ÿ58GÿEG1;B3?2CÿI2ÿ@863=2ÿ=8ÿB24Eÿ3ÿI8936ÿ=B1AD2<

                                                                +LONÿ)UNL

                                                                 thrive,.
                                                                 causemetics



!1187  8"1 71789 9#97## #$8#%#                                                                                      212&
                                                                                                                            TNC01440
012314542Case 2:20-cv-09091-PA-AS6789Document
                                      9ÿ697ÿÿ174-2
                                                   ÿ6Filed
                                                            ÿ 10/26/21
                                                                  7ÿÿÿÿPage
                                                                                 8ÿ 7133
                                                                                          8of
                                                                                              139      Page ID
       Z-45(0b.ÿPb.c)db                            #:8867
                                \W//ÿ4f)gg)*hÿ(*ÿ122ÿ(.ib.4ÿjklmn P^,Vÿo,p

             obbq
      3b1.*ÿS(.            Rb45rPb22b.4       S1sb-g            Ps)*d1.b       ^(qÿpbÿ])cb DNt`ÿu` DNt`ÿu`   V   :   vKO

      e)4d(cb.

                                                   '()*ÿ,-.ÿ/01)2ÿ3)45
                             MA@NO                                                 .___PQRST  U
                                                                                        _------'II

                                                   67778ÿ7:;<;=>7
                                              ?@A<?BAÿCDEFÿ?ÿG@HIÿ@ÿJKKL


                                                         _`NaKGÿDa@aKI     V




                              VWTXYZ[ÿV,3TZ[ U/WSPÿ,\ÿQP/ ZZVYÿWT]^UP YZZ/PPTRT3TU[




!1187  8"1 71789 9#97## #$8#%#                                                        2&12&
                                                                                                     TNC01441
Case 2:20-cv-09091-PA-AS Document 174-2 Filed 10/26/21 Page 134 of 139 Page ID
                                   #:8868




       TRIAL EXHIBIT NO. 36
    Case 2:20-cv-09091-PA-AS Document 174-2 Filed 10/26/21 Page 135 of 139 Page ID
                                       #:8869




                                     .                          .                                      ~       •       thrivecausemetics     • Fol low

Where is our              lffr,,-t/V1fi,be; from?
~


     ~
         ~
               ~rl

                ~
                          'W
                           .5
                           "t""'·
                             .n-.,
                                        • ,,
                                         '
                                         ' .-i
                                                  ~

                                                                .f '      ~
                                                                                   ,,:.·...
                                                                                       ,.,
                                                                                              ~ ?(
                                                                                              ~   ~\


                                                                                                   tt-
                                                                                                   ~
                                                                                                       ,,,..
                                                                                                               •        thrivecausemetics #ThriveTribe
                                                                                                                        where is home for you? We're from
                                                                                                                        e:) but now have teams in tzy ~ l!I
                                                                                                                        e:}! Let us know in the comments
                                                                                                                        below!


         "'
                                                      i.:...,
                  ~
a                             ~              y                           ~     ""' ~              ti
                                                                                                   ~                    63w



         '°     M                t',)        •1
                                             (.:.:,

                                              .. , fl.3 ~~ ~~
                                                                119.
                                                                    .,         I   4   "          e


    ~                       ·•               ft
                                                                                   )



                     ()


         ~ CANADA
                                                                         ,.,
                                                                         •.•   ASIA                            4,445 likes
         ~ MEXICO                                                        ')m_ OTHER                            DECEMBER 30, 2019

              AUSTRALIA        '\,i <\FRICA
                                                                                                               Q      Add a comment...




                                                                                                                                                         TCI_00014426
Case 2:20-cv-09091-PA-AS Document 174-2 Filed 10/26/21 Page 136 of 139 Page ID
                                   #:8870




       TRIAL EXHIBIT NO. 263
    Case 2:20-cv-09091-PA-AS Document 174-2 Filed 10/26/21 Page 137 of 139 Page ID
                                       #:8871




    • •
                        -.
                                            ,-   •         thrivecausemetics
                                                           Thrive Causemetics
                                                                                          • Follow          ...



' •                                              •         thrivecausemetics
                                                           July, #ThriveTribe! us

                                                           89w
                                                                                  Happy 4th of




    •                                   '                  derana_mathews Happy 4th of
                                                           July!•<::)
                                                                                                       0




 •
     I

                                  ,
                                    •            Q       0
                                                           nn...   ""I 1:1 ___




                                                                   ~
                                                                                 n--•-·




••                                      /        4,878 likes


                                  •
                                                 JULY 4, 2019




-                                                Q       Add a comment...                                  Po




                                                                                                     TCI_00016423
Case 2:20-cv-09091-PA-AS Document 174-2 Filed 10/26/21 Page 138 of 139 Page ID
                                   #:8872




       TRIAL EXHIBIT NO. 35
               Case 2:20-cv-09091-PA-AS Document 174-2 Filed 10/26/21 Page 139 of 139 Page ID
                                                  #:8873




CONFIDENTIAL                                                                                    TCI_00027077
